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lN THE FEDERAL HlGH couRT bF NIGERIA
HoLDEN AT LAGos'-\

\

SU|T NO: FHCILlNRJ/3l2018

lN THE MATTER OF APPLICAT|ON FOR THE REG|STRAT|ON OF A
FORE|GN JUDGMENT BY ERlN PETROLEUM N|GERIA LTD

BETWEEN
ER|N PETROLEUN| NlGERlA LlNllTED ]ELAINTIFFlRESPONDENT
AND

‘ALL SECURED AND UNSECURED CRED|TORSWl

LISTED |N THE SERV|CE LlST ATTACHED >* DEFENDANTS:r
HERETO LOCATED |N THE FEDERAL REPUBL|Q RESPONDENTS
OF NlGER|A’

AND

zEmTH BANK PLc 1 lNTERESTED PARTY/
f APPLchNT

MoTloN oN NoTlcE

BRouGHT PuRSuANT To sEchoNs 6 AND 7 oF THE FoRElGN
JuDGMENT (REclPRocAL ENFORCEMENT) AcT; oRDER 26 RuLE 1 & 2,
oRDER 51 RuLEs 2 (1) & (2) oF THE FEDERAL HlGH couRT (clvlL
PRocEDuRE) RuLES 2009 AND uNDER THE lNHERENT JuRlSchTloN
or THE HoNouRABLE couRT

TAKE NOTICE that this Hohourable Court Shalt be moved on the day of
2018 at the hour of 9;00 O`clock ih the forenoor\ or 30 eoon thereafter as
Couhee| may be heard on behalf of the |nterested Party/Applicant praying the
Court for the foilowing orders

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1. AN ORDER of this Honourab|e Court setting aside the Order made by
this Honourable Court on l\f|ay 25, 2018 registering the Judgment/order of
the United States Banl<ruptcy Court of the Southern District of Texas,
Houston Division made on Nlay 1l 2018 in the case of Erin Energy
Corporation, et a/Debtors, With case l\lo. 18-32188.

2. AND for such further Order or other Orders as this Honourable Court

may deem fit to make in the circumstances

TAKE FURTHER NOTICE that the grounds upon Which this application is
brought are as folloWs;

1. That the P|aintiff/Respondent, obtained the Order of this l-lonourab|e
Court made on l\/lay 25, 2018 (registering the Judgment/Order of the
United States Bankruptcy Court for the Southern District of Texas,
l-louston Division, in the case of Erin Energy Corporation et al (Debtors),
Case No. 18-32186 made on the lvlay 1l 2018) by suppressing and
concealing material facts from the Court

2_ That the lnterested Party/Applicant is not a party to the Voluntary Petition
for Chapter 11 Bankruptcy filed under the United States Bankruptcy code
from which the Judgment/order of the United States Bankruptcy Court for
the Southern District of Texas dated l\/lay 11 2018 arose

3. That the Plaintiff/Respondent, Erin Petroleum Nigeria Limited, being a
Company incorporated at the Corporate Affairs Commission (CAC),
under the Companies and A|lied Nlatters Act, Cap CZO, LaWs of the
Federation of Nigerial 2004 (CAl\/|/-\) is a Nigerian Company, governed
and subject to Nigerian LaWs and matters relating to arrangement and
compromise involving a company incorporated under the l_avvs of Nigeria
have been sufficiently provided for from sections 537 - 540 of CAl\/l/-\_

4. That the appropriate Court clothed With jurisdiction to hear any matter
relating to arrangement and compromise With creditors of a Company
incorporated under the l_aws of Nigeria is the ‘Federal l-lidh Court of
Nigeria’ to the exclusion of any other Court; and the JudgmenUOrder of

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the United States Bankruptcy Court for the Southern District of Texas
dated |Vlay 1, 2018, on the application of Erin Energy Corporation of the
United States of America(registered by an order of this Honourable Court
made on l\/|ay 25l 2018) is an attempt to usurp the powers of the Federal
l-ligh Court of Nigeria as conferred upon it by section 251 of the 1999
Constitution of the Federa| Republic of Nigeria (as amended) and section
567 of CA|VlA.

5_ That in view of the grounds contained in paragraphs 3 and 4 above, the
United States Bankruptcy Court for the Southern District of Texas lacked
the requisite jurisdiction to the make the Judgment/Order made in relation
to Erin Petro|eum Nigeria Limited dated |\/lay 1, 2018 (now registered by
an order of this Honourable Court made on |Vlay 25, 2018).

6 That the enforcement of the Judgment/Order the United States
Banl<ruptcy Court for the Southern District of Texas dated l\/lay 1, 2018 in
relation to Erin Petro|eum Nigeria Limited (novv registered by an order of
this Honourab|e Court made on |Vlay 25, 2018) would be contrary to
public policy in Nigeria as it directly curtai|s the use and exploitation of oil
reserves contained in assets belonging to the Federai Government of
Nigeria in Ol\/ll_s 120 and 121.

7. That the Judgment/Order made by the United States Bankruptcy Court
for the Southern District of Texas dated |Vlay 1, 2018, upon the
Application of the Erin Energy Corporation blurs the trite and fundamental
principle of Separate Lega| Personalities as established in the locus
c|assicus case of Salomon v Salomon [1877] AC 22, and further
unequivocally enshrined in Section 37 of the Companies and Allied
l\f|atters Act` Cap 020, LFN, 2004; as Erin Energy Corporation and Erin
Petroleum Nigeria l_imited are distinct legal entities and an Order binding
one cannot be binding on the other.

8. That the interest of the interested Party/Applicant being a secured
creditor of Erin Petro|eum Nigeria Limited was not considered or heard
before the Judgment/Order dated l\f|ay 1, 2018 was made by the United
States Bankruptcy Court for the Southern District of Texas, usurping the
power of the Federal High Court of Nigeria

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9. That by all apparent facts and indices, the United States Bankruptcy
Court for the Southern District of Texas, Houston Division in granting an
order purported to bind the lnterested Party/Applicant (a Nigerian
licensed bank and a company which, legally speaking is subject to
Nigerian laws) in the case of Erin Energy Corporation et. al Debtors with
Case No. 18-32186, assumed universal jurisdiction

10. That the Order of the United States Bankruptcy Court for the Southern
District of 'l'e)<as, Houston Division, seeks to restrain a completed act as
prior to the Order of this l-lonourable Court made on l\/lay 25, 2018
(registering the Judgment/Order (“Judgment”) of the United States
Bankruptcy Court for the Southern District of 'l'exas, , in the case of Erin
Energy Corporation et_ al (Debtors)l Case No. 18-32188 delivered on the
l\/lay 1: 2018), the lnterested Party/Applicant had on l\/lay 18, 2018
enforced the security provided under the Deed of l_egal Charge between
the P|aintiff/Respondent and the interested Party/Applicant dated l\/lay
14, 2015 by appointing a Receiver/l\/|anager over the
Plaintiff/Respondent_

11. That the Plaintiff/Respondent’s misrepresentation and concealment of
material facts has led to denial of fair hearing to the interested
Party/App|icant, as the application upon which the Order of this
Honourable Court made on l\/lay 25, 2018 was granted, was brought Ex
Parte, never affording the interested Party/Applicant and indeed all
secured and unsecured creditors of the P|aintiff/Respondent, the
opportunity to be heard

12. That interested Party/App|icant as a secured creditor of the
Plaintiff/Respondent, Erin Petroleum Nigeria l_imited, was not a party to
the Petition before the Bankruptcy Court for the Southern District of
Te)<as, Houston Division, in the case of Erin Energy Corporation et al
(Debtors), Case No. 18-32186.

13. That the interested Party/Applicant as a secured creditor of Erin
Petroleum Nigeria l_imited (the Plaintiff/Respondent) and Nigerian
licenced Bank Was not afforded the right to Fair Hearing as enshrined in
Section 36 of the 1999 Constitution of the Federal Republic of Nigeria (as
Amended) in the consideration of the Order of the United States
Bankruptcy Court for the District of Te)<as, by this Honourab|e Court.

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14 That by virtue of a plethora ofjudicial and statutory authorities as well as
its inherent own jurisdiction this Honourab|e Court is conferred with the
power to set aside its registered foreign Judgment and it is in the interest
ofjustice that the Honourab|e Court sets aside the Order made in respect
of this matter on l\/lay 25, 2018 in light of the aforementioned groundsl

15AND ALSO TAKE FURTHER NOTICE that the interested
Party/Applicant shall at the hearing of this application rely on all

processes/papers filed by the Plaintiff/Respondent in the suit.

oATEo THis 4TH DAY oF JUNE, 2013

 

SIGNED BY.' Nimma Jo-l\.lladugu

 

Prof. Fabian Ajogwu, SAN
Charles Nwabu|u, ACArb
Okechukwu Ekweanya, Esq
Kelvin Erhonsele, AC!Arb
Abisola Yusuf (lVliss)

Nimma Jo-Nladugu (lVliss) \/'/
Oluyemi Adebo, Esq

Chioma lke-Nwabuoku (Nliss)
Chinonye Nnaji (lVliss)
(App|icants’ Counse|)

KENNA PARTNERS

8_ Ogunyemi Road

Palace Way, Oniru.

\/ictoria islands l_agos.
cnwabu|u@kennapartnerscom
Phone: 08158890704

 

FOR SERV!CE ON:

'l, The Plaintiff/Respondent

C/o its Counsel ii / ,
`\/\luyi Ogunyike aj Lj _-'f j ,,_’
Plot 1049 C)!osa Street "1 ` "/

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tagos

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lN THE FEDERAL HlGH COURT OF NlGER|A
HOLDEN AT LAGOS

SUlT NO: FHCILINRJI3I2018

IN THE N|ATTER OF APPL|CATION FOR THE REG|STRAT|ON OF A
FORE|GN JUDGN|ENT BY ERlN PETROLEUN| NlGER|A LTD

BETWEEN

ER|N PETROLEUNI N|GER|A LlN||TED }PLA|NT|FFIRESPONDENT
AND

‘ALL SECURED AND UNSECURED CREDITORS

L|STED |N THE SERV|CE L|ST ATTACHED DEFENDANTSI
HERETO LOCATED lN THE FEDERAL REPUBL|_Qj RESPONDENTS
OF NlGERlA’

AND

ZEN|TH BANK PLC lNTERESTED PARTYI
APPLICANT

AFF|DAV|T |N SUPPORT OF THE APPL|CANT’S NOT|CE OF NlOT|ON
DATED JUNE 4, 2018

ll Bosah Okonyia, i\/lale, Christianl Nigerian Citizen of Zenith Heights1 Plot
84/87 Ajose Adeogun Street, Victoria lsiand, i_agos State do hereby make oath

and state as follows;

|NTRODUCTION
1. That l am a Legal Practitioner in the legal department of the interested
Party/Appiicant, by virtue of which position i am conversant with the facts of

this case

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2. That l have the consent and authority of my employer (the interested
Party/Appiicant) to depose to this Affidavit.

3_ That except as otherwise stated, l depose to facts within my personal
knowiedge, as weil as from information obtained by me from reading the
documents pertaining to the events leading up to this matter and from
information derived in the course of carrying out my duties in the

employment of the interested Party/Appiicant_

FACTS SURROUNDING THE |NTEREST OF THE lNTERESTED
PARTYIAPPL|CANT

4. The Piaintiff/Respondent, Erin Petroieum Nigeria Limited (Previously
known as ‘Camac Petroieum Limited`) is a private limited company
incorporated under the Laws of the Federai Repubiic of Nigeria having its

registered office at Piot 1649, Oiosa Street, Victoria island, Lagos

5. That the Defendants/Respondents as captured in the parties’ clause above
are persons alleged to be creditors of the Piaintiff/Respondent (Erin

Petroieum Nigeria Limited)_

8. That the interested Party/Appiicant is a public company incorporated and
licensed under the i_aws of the Federa| Republic of Nigeria having its
registered office at Piot 84, Ajose Adeogun Street1 Victoria islandl Lagos
State_

7. That Erin Energy Corporation (Cited as a Debtor in the Judgment/order of
the United States Bankruptcy Court for the Southern District of Texas dated

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i\/lay 1, 2018 in the case of Erin Energy Corporation et al Debtors, with
case No. 18-32186) is a Company registered in the United States.

8. That by virtue of an Acreage Ailocation (Discretionary Award) of OPi_ 210
issued by the i\flinistry of Petroieum Resources (Petroleum Resources
Department), Aiiied Energy PLC, a public company incorporated under the
i_aws of the Federai Repub|ic of Nigeria and an affiliate of the
Piaintiff/Respondent, Erin Petroleum Nigeria Limited (with its registered
office situate at Plot 1649, Oiosa Street, Victoria island, Lagos) is the legal
holder of Oii i\/lining Lease (Oi\/lL) 120 and 121.

9. That by virtue of a transfer agreement between the Plaintiff/Respondent
and A||ied Energy Plc, the Plaintiff/Respondent, Erin Petroieum Nigeria
l_imited acquired all the economic interest of Aiiied Energy PLC in the oil
block covered by Oi\fli_ 120 and 121 (aithough the approval of the i\/iinister

of Petroleum was yet to be obtained with respect to the transfer).

10. That the Plaintiff/Respondent, Erin Petroleum Nigeria Limited sometime
in 2014 approached the interested Party/Applicant for a Term Loan Faciiity
of USD100, 000,000.00 (One l-lundred i\/iiilion United States Doliars) to
part-finance the expansion and development of the oil blocks covered by
Oi\/ii_siZO and 121.

11. That by virtue of a Term Loan Faciiity Agreement, the interested
PartylAppiicant granted a loan facility of USD100, 000,000.00 (One
i-lundred i\/liilion United States Dollars) to the Plaintiff/Respondent, Erin
Petroieum Nigeria Limited. A copy of the Term Loan Faciiity Agreement is

hereto annexed and marked as Exhibit 1.

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12. That as security for the repayment of the loan facility granted by the
interested Party/Appiicant to the Piaintiff/Respondent, Erin Petroleum
Nigeria Limited, the Piaintiff/Respondent undertook to obtain in favour of
the interested Party/Appiicant, a legal charge over Aliied Energy PLC and
Piaintiff/Respondent’s entire interest in the oil Blocks covered by Oi\/iLs 120
and 121

13. That further to paragraph 12 above1 a Deed of Legal Charge over interest
in OiViL 120 and 121 dated i\/iay 14, 2015 was executed between interested
Party/Applicant and Piaintiff/Respondent, Erin Petroleum Nigeria Limited,
as weil as Aliied Energy Plc, by which Allied Energy Pic charged its entire
interest in Oi\/iL 120 and 121 in favour of interested Party/Appiicant.

14_ That similarly, an Ali Asset Debenture dated November 25l 2014 was
executed between interested Party/Appiicant and l:’iaintiff/Respondentl by
which Plaintiff/Respondent, Erin Petroleum Nigeria Limited charged ALL its
assets whether fixed, or floatingl present and future in favour of the

interested Party/Appiicant.

15. That amongst the agreements executed as security for the repayment of
the Term Loan Facility Agreement granted by interested Party/Applicant to

Piaintiff/Respondentl Erin Petroleum Nigeria Limited include:

1_1 All Assets Debenture dated November 25, 2014;
1_2 Deed of Legal Charge dated i\fiay14, 2015; and
1.3 Deed of Assignment of Rights.

18 That the agreements outlined in paragraph 15 above, are hereto annexed

and marked as Exhibits 2, 3 and 4 respectively

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17. That following the execution of the above referenced Deed of Legal Charge
and Deed of All Assets Debenture, in evincing security of credits under
Nigerian law, the interested Party/Applicant registered the aforementioned
security documents at the Corporate Affairs Commission which are
evidenced by the Certificate of Registration of Deed of Legal Charge dated
i\/iay 26, 2015 and the Certificate of Registration of Deed of Aii Assets
Debenture dated Decemioer 121 2014. Copies of the Certificates of
Registration are hereto annexed and marked as Exhibits 5 and 6

respectively.

18. That by Clause 17 (Representation and VVarranties) of the Term Loan
Faciiity Agreement between interested Party/Applicant and
Piaintiff/Respondent, particulariy1 paragraph 178 thereof (proceedings
pending or threatened), Piaintiff/Respondent, Erin Petroleum Nigeria
Limited represented and warranted to interested Party/Appiicant that, no
litigation arbitration or administrative proceeding of or before any court,
arbitral body or agency has (to the best of its knowledge and belief) been
stated or threatened against it (or against its directors) or any other Obiigor

(or against any director of an Obligor) which:

a) i\/iay restrain its entry into, the exercise of its rights under, or the
performance enforcement of or compliance with any of its

obligations under this Agreement; or

b) if adversely determined, would reasonably be expected to have a

material adverse effect

19. That at the time of entering into the Term Loan Facility Agreement and

the Disbursement of the loan sum by the interested Party/Appiicant to

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20.

21.

22.

23.

Piaintiff/Respondent (Erin Petroleum Nigeria Limited), the interested
Party//-\ppiicant was not aware or informed of the existence of any litigation,
arbitration or administrative proceeding involving the Piaintiff/Respondent
(Erin Petroleum Nigeria Limited) or Ailied Energy Plc., or any other parties
thereof

That by a Thi`sclaj/ Newspaper extract dated February 20, 2018; the
interested Party//-\pplicant became aware of an /-\rbitral /-\ward given at the
London Court of international Arbitration (LClA) on February 14, 2017. /-\

copy of the newspaper extract is hereto annexed and marked as Exhibit 7.

That by the above referenced newspaper pubiication, interested
Party//-\pplicant became aware that the Nigerian Agip Exp|oration l_imited
(N/-\Ei_), a company incorporated under the Laws of the Federai Republic
of Nigeria (with its office situate at 1, Eisie Femi Pearse Street, Victoria
island, i_agos) had obtained a Finai Arbitral /-\ward against
Plaintiff/Respondent (Erin Petroieum Nigeria Limited) and Al|ied Energy Plc
from the i_ondon Court of international /-\rbitration (i_Ci/-\) in an /-\rbitration
with Arbitration number: LClA 132498_

That the Arbitral Award which was given by the London Court of
international Arbitration purportedly arose from a dispute on a Saie and
Purchase Agreement (SPA) which was concluded in June 2012 between

i\i/-\Ei_ as Seller and Aiiied Energy Pic. as Purchaser.

That by virtue of the above referenced SPA, the NAEi_ had transferred to
Al|ied Energy Plc., the entirety of its interest and rights in both Oii i\/iining
Leases 120 and 121_

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24. That the said Arbitral Award was given in respect of the oil Assets (Ol\/lL

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120 and 121)l the interest of which is charged in favour of lnterested
Party/Appiicant as security for the repayment of the Term Loan Faciiity
granted by interested Party/Applicant to the Piaintiff/Respondent, (Erin

Petroieum Nigeria Limited).

That by virtue of an Order of the Federai l-iigh Court of Nigeria made on
l\/lay 11, 2017, leave of Court was granted to NAEL that the i_ClA Finai
Award dated February 14, 2017 be recognised and enforced A copy of the
Order of the Federai l-iigh Court dated i\/lay 11, 2017 is hereto annexed and
marked as Exhibit 8_

That the said order of the Federai l-iigh Court enforcing and recognising the
Arbitrai Award is for the cumulative sum of 3101,838,955.57 (One l-lundred
and One i\/liliionT Six l-iundred and Thirty Eight `i'housand, Nine l-tundred
and Sixty Six United States Dollars, Sixty Seven Cents) and interest

thereon compounded on a monthly basis against Piaintiff/Respondent.

That NAEi_ in an attempt to realise the fruits of the Award granted by the
l_ClA and recognised by an Order of the Federai High Court dated l\/lay 11,
2017 executed a ‘Notice of Seizure/Attachment of Goods’ by locking the
export valve on the FPSO operated by Allied Energy Plc (the interest of
which has been charged in favour of interested Party/Applicant for the
repayment of the credit facility granted by interested Party/Applicant to
Plaintiff/Respondent, (Erin Petroieum Nigeria Limited).

That Ciause 19 (lli) (i\/) and (v) of the Term Loan Faciiity agreement
stipulates what amounts to an event of default as it relates distresses or

encumbrances on the charged assets under the loan

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29.

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32.

That there has also been a continued default by the Plaintiff/Respondent
on the repayment of the credit facility granted to it by the interested
Party/Applicant_

That amongst other flagrant incidences of default, there has been non-

payment of the Principal of $4,903,272.79 and interest of $2,085,019 which
were due on l\/larch 30l 2018.

CONlNiENCENiENT OF BANKRUPTCY PROCEED|NGS IN THE UNITED
STATES

That whilst the interested Party/Applicant initiated dialogue with the
Plaintiff/Respondent (Erin Petroieum Nigeria Limited) in good faith and with
a view to arriving at a feasible plan towards realising the enormous credit
still outstanding under the Term Loan Faciiity Agreement between the
parties as evidenced by a letter of the interested Party/Applicant dated
February 14, 2018l a copy of which is hereunto annexed and marked
Exhibit 9, Erin Energy Corporation had on Aprii the 25, 2018 filed a
Voluntary Petition for Chapter 11 Bankruptcy under the United States
Bankruptcy codel with its affiliate companies including the
Plaintiff/Respondent purporting to file similar applications before the United
States Bankruptcy Court for the Southern District of Texas, Houston
Division Copies of the Voluntary petition for Chapter 11 Bankruptcy filed
under the United States Bankruptcy Code by Erin Energy Corporation and
the Piaintiff/Respondent are herein annexed and marked Exhibit 10 and

11 respectively

That the Voluntary Petitions for Chapter 11 Bankruptcy exhibited in
Paragraph 31 were stated to be for purposes of effecting reorganization of

the Companies that voluntarily filed same The interested Party/App|icant,

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a Nigerian Bank and secured creditor of Erin Petroieum Nigeria l_imited

was not a party the Bankruptcy case of Erin Energy Corporation et al
Debtors, with case No. 18-32186.

APPLICABLE LAW AND COURT WITH JURISD|CT|ON

33. That on June 1, 2018 at about 10:00 am, l was informed by Okechukwu

Ekweanya, of Counsel to the interested Party/Applicant at the offices of

Counsel to the interested Party Applicant in Oniru, Victoria lsiand, and l

verily believe him as follows

33.1

33.2

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That the Plaintiff/Respondent (Erin Petroleum Nigeria Limited) and the
interested Party/Applicant (a Nigerian Licenced Company and Bank)

are both Companies incorporated under, and subject to Nigerian Law.

That the Piaintiff/Respondent (Erin Petroleum Nigeria Limited), a
Nigerian Company registered at the Corporate Affairs Commission
(CAC has a separate legal and corporate personality from Erin Energy
Corporation (a company registered under the laws of the United

States of America).

That the contract between the interested Party/Appiicant and the
Plaintiff/Respondent (Erin Petroleum Nigeria Limited) and all the
relevant agreements between them including the Term l_oan Faciiity
Agreement, the Aii Assets Debenture and ali relevant security

documents are governed by Nigerian l_aw by the mutual agreement of

the Parties.

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33.4

33.5

33_6

33.7

That the Companies and Allied i\/latters Act contains numerous
provisions regulating Arrangement and Compromise of a Company

with its Creditors

That reiiefs identical to those sought by Erin Energy Corporation on
behalf of the interested Party/Applicant for reorganisationl bankruptcy
or howsoever referred to, are provided for in the Companies and

Aliied |\/iatters Act and other extant Nigerian i_aws on the subject

That the proper forum for creditor arrangement or business
reorganisation involving a Company registered in Nigeria is the judicial
division of the Federai i-ligh Court of Nigeria where the corporate

office of the Company seeking reorganisation is situate

That further to the above, the interested Party/Appiicant proactiveiy
filed an /~\ffidavit of Fact before the United States Bankruptcy Court for
the Southern District of Texas (deposed to by my good self at the i-ligh
Court of Lagos State) on l\/iay 8, 2018 stating the aforementioned
facts to forestall the Court from acting in excess of its jurisdiction
Receipt of the said Affidavit was acknowledged by the Court. A copy
of the said Affidavit of Facts, dated l\/iay 8, 2018 and, an email
confirmation of the entry of same into the Court docket, are herein
annexed and marked Exhibit12.

34. That the United States Bankruptcy Court for the Southern District of

Texas purported to assume worldwide jurisdiction including jurisdiction

over the Piaintiff/Respondent (Erin Petroieum Nigeria Limited) in in the

case of Erin Energy Corporation et al (Debtors), Case No. 18-32188.

35. That the Piaintiff/Respondent (Erin Petroleum Nigeria Limited) in applying

to this l-ionourable Court sought the registration of a Judgment/Order of

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the United States Bankruptcy Court, for the Southern District of Texas,
dated i\/lay 1, 2018, made in the case of Erin Energy Corporation et al
Debtors, with case No. 18-32185, which enforced and restates the
automatic stay provisions of the United States Bankruptcy Code (which
purports to grant an automatic stay applying to ali entities, upon the filing
of a Bankruptcy Petition before the United States Bankruptcy Court). A
copy of the said Judgment/Order is herein annexed and marked Exhibit
13.

36 That the Affidavit of Facts filed by the interested Party/Appiicant was
proactiveiy filed before the United States Bankruptcy Court for the
Southern District of Texas as a means of notifying the United States
Bankruptcy Court of Zenith Bank’s enormous interests, to forestall the
court from wrongfully assuming jurisdiction and, from making and/or
extending the ‘automatic stay' (wnicn purportedly arose pursuant to the
filing of the voluntary petition for Chapter 11 Bankruptcy by the
Plainfiff/Respondenf) upon hearing the Application of the Piaintiff
Respondent (Erin Petroieum Nigeria Limited) on i\/lay 9, 2018 A copy of
the said Hearing Notice for the motion to extend the automatic stay is

herein annexed and marked Exhibit14.

ADDlT|ONAL FACTS NECESS|TATING THE GRANT OF TH\S
APPL|CAT\ON

37 That both the interested Party/Applicant and the Piaintiff/Respondent (Erin
Petroleum Nigeria Limited) are Companies incorporated at the CAC in

Nigeria, and are governed and administered by Nigerian Laws.

37. That Nigerian Laws sufficiently and adequately provide for the procedure to

be adopted where a Nigerian Company is seeking reorganisation and/or

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compromise with its creditors and Nigeria Law also provides for the proper

forum where same may be sought

38. That the Judgment/Order of the United States Bankruptcy Court for the
Southern District of Texas made on l\/iay 1, 2018 in the case of Erin Energy
Corporation1 et al Debtors, with case No. 18-32186, if enforced will have a
bearing on the use and exploitation of Oii reserves contained in assets
belonging to the Federai Government of Nigeria, to Wit; the oil blocks
covered by Oi\/ll_s 120 and 121.

39. That the interested PartylAppiicant Was and is not a party to the matter
pending before the United States Bankruptcy Court for the Southern
District of Texas from which the Judgment/Order of i\flay 1, 2018 in the
case of Erin Energy Corporation et al Debtors, With case No. 18-32186,
(noW registered as an order of this Honourable Court) arose by that Court

usurping the powers of the Federai High Court of Nigeria.

40. That on lViay 18, 2018 (Six days prior to the Order of this Honourable
Court dated iVlay 25, 2018), the interested PartylApplicant exercised its
right of enforcement of the security provided under the Deed of Legal
Charge between the Plaintiff/Respondent and the interested
PartylApplicant dated l\flay 14, 2015 by appointing a Receiverll\/ianager
over the F’iaintifflRespondent (Erin Petroleum Nigeria Limited). A copy of
the instrument appointing Bashorun J.K. Randle of J.K. Randle
Professional Services dated lVlay 18, 2018 is herein attached and marked
Exhibit 15_

41. That the Order of this Honourable Court made on l\/iay 25, 2018 upon an
Ex-Parte Application filed by the PlaintifflRespondent (Erin Petroleum
Nigeria Limited) on iVlay 15, 2018 was obtained by the F’iaintiff/Respondent

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suppressing and concealing the aforementioned relevant facts from this

Honourable Court.

42. That the interested Partyl Applicant was not afforded its constitutional right
to fair hearing before this Honourable Court, in the registration of the
Judgment of the United States Bankruptcy Court in the case of Erin Energy
Corporation et al (Debtors)l Case No. 18-32188 by this Honourable Courts

43. That it is in the interest of justice for this Honourable Court to grant this
application as the PlaintifflRespondent (Erin Petroleum Nigeria Limited)

would not be prejudiced by the grant of same

44. That l make this Affidavit solemnly and in good faith, conscientiously

believing the same to be true and correct in accordance with the Oaths Act.

z

DEPONENT

 

 

SVVORN to at the Federai iligh
Court Registry, l_agos, Nigeria

This j_j*j\/-\day of June, 2018

BEFORE NiE 7
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DATED THIS ....,.....DAY OF , 2014

f b cAMAc FETRoLEuM LlMiTED
l ` As BoRRowER
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7/ \‘>

AND

ZEN!TH BANK PLC
AS LENDER

NDRED MlLL|ON UN|TEDSTATES

$100,000,000 iowa Hu
.. ooLLARsi

TERM LOAN FACIL|TY AGREEMENT
R THE EXPANS|ON AND DEVELOFMENT OF THE O|L

FO
BLOCK OML 120 AND 121

______mr_____.,___r_----_(

 

,»_.._.__,r,_____~ .m"_r___»-

 

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7 __ . office at'Carn`ac i-louse, ,
Victorla°isiand_ Lagos (hereinafter referred to as “Th er" which expression shall _
where the context so admits include its successors-l tilid\ai\dpssig )p,§§l@dag§,p@§}`,_, v
the " ‘ _‘outailed therein :<

AND i D b PED

    
       
    

 

  

zenith eANK PLc, a banking company incorpois o*§noiice`
the Federai nepubiic or Nigeria having its register mine
Street, Victoria lsiand, Lagos State (hereinafter referred to as "The tenderl `w`ln_ch_'
expression shall where the context so admits include its successors-in»title and assigns)
of the other part

 

nw

The Borrower and the tender shall be jointly referred to as “Parties" in this agreement
WHEREAS:

i, The Borrower has applied to the Lender for a Term Loan Faciiity in the
principal sum of 5100,000,000.00 (One Hundred Miliion United States
Dollars) for the purposes of part financing the expansion and development of
the Oii B|ock Ol\llL120 and 121

ii. The legal holder of the Oii Block OML 120 and 121 is Al|ied Energy Pic. The
Lender understands that by virtue of a Transfer Agreement. between Aliied
Energy P|c and the Borrower, the Borrower acquired ali the economic interest
of Ailied Energy Plc in Oii Block OML 120 and 121. The approval of the
Niinister of Petroieum has not been obtained with respect to the transfer.

 

iii. Pursuant to the request for the Term Loan Faciiity by the Borri:)viierl the
Lender has made an Offer of Credit Faciiity {dated ..luly 21, 2014) to the
Borrower, the terms of which have been duly accepted by the lBorrower.

iv. The tender and the Borrower have agreed upon the grant of the term loan
facility by the l_ender to the Borrower on the terms and conditions herein
contained

NOW THEREFORE IT lS AGREED as follows:

1. iNTERPRETAT|ON
1.1 in this Loan agreement except the context otherwise admitsl the following
words, terms, phrases and expressions shall have the meanings ascribed
hereto. Further the male gender shall include the female gender and vice-
versa while the words and phrases in the singular shall include the plural
and vice-versa

i. "Al| Assets Debenture" means the Nigerian law governed
agreement so granted by or to be granted by the Borrower in
favour of the Lender and to inciude, without limitation a charge
over the current and future assets of the Borrower.

  

----..-_.-.,__

\` _-`i')>__.\'j. t /~\"Availability Period" means the period during which the Lender
PMMJ undertakes to make the Term Loan Faciiity available to the
Borrower for utilization subject to the satisfaction by the Borrower

of ali the conditions precedent to drawdown.

 

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lil. "Available Faciiity" means the undrawn and uncancelied portion
of the Term Loan Faciiity.

lv_ “Ancillary Documents" means the Legal Charge over the ON|L
120 and 1211 All Asset Debenture, Deed of Share Charge over the
shares of the sponsors Corporate Guarantees, l_etter of Comfort
from CAN|AC Energy l-loldings Limited and all other documents
referenced in this Agreernent required in order to give effect to the
Terms of this Agreement.

v_ “Board of Directors" means the board of directors for the time
being of the Borrower within the meaning of the Companies and
Aiiied Nlatters Act CAP C20, Laws of the Federai Repubiic of
Nigeria, 2004.

vi. “Business Day” means a day on which banks in Nigeria are
open for normal banking business excluding Saturdays and
Sundays and any public holiday declared by the Federai
Government of Nigerial

vil. "Charged Assets“ means each of the assets and undertakings of
the Borrower and more particularly charged to the l_ender in the
Ail Assets Debenture dated on or about the date of this
Agreement between the Lender and the Borrower.

 

viii CAPEX Reserve Account (“CRA"): An account established with
the Lender and which will be used to build up and maintain the
CRA required balance Such amount shall not be less than 10% of
net revenue after expenses

ix. "Compensation Acccunt“ i\lleans the account established with
the tender to be used to receive ali insurance payments andlor
any other compensation due to the Elorrower.

x. "C|osing date” means the or any other date
agreed for the execution of this Agreement and any other ancillary
agreements

xi. "Drawdown" means when ali the conditions to drawdown set forth

in this Agreement are met

xii. "Debt Service Reserve Account" means the account established
by the borrower with the Lender to be used to fund debt service
obligations due_s on the next'repayment date. To be funded no
later than 7 days priorto each repayment date.

xiii. “Events of Default“ means any one of the events stated in
clause 19 hereof_

xiv. “Final Maturity Date" means ..., 2019 or any other date as may
be agreed in writing between the tender and the Elorrower.

xv. “i_egal Charge" means the legal charge created or to be created
over Oii B|ock OML 120 and 121 {which license is held by Allied
Energy Plc).

 

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xvi. “LlBOR” means the l.ondon interbanl< Ot"fered Rate which is the
rate at which banks offer and place money at the London inter~
bank money market Specificaliy, this is the one-month LtBOR
rate for a period equal to that interest period which appears on the
screen display designated as page 3750 on the tvtoneyline
Telerate Servlce (or such other screen display or service as may
replace it for the purpose of displaying British Bankers‘
Association LiBOR Rates for Dollar deposits in the London
lnterbanll marked at or about 1100 hours lel`f on the applicable
rate fixing day.

 

xvii. lillaterial Adverse Effsct; means any outcome or circumstance
which materially and adversely affects the obligations of the
Borr'ower under this facility agreement or materially and adversely
affects any cf the securities hereby created

xviii. “Nioratorium” means a period of grace during which repayment
of the principal amount of the Loan shall be suspended and shall
be twelve {12) months commencing from the date of the first

 

drawdowrt.
xix. “lllionth” means a calendar month
xx. “Obligor" means any person having an obligation {direct|y cr

indirectly under this facility agreement or any other ancillary
agreement related to this facility {including Al|ied Energy P|c, the
off tal<ers, Camac Energy incorporated.... etc)

xxi. “Project" means the further expansion and development of the
Oi| B|ock ONtL 120 and 121_

xxli. “Request" means a request by the Borrower to utilize the Term
Loan Faciiity, substantially in the form of Schedule 1.

><)<iii. “Sponsors" means the shareholders of the Borrowers.

xxiv. “The Term Loan Faciiity” means the term loan facility described
in clause 2 granted to the Borrower by the Lender.

xxv. "The Loan amcunt" means the aggregate principal amounts
drawn by the Borrower at any time under the Term Loan Faciiity
and not repaid or prepaid

xxvl. “USD” and "$" means the lawful currency of the United States of
America.

1.2 Words and phrases deined in the Companies and Allied Maters Act Cap
620 Laws of the Federai Repub|ic of Nigeria 2004 shall subject to the
foregoing have the same meanings respectively in this Term Loan Faciiity
Agreement.

1.3. The headings of the various clauses are inserted for convenience only
and shall not affect the construction of the clauses cf this Term Loan
Faciiity Agreement.

 

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1.4 References to any statute or statutory provisions are to the statute or
provisions as may from time to time be amended, modified, extended or
re-enacled.

2. FAC|L|TY

The l_ender hereby grants to the Borrower upon the terms and subject le the
__» conditions herein contained a term loan facility in the aggregate principal sum of
_" US$100,000,000.00 lone Hundrec| Million United States Dollars) to be
7 designated the Term Loan Faciiity and the Rorrower hereby accepts the Faciiity
from the Lencler.

3. DlSBURSEMENT

3.1. The Term Loan Faciiity shall be available for utilization for a period of 12
(twelve) months from the date of execution of this agreement

3.2. The disbursement shall be made in 4 (four) trenches of US$25,000.000
(Tvventy Five Nlilllon US Dollars) each upon satisfaction by the Borrower
of all the condition precedent lt being understood that at least 10% of the
facility (equivalent of N1_65illion Naira) shall be disbursed in Nigeria
currency (Naira].

 

3.3. The Term Loan Faciiity shall be available in US Dollars (for offshore
portion) and Naira (for payment to local contractors and suppliers). The
dollar portion will also be available for utilization as letters of credit
unconfirmed, conflrmed, deferred and Usance.

4. COMM|TMENT

 

The Lender hereby undertakes and agrees that subject to the terms of this Loan
Agreement and the Offer L.etter for the facility it shall during the Availabilily
l`-’erlod make the Term Loan Faciiity available to the Borrower for utilization for
the purpose stated in clause 5 as contemplated under this Agrsement.

5_ PURPOSE

5,'|. The Borrower shall utilize the Loan strictly for the purposes of part
financing the expansion and development of the Oii Block ONlL 120 and
121

5_2. The Faciiity shall be utilized (i) via direct payment to suppliers and
contractors offshore-payment via letters of credit and transfers based on
the terms of supply while direct disbursement shall be made to local
suppliers from the Naira disbursement (ii) to fund financing costs,
expenses and fees associated with the facility

5.3_ The l_ender is not bound to monitor or verify the application of any
amount borrowed pursuant to this Agreernent_

6. TENOR

This Term Loan Faciiity shall be for a period of five (5) years inclusive of twelve
(12) months moratorium on Principal only.

 

 

 

 

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7.1_ The Borrower shall be entitled to make drawings under the Term Loan
Faciiity at any time during the Avaiiability Period. and for each such drawing
(to be designated a "Drawing") the Borrower must complete a Request, such
Request to be made in the form of schedule 1 hereto and delivered to the
Lender during a Business Day. The Lender shall communicate acceptance
of the Request to the Borrower within thirty (30) days of the request

7.2. Drawings under the Faciiity shall be subject to satisfaction by the Borrower
of all the conditions precedent to drawdcwn stipulated in the accepted Offer
l.etter dated July 21, 2014 in each case in form and substance satisfactory
to the Lender unless waived by the Lender on such terms as the Lender
deems fit in writing

7.3_ Notwithstanding any other provision of this Loan Agreement, including,
without |imltation, those in Clauses 3.3 and 5.2, the amount of any standby
letter of credit issued hereunder shall not be considered to be a drawing
under the Term Loan Faciiity but shall be considered to be a Contingent
Liability which reduces availability but does not incur interest andlor charges
until actual presentation for payment

B. tNTEREST AND OTHER FEES

8.1. The dollar rate of interest chargeable in respect of the Loan shall be LEBOR
+ 7.5% per annum. subject to a floor of 9.5% per annum

B.Z. The Naira interest rate shall be 18.75% per annum. This rate is subject to
upward or downward review by the Lender iri line with money market
realities However, any future advice of upward review shall be for
information only and will be deemed accepted accordingly unless the facility
is paid down on the effective date of such upward review.

8.3. Default interest will be payable on all overdue amounts at floor rate plus
applicable margin of 2,00% per annum.

8.4. The Borrcwer shall also pay the following other fees

(i] N!anagernant Fee at 1% flat. payable upfront upon acceptance of
offer;

(ii) processing Fee at 0.35% flat, payable upfront upon acceptance of
offer.

{iii) Commitment Fee at 0.50%, payable quarterly in arrears annually on
the undrawn balance

(iv) L.oan Service Fee (Periodic}: 0.5% payable upfront upon acceptance
and on every anniversary on the outstanding balance until the facility
is fully repaid

8.5. Where any interest payment or principal repayment under this Ciause is due
on a day that is not a Buslness i)ayl such payment shall be made on the
next Business Day in the same calendar month lit there is one} or the
preceding Business Day (lf there is none)_

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_r. secuan"r

9.1. As security for the repayment of the Loan_ which security shall terminate
and be released by the Lender at such time as no amount is or may be
outstanding under this Loan Agreement. the Borrower shaii'.

{a) Obtain in favor of the Lender a Legal Charge over Aliied Energy Plc and
Garnac Energy incorporated's entire interest in Oii B|ocl< OML 120 and
121;

(b_) Create in favor of the Lender a fixed and floating Legal Charge by way of
an Ali Assets Debenture over its present and future assets including any
currently unissued shares in the Borrower or any shares created as a
result of an increase in the authorised share capital of the Borrower. This
Agreernent and the Al| Asset Debenture to be executed and read
contemporaneously

(c) Obtain in favor of the Lenderl a corporate guarantee (covering the entire

facility and interests) from Camac Energy incorporated (the parent
' . company of the Borrower) and a corporate guarantee (covering the
¢3/ entire facility and interests} from Al|ied Energy Plc.

 

 

(d) Obtain an undertaking from A|lied Energy Plc and Camac Energy
incorporated committing to domicile the proceeds from the sale of crude
oil from OlVlt_s 120 and 121 and processing of atl NXPs from such sales
through its account with the Lender.

(e

»._/

Obtain a letter of comfort from Camac Energy i-ioldings Limited to
ensuring that its subsidiary (Al|ied Energy Plc and Cemac Energy
tncorporated) domicile the crude oil proceeds with the Lender and
ensure performance of obligations under this Term Loan Faciiity
Agreement

{f) Ol;\tain an assignment to the Lender of all the rights in the share capital
ot the Borrower and to ensure the shareholders of the borrower create a
pledge in favor of the Lender over their shares in the Borrower tincluding
current and future shares as well as additional shares in the event of
increase in the authorized share capital of the Eorrower).

(g) Assign to the Lender, the Eiorrower's rights under all commerciai
contracts including sale and purchase agreements off-take agreements
and crude handling agreementsll

(h) Cause Allied Energy Plc and Camac Energy incorporated to assign to
the Lender ali ttietr rights under all commercial contracts relating to
OMLs 120 and 121 including sale and purchase agreements, off-laker
agreements and crude handling agreements

(i) Create in favor of the Lenderl an irrevocable Domicilialion agreement
(between the Borrower, Ai|ied Energy Pic. Gamac Energy incorporated
and off-takers domici|ing all proceeds from the off take agreement in the
designated accounted opened with the Lender.

(j) Enter into an irrevocabie undertaking (aiong with Al|ied Energy Plc and
Gamac Energy |ncorporated) to open all NXP in respect of crude oil
lifting from ON‘|Ls 120 and 121 being financed throughout the tenor of
the facility with the Lender and to route ali proceeds or crude oil estes
from ONli_s 120 and 121 to its account with the Lender.

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/ (k) Crsate a charge in favor of the Lender over ali of the Borrower’s
/ accounls, receivables rights and interest and cause A|lied Energy Plc
and Camac Energy incorporated to create a charge in favor of the
Lender over all its acoounls, receivables rights and interest with respect
to 0ML120 and121.

(|) Assign to the Lender, all rights under any hedging agreement entered
into in relation to the Faciiity

(m)Assign to the Lender, ali insurance and reinsurance contracts inciuding
performance guarantees by EPC related to the project

(n} Obtain from the off»takers of the crude oil from OMLS 120 and 121 a
commitmentracknowiedgment of domiciliation instruction by Allied
Energy Plc and Camac Energy incorporated to domicile all sales
proceeds to the Borrower’s account with the Lender_

{o) Pledge all its unissued shares (inc|uding news shares issued in the event
increase in the share capital) to the Lender.

9.2. E><cept with the written consent of the Lender, the Borrower hereby
undertakes not to and shall not create or permit to subsist any other
mortgage, charge, pledge or lien (each a "Security |nterest”) on any of its
Charged Assets and!or securities hereby created except for any Security
lnterest:

a. 'i"o secure any excise or import taxes or duties owed to, or industrial
grants made by any slate, government political sub-division or
international organization or any agency, authoriiy, instrumentality or
body or any regulatory authority; or

b. Arising by operation of law; or

 

 

c. Created or arising with the prior written approval of the Lender', or

d. Crealed or arising out ot retention of title provisions or a conditional sale
in respect of goods acquired by the Borrower in the ordinary course of
business; or

e. Which is a lien or other Security interest arising in the ordinary course of
the Bon'ower's business consistent with the Borrower“s past practice and
not securing Borrowings; or

f. The principai purpose and effect of which is to allow the setting-oft or
netting off obligations with those of a financial institution in the ordinary
course of the cash management arrangements of the Borrower; or

g_ Constiluted by netting1 set-off or cash coilaterai arrangements in relation
to swaps or other derivative agreements in the ordinary course of its
business or

h. Arising under arrangements in connection with the participation in or
trading on or through any clearing system or investment, commodities or
stock exchange where the Becurity interest arises in the ordinary course
of business under the rules or normal procedures or legislation governing
such system or exchange; or

 

 

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!'-

i. Over securities, derivatives or commoditiesl in respect ot the acquisition
cost ot such securitiesl derivatives or commodities owed to a dealer
therein or an agent for the purchase thereof where such cost fails to be
paid within 180 days of being incurred; or

j. lArising out of or in connection with pre-judgment legal process or a
judgment-or 'a judicial award relating to security for costs; or

i<_ Which is to renew, extend or replace a Permitted Seourity interest if the
principal amount secured is not thereby exceeded and such permitted
Security interest is discharged or released within 3 {three} months of the
creation of the replacement Security interestr or

i. Over cash or cash equivalents covering any indebtedness {or obligations
in respect thereof. such as future interest) in respect of capital market
issues in existence on the Closing Date which has been fully covered by
cash or cash equivalents as a means of achieving the economic effect of
full repayment of that lndebtedness; or

10. CREAT|ON OF ACCOUNTS

 

10.1_ Collection Accounts: A collection account shall be opened with the Lender to
receive atl revenues generated from the obligor base asset (OML 120 and 121)
including receivables from the off-take agreement Withdrawals shall be made
from the collection account to fund the following accounts: (i) Debt Service
Reserve Account (DSRA) (ii) Operations Account (iii) Debt Service Account (iv)
CAPE>< (v) Compensation Account_

 

tO_Z. Operations Accounts: The Borrower shall open an operations account with
the Lender. On each waterfall date. the company shall de posit in the operation
account from the coi|ection account such amounts as necessary to permit
payment from that account of up to tt)t'.l% of the operating expenditure for the
next 3months.

t0.3_ Debt Service Account: The Lender shall open a Debt Service Account with
the Lender which will be used to fund debt service obligations due on the next
repayment date This is to be funded no later than 7 days prior to from the
DSRA_

10.4, CAF'EX Reserve Account (CRA): This account shall be established with the
_Lender and witt be used to build up and maintain the CRA required balance
The CRA balance shall not be less than 10% of net revenues after expenses

10.5. Compensation Account'. A compensation account shall be established with
the Lender for the purpose of receiving all insurance payments and!or any
other compensation due to the Borrower.

10.6 DSRA Requtred Balance: Debt Service Reserve Account (“DSRA"} shall be
opened to warehouse the DSR required balance in an event of default any
funds held in the Debt Service Reserve Account rnay be promptly applied as a
mandatory prepayment under the facility This shall be maintained to hold 12
months interest obtigation during the moratorium and subsequently funds
sufficient to pay one quarter interest and principal shall be constantly held in
this account

 

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__\moRATORiuM
The Lender hereby grants to the Borrower a moratorium on principal only ot the Term
Loan Faciiity tor a period of twelve {12) months, interest will be paid during the

moratorium period on a quarterly basis_

REPAYMENT

 

12.1 The Borrower shall make quarterly {per annum) repayment of principal and
interest commencing after the moratorium period. However, interest shall be payable
quarterly during the moratorium period.

122 The principal and interest on the facilities shall be paid by the Borrower to the
Lender on the due date through the legally accepted mode of repayment as specified by
the Central Bank of Nigeria, accompanied by a letter signed by the authorised
representative of the Borrower, stating the purpose of the payment Notwithstanding the
purpose stated in the letter by the Borrovverl the Lender shall apply any payment so
received from the Borrower first in or towards the satisfaction or reduction of the
payment ot interest then due and unpaid before appiying same to or towards the
repayment ot the principal sum then due and if the amount is not enough to repay the full
amount then due, the Lender shall so notify the Borrower who sha|i within 30 (thiity)
days ot receiving such notification pay to the Lender the amount necessary to repay the
installment in tull_

123 Where any date tor a repayment under this Ciause is not a Business Day, such
repayment shall be made on the next Buslness Day in the same calendar month (if
there is one} or the preceding Business Day tit there is not).

12.4 On the Finai Repayrnent Date. the Borrower shall pay and discharge atl
outstanding secured obligations in full.

 

PREP AYM ENT AND CANCELLATEON

13,1. On giving not less than 14 (tourteen) business days prior written notice to the
Lender, the Borrower may prepay the Loan in whole or in part.

13.2. Paities agree that F'repayrnent is allowed only in multiples of US$S,{)O0,000.00
(Five Million US Do|lars). l-lowever, a 1% flat charge shall be applied on the
prepaid amount.

13.3. Arnounts prepaid will not be re-borrowed and shall first be applied in or towards
payment of any interest due and unpaid then towards repayment of any principal
installments then due and unpaid.

14_ COND\TIONS PRECEDENT TO URAWDOWN

t4.‘l. The Borrower shall not be entitled to draw or utilize the Term Loan Faciiity or any
part thereof unless the Lender shall have received the following:

14.1.1. Acceptance of the offer dated Juiy 21 2014, evidenced by signing and
returning a copy of the offer letter by the authorized signatories of the
Borrower. Such authority to accept the offer by the Borrower to be
obtained via a duty signed Eloard resolution of the Borrower. The Lender
confirms that the referenced offer dated July 21, 2014 has been accepted
and signed by the Borrower,

14.1.2 Submission of duly executed written Board Ftesciotion of the Borrower
authorizing and accepting usage of the term loan facility.

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14.1.3.Submission of a Board Resolution of the Borrower authorizing and
accepting the terms and conditions contemplated under this Agreement_

14_1.4. Submission of a duty executed written anrd Resoiution of A||ied Energy
Plc and Carnac Energy incorporated authorizing the following'.

it The use cf their OML 120 and 121 as collateral for this facility. Ali the
documents required for perfection and creation of legal charge shall be
executed accordingly

ii. That ali proceeds of crude oil export from OML 120 and 121 shall be
domiciled with the Lender and transferred to the account of the
Borrower with the Lender towards tiquidation of the maturing
installments of the Term Loan Faciiity.

14.1,5. Submission of a Board Resoiution of the Borrower, Ailied Energy Plc and
Carnac Energy incorporated undertaking that the Borrower and Aliied
Energy Plc shall not obtain any additional finance or create any security
interest over Oii Biock OiviLs 120 and 121 as weil as its current and future
assets without the prior written consent of the Lender_

14.1.6. Receipt of a Letter from the Borrower stating its current indebtedness (if
any) to other lenders with the facility limits obtainedl current outstanding
balance (if any) and the collateral pledged

14_1.7. Receipt of duly executed Term Loan Agreement between the Borrower
and the Lender_

14r1.8. Receipt of duly executed legal charge by Aliied Energy Plc and Camao
Energy incorporated on its interest in OMl_ 120 and 121.

14_1.9. Receipt of duly executed ali asset debenture over the fixed and floating
assets of the Borrower in favor of the Lender_

14.1.1[1. Receipt of duly executed pledge over ali the shares of the
Borrower iinciuding issued and unissued shares and to extend to any
new shares created in the event of shares capital increases)_

14.1.11.Receipt of duly executed agreement between the Borro\ri.'erl Aiiied Energy
Plcl Camac Energy incorporated and the off-takers domiciiing ali the
proceeds from the sale of crude from the Oii Biock OML 120 and 121 with
the Borrower.

14.1_12. Receipt of duly executed agreement assigning the rights of the Borrower
Camac Energy incorporated and Aliied Energy Ptc under ali commercial
contracts related to OMLs 120 and 121 {inotuding sale and purchase
agreements off-take agreements and crude handting ag reements).

14.1.13.Receipt of an irrevocable undertaking by the Borrower, Camac Energy
incorporated and Aliied Energy Plc to open all NXP in respect of crude ott
lifting from OML 120 and 121 throughout the tenor of the facility with the
Lender and to route ali proceeds of crude cit sales from OML 120 and
121 to its account with the Lender_

 

14_1.14.Receipt of duly executed pledge in favor of the Lender over the Borrowers
accounts, receivabii=_isl rights and interests

 

14.2.

14.1.15.Submission of an independent reserves and technical report on the
assets provided by an independent technical consultant, acceptable to
the Lender_

14.1.16.Receipt of duly executed first charge on the Borrower's account with the
Lender, warehousing the proceeds of crude oil sales on ONlL 120 and
121.

14.1.17.Receipi of duly executed standard corporate guarantee of Camac Energy
incorporated and Allied Energy Plc, the parent company of the Borrower.

14.1.18.Receipt of duly executed undertaking by the Elorrower that the US Dollars
and Naira equivalent of the foreign exchange or the Borrowers account
with the Lender should be debited for the Doiiar andi’or Naira equivalent
of principal and interest in the event that payment from the crude
exported is delayed on due date or repayment or at the time of expiration
of the facility.

14.1.19.Receipt of written confirmation or certificate of compliance issued by the
Department of Petroieum Resources in respect of ONiL 120 and 121_

14.1.20.Receipt of documents relating to the Borrower's acquisition of the
remaining economic interest in OML 120 and 121 form Aliled Energy Plc
and Camac Energy incorporated

14.1.21.Receipt of all other necessary security documents

14.1.22.E)cecution of any other necessary security document{s) as may be
reasonably required by the Lender_

The Lender may allow the Borrower to utilize the facilities or any part thereof
notwithstanding that all or any of the conditions precedent to the utilization of the
facilities have not been fulfilled and such a concession shall not prejudice the
right of the Lender to insist upon the fulfillment of all the conditions precedent to
the utilization thereof before further utilization of the facilities nor prejudice the
right of the Lender to recover from the Bcrrower any part utilized before the
fulfillment of all or any part of the conditions precedent

OTHER CDNDlTlONS

 

 

15.1.

15.2.

15.3.

15.4.

15.5.

15.6.

The Borrower shall submit to the Lender a copy of its quarterly management
accounts within sixty (60) days of the end of each quarter and audited accounts
within one hundred and twenty (120) days of the end of each financial year.

This Term Loan Faciiity is made subject to availability of funds and to the rules
and regulations governing banking business as enunciated by the Central Bank
of Nigeria from time to time.

in line with Centrai Banl< of Nigeria ("CBN”) directive The Lender shall disclose
information relating to this facility to CBN l_icehsed Credit Buraaus.

Predeterrninatiorl of borrowing base every six (5) months by an Engineering
Consuitant acceptable to the Lender.

The Borrower hereby undertakes to source foreign currency on or before maturity
of the Term Loan Faciiity.

The Borrower. Camac Energy incorporated and A|lled Energy Plc shall inflow the
repayment from proceeds generated from oil trading onior before the expiration
of the facility `

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15.7. The Borrower shall be required to tai-re out a comprehensive insurance policy
with a reputable insurance company acceptable to the Lender against fire and
any other form of peril on OML 120 and 121 with the Lender noted as the first
loss payee.

` d 15.8. The Borrower shall provide a list of contractorsr‘subcontractors to be engaged in
executing further expansion and development works on OML 120 & 121.

15.9, “i'he Borrower shall use its best efforts to ensure that contractorsfsubcontractors
associated with this project openf maintain accounts with the Lender wherein
funds shall subsequently be disbursed

15.10. The Lender reserves the right to unilaterally review the terms and conditions of
this facility from time to time in the light of changing market conditions and also to
terminate this banking facility and accelerate the maturity of the Borrowers
indebtedness based on any adverse information threatening the basis of this
relationship or putting the banking facility at risk or loss and as a result of any
breach of the terms and conditions cf this facility. The Borrower shall be notified
of any decision taken in this respect.

 

15.11. ln the event of a contemplated sale of shares. issuance of additional share
capital, amalgamation of business or any other change that would result in any
change ot ownership of the company, or a substantial share capital of the
company being taken over by a new owner_ the prior consent of the Lender must
be obtained in writing, otherwise the facility shall become immediately due and
payable

15.12. The Borrcwer shall carry out periodic reserve redetermination audit to ascertain
changes in borrowing base.

15.13. The bender reserves the right to securitize, syndicate or sell its interest in this
credit facility based on its global risl<fliquidity management obiectives during the
period of the facility

15,14. A|l legal fees, out-of-pocket expenses taxes or commissions including cost of
recovery of the facility in the event of default sha|i be for the account of the
_._ Borrower.

15.15. The Borrower shall not without the prior written consent of the Lender obtain any
new facility from any other financial institution both local and foreign for further
expansion of OML 120 and 121. The Lender in the event 'of need for additional
borrowing shall have a right of first refusal

15. STAMP TAXES

The Eorrower shall pay and, promptly on demand, indemnify the Lender against
any costl ioss or liability the Lender incurs in relation to ali stamp duty, registration
and other similar Taxes payable in respect of this Agreement or any ancillary
agreements

17, REPRESENTAT!ONS AND WARRANT|ES

The Borrower hereby makes the following representations and warranties to and
for the benefit of the Lender

17.1. Status
lt is a duly incorporated and validly existing company with limited liability under
the laws of the Federai Republic of Nigeria.

 

  

 

 

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17.2. Powers and Authority
lt has the powers to enter into. or, as the case may be, to comply withL and be
bound by all obligations expressed on its part under this Loan Agreemenl
including the powers to borrow under this Loan Agreement and that it has taken
all necessary actions to authorize the borrowings under this Loan Agreement and
to authorize the execution, delivery and performance of this Loan Agreernent.

17.3. Non»Conf|ict
The execution, delivery and performance of this Loan Agreement will not violate
any provisions of any existing law or regulation or statute apptlcable to it or of any
mortgage, contract or other undertaking to which it is a party or which is binding
upon its assets

17.4. Project Cost:
The project cost is approximately USDZSS.S Niillion ('l'wo Hundred and l-”itty
Eight Nlillion Five Hundred Thousand Dollars}.

17.5. Borrowing Limits
Borrowings under this Loan Agreement up to and including the maximum amount
available under this Loan Agreement will not, when borrowedl cause any limit on
borrowings (whelher imposed by statute. regulationsl agreement orotl'tenivise)1 or
on the powers of its board of directorsl applicable lo it to be exceeded

17.6. Accounts

The most recent audited profit and loss account and balance sheet of the
Borrower which have been or are to be delivered to the Lender together with the
notes thereto give a true and fair view of the results of the operations of the
Borrower for the period to which they relate and1 as the case may be, the
financial position of the Borrower as al the date to which they relate and have
been prepared in accordance With generally accepted accounting principles in
Nigeria consistently applied

1?.7, Event of Default
No Event of Default has occurred and is continuing

17.8. Proceedings pending or threatened _
No litigation, arbitration or administrative proceeding of or before any court.
arbitral body or agency has (to the best of its knowledge and belief} been started
or threatened against it (or against its directors) or any other Obligor (or against
any director of an Obligor) which:

(a) may restrain its entry into, the exercise of its rights underl or the performance1
enforcement ct or compliance with any ot its obligations under this Agreement;
or

('o) if adversely determined would reasonably be expected to have a lVlateriai

Aclverse Effect`

17_9, insolvency
No corporate action, legal proceeding or other procedure or step or creditors’
process has been taken against the Etorrower.

   

 

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17.‘10.Corruption
Neither the Borrower nor any of its Afn|iates, end their respective officers
directors or authorised employeesl agents or representatives has:

(a) paid, promised to pay or offered to pay, or authorised the payment of, any
Commission bribe. pay-off or kickback related to the OML 120 and ‘121
that violates or may violate any applicable law or regulation or entered
into any agreement pursuant to which any such commission, bribe, payH
off or kickback may or will at any time be paid; or

(b) offered or given any object or other thing of value to influence the action
of a public officia|. or threatened injury to personr property or reputationl in
connection with the OML 120 and 121.

17.‘1 'l .Taxation
(a) lt has duly and punctuaiiy paid and discharged ali Taxes imposed upon lt
cr its assets within the time period allowed without incurring interest or
penalties (save to the extent that the Lender is satisfied that (i) payment is
being contested in good faith, (ii) it has maintained adequate reserves for the
payment of such Taxes and [iii) payment can be lawfully withheid).
(b) lt is not materially overdue in the filing of any Tax returns.
(c) No claims are being or are reasonably likely to be asserted against it with
respect to Taxes other than any initiai statement of Taxes due, provided by a
tax authority

'17.'12.lmmunity

(a) The execution by the Borrower of this Agreement, and the exercise by it
of its rights and performance of its obligations under same will constitute
private and commercial acts performed for private and commercial purposes
(b) The Borrower will not be entitled to claim immunity (in relation to itself or
any of its assets or property) from set-off. suit. execution, attachment or other
legal process in any proceedings in relation to this Agreement or any ancillary
Agreements.

‘iB. COVENANTS AND UNDERTAK|NGS

18.‘i. Duraticin
The undertakings in this C|ause 18 will remain in force from the date of this
Loan Agreement and for so long as any amount is or may be outstanding
under this Loan Agreement.

18.2. Financiai information
The Borrower shall deliver to the Lender copies of its audited accounts for
each financial year as soon as the same are publicly available (and in any
event within 120 days cf the end of each of its financial year).

18.3. Notification of Defauit
The Borrower shaii notify the Lenderof any Event of Default land the steps, if
anyr being taken to remedy it) promptly upon becoming aware of it.

18_4. Prtority of interest
The Borrower shall procure that its obligations under this Loan Agreement do
and will rank in priority with all its other present and future unsecured and
unsubordinated obligations (subject to the preference cf certain obligations in
liquidation, bankruptcy Or other analogous proceedings in respect of it by
operation of applicable law)_

 

 

 

 

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Change of Businessicorporate structure

The Borrower shall not change the nature of the business being carried on by it,
and Shareholders as at the date of this Loan i¢l\greernentw Any change in the
current board of directors shall not be effective unless the Lender is notified and
the Lender's written consent obtained

Production and Lifting Schecfule

The Borrower hereby undertake that on the first working day of every month, it
shall provide the Lender with the certified copy of both the Dai|y Production
Scheduie as well as the Product Lii‘ting Schedu|e showing the quantity of
products produced and lifted respectively from ON|L 120 and 121

EVENTS OF DEFAULT

 

Upon the happening of any of the following events, the Lender may by notice in
writing to the Borrower so long as such event is continuing declare such event to
constitute an Event of Default and the amount of the Faciiity then outstanding
and the interest accrued thereon and any other moneys payable hereunder to be
immediateiy due and payable and its obligation to provide moneys under this
L.oart Agreement to be terminated:

i. |f the Borrower does not pay any moneys payable hereunder
when due and such moneys remains unpaid for 30 (thirty) days
after becoming due;

ii. if any order is made or effective resoiution is passed or a
successful petition is presented for winding up of the Borrower or
it the Borrower goes into liquidation or dissolution‘, or

iii. if the Borrower suspends any of its debts or ceases or threatens
to cease to carry on its business or substantially the whole of its
business; or

iv. if any encumbrancer takes possession or a receiver is appointed
for any part of the assets of the Borrower and the interest of such
encumbrancer or the appointment of the receiver is not terminated
or rescinded within 21 (twenty_one) days; or

v. if any distress, execution, sequestration or other process is levied
or enforced upon cr issued out against the properties or
assets/shares of the Borrower and is not discharged within 21
(twenty one) days; or

vi. if the Borrower is unable to pay its debt within the meaning of
section 409 of the Companies and Altied Nlatters Act 2004 or any
statutory modifications or re-enactment therecf', or

vii. |f the Borrower commits any breach of any material part ot’ this
Loan Agreement and in the case of any breach capable of remedy
fails to remedy the breach within thirty (30) days of being required
in writing by the l_ender to do so; or

viii lt any representation or warranty made by the Borrower in this
Loan Agreement or any notice. certificate or statement delivered
or made hereunder proves tc have been incorrect or materially
inaccurate when made or delivered

Notwithstanding any event provided above, the Lender may allow the
Borrovver a ‘t`ii‘teen (15} days Cure Period' to remedy any event cf default
failing which the Lender may commence the process of reaiizing the
security

 

20.

21.

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23.

 

 

CHANGE iN CIRGUMSI ANCE

20.1. If any change in the law or administrative regulations applicable to this l_oan

Agreement or any interpretation by the courts of law makes il unlawful or
illegal for the Borrower to perform its obligations hereunder then the Borrower
shall repay to the Lender any sums outstanding under the Faciiity together
with all accrued but unpaid interest and commissions

20.2. if any change in applicable law or administrative regulations or in the

interpretation thereof by any authority charged with the administration thereof
makes it unlawful for the Lender to perform its obligations hereunder then and
in any such situation;

20.2.1. The Lender shall notify the Borrower according|y;

20.2.2. The Lender shall be discharged from all obligations towards the
Borrower hereunder and its commitment reduced to zero; and

20.2.3. The Borrower shall on demand repay to the Lender the Loan
within 90 {ninety) days thereafter_

20.3, The Lender undertakes that during the tenorl durationl pendency or life cf this

Loan Agreernent il shall continue to upho|d, adhere to and comply with all
laws and Governmenta| rules and regulations applicable to it, its operations,
business and status and in particular the rules. regulations and directives of
the Federai Ministry of Finance. Central Banl< of Nigeria and other monetary
and fiscal authorities and shall riot commit, do, condone, allowl facilitate or
accommodate anything. action, breach or omission that witt put or place the
Lender in a position that it is unable to meet or continue to meet its
obligations hereunder or comply with the terms of this Loan Agreernent.

RECONSTRUCTlON AND AMALGAM AT|O§

This Loan Agreernent shall not be affected by any amalgamation that may be
effected by the Lender, its successors-in-lit|e or assigns with any other Company
or persons whether the new company thus formed shall or shall not differ in its
name, objects character and constitution it being the intent that this Loan
Plgreement shall remain valid and effectual in all respects in favour of and with
reference to any such new company when formed and may be proceeded on or
enforced in the same manner to all intents and purposes as if such new company
had been named in and referred to herein instead ofthe Lender.

iNDU LGENC E

The Lender may without prejudice to its rights herein enter into any agreement
for giving time Or Other accommodation to the Borrower for the Faciiity Ol' other
monies hereby covenanted to be paid or any part thereof and may release or
compound same with the Borrower or any person, company or corporation liable
to pay the same

REMED{ES AND WA!VER

No failure to exercise and no delay in exercising on the part of the Lender rights
powers or privileges hereunder shall operate as a waiver thereof ncr shall any
single or partial exercise of any right, power or privilege preclude the exercise of
any other right. power or privilege The rights and remedies herein provided are
cumulative and not exclusive of any rights or remedies provided by law.

 

 

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24. DEFAU L,T lNDEMNlTY

if the Borrower fails to pay hereunder any sum due (of principal or interest) or to
become due hereunder, the Borrower shall pay interest at the rate aforesaid on
the unpaid sum from the date when such payment fell due up to the date of
payment PROVIDED that interest shall at ali times be calculated and payable as
simple interest and on a reducing balance basis in conformity with monetary
directives issued by the Central Banlc of Nigeria

25. ASSIGNMENT

The Lender and the Borrower shall be entitledl with the prior consent of the other
in writing to assign any of their rights and powers under this Loan Agreernent,
with all or any of the obligations herein stated and may assign andlor deliver to
any such assignee the security collateral hereto and in the event of such
assignment the assignee thereof of such right and powers and of such security,
if any security be assigned andior delivered shall have the same rights and
remedies as if originally named herein in place of the Lender or the Borrower as
the case may be‘ and thereafter the assignor will be fully discharged from all
responsibilities with respect to any obligations so assigned andior security
delivered

26. NOTlCE

Any notice or demand required hereunder shall be deemed to have been
sufficiently given if in writing and delivered by hand or courier at the addressees
address as hereinbefore stated or at each party‘s last known address

-27. ACCOUNTS

The Lender shall open in its books such accounts as may be required by the
Lender to show satisfactory evidence of the transactions contemplated by this
Loan Agreement.

284 LEGAL COSTS. CHARGES AND EXPENSES

The Borrower shall be responsible for the stamp duty payable in respect of this
Loan Agreement and the costs in connection with the preparation negotiation
and execution of this Loan Agreernent.

29. DISPUTE RES LUTtON
29.1. |nitiat N|ediation of Dispute

ln the event of a dispute between the parties to this Loan Agreernent, the
following procedure shall be followed to resolve the dispute prior to either
party pursuing other remedies;

i. A meeting shall be held within'7 {seven) days at which all parties
are present or represented by individuals with full decision making
authority regarding the matters in dispute (lnitiai Nleeting)\

ii. if within 14 (fourteen) days following the initial N|eeting, the parties
have not resolved the dispute, the dispute shall be referred to
Niediation directed by a mediator mutually agreeable to the
partiesl Each party shall bear its proportionate share of the costs
of the mediator's fees

 

 

 

 

     

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The parties agree to negotiate in good faith in the initial Meeting
and in the lVlediation.

iii. lt alter a period of 30 {thirty) days following the commencement of
Mediation the parties are unable to resolve the dispute either party
may submit the dispute to binding arbitration in accordance with
clause 29_2 hereof upon 10 (ten} days prior written notice to the
other party.

29,2. Binding Arbitration

i. Either party may submit any dispute arising out of this t_oan
Agreement that is not resolved following the processes in clauses
29.1 iii. rio and rim above m final and binding Arbiiration_ l

ii. The referral of the dispute to Arbitration precludes any other
course of action by the other party except upon the mutual
agreement and consent of both parties.

iii. The Arbitration contemplated hereby shall be by 3 (three)
Arbitrators one of Whorn shall be appointed by the Lender and the
Borrower respectively while the third f-\rbitrator shall be nominated
by the two (2) Arbitrators aforesaid and the venue for the
proceedings shall he Lagos.

Where there is disagreement on the appointment of the third
i»@\rbitratori then the third Arbitrator shall be appointed by the Chlef
.ludge of l_agos State.

iv_ Each party shalt be responsible for the cost of the Arbitrator
appointed by itr while the cost of the third Arbitrator and all other
costs and expenses of the arbitration proceedings shall be borne
equally by the Lender and the Borrower respectively

v. The Arbitration shall be conducted in accordance with the
Arbitration and Conci|iation Act Cap A18 Laws of the Federation of !
Nigeria 2004.

30` FORCE MAJEURE

Any delay in or failure of performance of this Loan Agreement by either party
hereto shall not constitute default by such party or give rise to any claim for
damages against it if such delay or failure of performance is caused by force
majeure including but not limited tc acts of God, acts of war or revolution1 civil
commotion, strikes lock o‘ut. any |abour unrest. governmental action, t“rre, fiood,
earthquakel destructive lightning, epidemic or other circumstances which are
beyond the reasonable control of the party affected and Whic`h they could not
have reasonably foreseen and guarded against and which by exercise of
reasonable care and diligence they are unable to preventl

31 . AC KNOWLEDGMENT

Any admission or acknowledgment in Writing by the Borrower or by any
authorized person on behalf of the Borrower of the amount of indebtedness of
the Borrower to the Lender or any statement of account furnished by the Lender
as the case may be as a true copy extracted from the books of the Lender shall
be accepted as prima facie evidence against the Borrower_ z

 

 

 

 

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and the same instrument and the Loan Agreement shall become effectiv
each of the parties hereto shall have signed a copy thereof (whether the same or
different copies] and shall have delivered the same to the Lender_

33. SEVERABiLiTY OF PROVlSiONS
Any provisions in this Loan Agreement which is prohibited or unenforceable
under Nigerian l_aw shall be ineffective to the extent only of such prohibition or

unenforceability without invalidating the remaining provisions hereof

34. APPL|CABLE LAW

 

The Loan Agreement shall be governed by and construed in accordance With the
Laws of the Federai Repubiic of Nigeria

 

35. AGREEMENT

 

This l_oan Agreement supersedes any prior agreements promises, negotiations
or representations either oral or written relating to the subject matter of this Loan
Agreernent and, except as provided for herein, may not be amended or modified

36_. AMENDMENT

 

This loan Agreemerit may not be amended or modified save by a document
signed and sealed by and on behalf of the parties hereto

37_ COMMENCEMENT DATE

 

Notwithstanding any other date herein provided furnished or appearing herein
the commencement date of this Loan Agreement is the execution Date as herein
provided

*` ' 38. ENTIRE AGREEMENT

 

This Loan Agreement shall be read in conjunction with the offer letter for the
facility by the Lender dated duly 2'|, 2014. in case of any conflict with the terms
of the offer letter for the facility by the Lender dated daly 21, 2014, the terms of
the offer letter shall prevail

 

 

 

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SCHEDULE 1
FORM OF REQUEST '
TO: Zenith Bank Plc 1
FROM: Camac Petro|eurn Limited
DATE: ................................

Zenith Bank Plc
Term Loan Faciiity Agreemont dated .................. , 201
("The Loan Agreement")

We wish to utilize the Term Loan Faciiity and request a Drawing to be advanced to us as

follows:

a. Arnount of Drawdown: .............................
b. Date'. .............................
c_ Paym erit `ln:-".tructions.l

By.'-

Camac Petroleum Limited

Authorised “A" Signatory Authorised “A" Signatory

 

 

 

 

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lN WlTNESS WHEREOF the Lender and the Borrovver have executed these presents in
the manner hereinafter appearing the day and year first above written

THE COtv'tMON SEAL of the within-named “LENDER"
ZENiTH BANK PLC
Hereunto affixed in the presence of:

  

DlRECTOR ja
THE COMMON SEAL of the within-named “BORROWER"

CAMAC PETROLEUM LlMlTED
Hereunto afhxed in the presence of:

   

l _ ‘v\£)& jim guam 31 \¢§~QLO\J®
arises estate `
BANWO 81 \GHODALU
BARR|$TERS 8\ SOLlClTORS

___._/,,,--"""""_-“" 93, Awolowo Road S. W.

lkoyi, Lagos.

 

 

 

 

 

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DATED THlS

CAMAC PETROLEUM LlNilTED
AS BORROWER

AND

ZENITH BANK PLC
AS LENDER

 

ALL ASSET DEBENTURE
OVER FlXED AND FLOAT|NG ASSETS, PRESENT AND
FUTURE CHARGEABL_E ASSETS OF CAN!AC
PETROLEUM l.lN'llTED

.._...,__..._.a__- has ____,..~.w,_._- .. l_.,___.s_.__.,a_._

 

 

   

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Lagos State (hereinafter called "the Lender" which expression Shall Where the context
include its successors~in-title and assigns) of the other part.

  
 

WHEREAS

  

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sthe Faciiity for the purposes of part tinancing further expansion and develop 7
il Blocl<s O|VlL 120 and 121. The holder of the Oil Blocl< Olt/lL is Allied Ener;_`\.,

 
 
    

 

he Lender has agreed lo grant the Faciiity to the Borrower on the terms and
` set out in the Term Loan Faciiity Agreement dated

    
 
  
   
    
   
  
 
    
  

   
 
   
  
 

ii.
gin

future Chargeabie Assets in favour of the Lender to secure the Borrower' s obli i¢t`_§_

  

"_»._`l e execution and delivery of this eli Assei Debenture Agreernent (Deb`§ture)' in %gg.t»:r
" ._ "dition lo execution and delivery of other security documents in favour of the Lendei‘,a $”,)§7>
4 'eourity for the Secured Obligations is a condition precedent lo the tender making titsg?’"
Faciiity available to the Borrovver.

The Lender and the Borrovver have agreed that the Faciiity and interest thereon and all
Sums vvhic|‘l shall from time to time be outstanding and payable by the Borrower tn t

   
 
  
  

rank prior to any other obligation
NOW THiS DEED WlTNESSETH as follows:
1. DEFlNiTloNs AND iN‘rERPRETAnoN `;”*?*"/
1.'l. DEFiNlTlDNS
it “Business Day" means a day on which banks in Nigeria are open for
normal banking business excluding Saturdays and Sundays and any
public holiday declared by the Federai Government of Nigeria 1 -
ii. "Charged Assets" means all assets and undertakings of th

including the tixe nd floating, present and future chargeable S§;§ ong `
the Borrower ott/movable and immovable, including tangi~__

 

 

 

 

 

 

 

 

 

 

 

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xiv.

1.2, interpretation

a. Constructlon:

--~e -.___...._.. _;g-»_»~h-_gM.g,¢._L-q__ ..e._e._,._.:,, _ ._ . .... “

 

“Col|ateral Ftights" means atl rights, powers and remedies conferred on
the Lender by or pursuant to this Debenture or by applicable laws;

“Terrn Loan Faciiity" means the faciiity (to be) granted by the Lender to
the Borrower in accordance with the Term Loan Faciiity Agreement
between Camac Pelroieum Limited and Zenith Bani< Plc dated

“Faclllty Agreement" means the Term Loan Faciiity Agreement dated
2014 between Camac Petroleum l_td as Elorrower, Zenith Bank Plc as
Lender las amended, varied. novated or supplemented from time to time);

"Faci|ity" has the same meaning ascribed to it in the `l`erm Loan Faci|ity
Agreeme nt and Faciiity will be so construed;

“`Month" means a calendar month.

“Parties" means the parties to this Debenture and “Party" means one of
them;

"Receiver” means a receiver or a receiver and manager appointed by
the Banl< pursuant to the provisions ofthis Debenture;

“Related Rights” means. in relation to any asset (a) the proceeds of sale
of that asset or any part thereof; {b) all present and future rights under
any licence, agreement for sale or agreement of lease ln respect of that
osset,' (c) all present and future righls, powers benefits c|aims, contracts,
warranties remedies, security. guarantees lndemnities or covenants for
title in respect of that asset.‘ and (dl ali present and future interest and
other moneys and proceeds paid or payable under or in respect of that
asset or its use;

“Securlty“ means the security constituted by or pursuant to this
Debenture;

“Security |nterest" means any mortgage charge assignment
guarantee, hypothecation security interest, title retention lien including
banker's |ien, preferential right, trust arrangement right of set-off,
counterclaim, privilege or priority of any kind having the effect of security
or any preference of one creditor over another arising by operation of law;

"Security Period" means the period beginning on the date of this
Debenture and ending on the dale on which the Borrower has fully
discharged its obligations under the Faciiity Agreernenl; and

"USD” and "$” means the lawful currency of the United States of
At'nerica.

Unless a contrary indication appears, any reference in this Ail Asset Debenture to;

i. "assets

" includes present and future |:)ropertiesl revenues and rights of every

description;

 

 

 

/...__

 

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ii. a "disposal" includes any transfer, grantl lease, assignmentl saie, participation or
other transfer of economic ownership compulsory acquisition, compulsory sale or
other disposal or agreement for the disposal of, or the grant or creation of any
interest derived froml any asset;

iii. a "Finance Document", shali mean Term Loan Faciiity Agreemen't dated
or any other agreement or instrument that is referenced to in the Term l.oan
Faciiity Agreemsnt as amendedl novatedl supplemented extended replaced or
restated;

iv. the ”Agent", the "Arranger", the "Ac:count Banl<", any "Counterparty", the "Lender"l
any "l.ender", any "Finance Party" or any "Party" shall be construed so as to
include its successors in titie, permitted assigns and permitted transferees andl in
the case of the Lenderl any person for the time being appointed as Lender or
Lender in accordance with this Debenture;

v. "inde_btedness" includes any obligation (whether incurred as principal or as
surety) for the payment or repayment of money, whether present or future, actual
cr contingent;

vi'_ "person" includes any person, firm. company, corporation, governmentl state or
agency of a state or any associationl trust or partnership (whether or not having
separate legal personality) or two or more of the foregoing;

vii. a "regulation" includes any reguiation, rulel official directlve, request or guideline
(whether or not having the force of |aw) of any governmenta|, intergovernmental
or supranational body. agency, department or ct any regulatory, self-regulatory or
other authority or organisation;

viii. a provision of law is a reference to that provision as amended or re-enacted;
ix_ Event of Defauit is as stated in the Term Loan Agreerhent dated....

x. A default (other than an Event of Defaul't) is "continuing“ if it has not been
remedied or waived and an Event of Default is "continuing" if it has not been
vvaived; and

xi. a time of day is a reference to l.ondon time, L.agos time or New York Time las
specified)_

Section_ Clause and Schedule headings are for ease of reference only and do not affect
the interpretation of this [Jebenture.

Uniess a contrary indication appearsl a term used in this Debenture or in any notice
given under or in connection with this Debenlure has the same meaning in the
Debenture.

A reference to a Glause or Schedu|e ls a reference to that clause or schedule in this
Debenture. '

References to this Debenturs or any specified provision of this Debenture or any other
document shall be construed as references to this A|l Assets Debenture, that provision or
that other document as in force fortna time being and as amended in accordance with
the terms thereof orl as the case may be, with the agreement of the relevant Partles.

Words impeding the plural shali include the singular and vice versa.

 

 

 

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1.3.

2.1.

References to any statutory provision means that statutory provision as amendedl
supplemented re~enacted or replaced from time to time (whether before or alter the date
of this Debenture) and are to include any orders, regulations instruments or other
subordinate legislation made under the relevant statutory provision.

/\ reference in this Debenture to a mortgage of any real property includes all buildings
and fixtures on that property and all Re|ated Right.

The fact that no details of any specific property or agreement are included in the relevant
Schedu|es does not affect the validity or enforceability of any security created by or
pursuant to this Debenture

Words and phrases defined in the Companies and A||ied Nlaters Act Cap 020 Laws of
the Federai Republic of Nigeria LFN 2004 shall subject to the loregoing have the same
meanings respectively in this Del:)snture.

The headings ct the various clauses are inserted for convenience only and shall not
affect the construction of the clauses of this Debenture.

'Effectiveness of this Dehenture

Notwithstanding any other provision of this Uebenture or the Term Loan Faciiity
Agreement dated or any other Finance Document, this Debenture shall
only be effective on and from the date it is signed by the Parties.

Entire Agreement

in the interpretation of the provisions of this Debenture, this Debenture shall be read in
conjunction vvith the provisions ot the `t`errn Loan Faciiity Agreement dated.... entered
between the Borrower and Lender in respect of the loan Faciiity and executed

Et'fect as a Deed

This Debenture is intended to lake effect as a deed notwithstanding that any Party may
have executed it under hand only-.

REPRESENTAT!ONS AND WARRANTIES
The Borrower represents and warrants to the Lender that:

Ownership of the Chargeabte Assets: it is absolutely, solely and beneficially entitled to
ali the Chargeable Assets as from the date it or any part of it falls to be charged under
this Debenture and the rights of the Borrower in respect of the Chargeable Assets are
free from any encumbrance or security interest of any kind other than the Seourity being
created hereunder.

Power‘. lt has the power to execute deliver and perform its obligations under this
Debenture and all necessary corporate shareholder and other action has been taken by
it to authorise the execution, delivery and performance of this Debenture.

Consents Obtained; Every material consent permit, authorisation, license or approval
of, registration with or declaration to, governmental or public bodies or authorities or
courts required by it to authorise, or required by it in connection with, the execution,
delivery, vaiidity, enforceability or admissibility in evidence of this Debenture or the
performance by it ol its obligations under this Debenture has been obtained or made and
ls in full force and effect and there has been no default in the observance of any material
conditions or restrictions (it any} imposed on, or in connection with, any of the same and
none of them is subject to any legal challenge or revocation or similar proceeding

 

 

2.2.

 

Bind`ing Obllgations: This Debenture constitutes its valid and legally binding
obligationsl enforceable against the Borrower in accordance with its terms.

No Disposat: Other than as permitted by the Faciiity Agreement the Borrower has not
soto or agreed to sell or otherwise disposed of or agreed to dispose of the benth of ali
or any of the Borrower's right, title and interest in and to the Charged Assets.

The representations made by the Borrower on the date of this Debenture shall be
deemed to be repeated by the Borrower by reference to the facts and circumstances
then subsisting on the first day of each interest Payn'ienl Date throughout the Security
Perlod.

L.ipon the Lendei‘s declaring an Event of Defauit pursuant to clause 19 of the Term Loan
ii'tgreementa the Borrower will on written demand from the Lender pay and discharge ali
moneys and liabilities due and owing to the Lender by the Borrower under the Term
Loan Agreement and any Anci|iary Documents las defined in the Term Loan
Agreernent)

The Borrower as BENEFIC|AL OWNER hereby charges in favour of the Lender for the
consideration aforesaid all its assets with the payment and discharge of Ai_l_ moneys for
the time being owing under this Secun'ty linc|uding any expenses or charges arising out
of or iri connection with the acts authorised by this Debenture, Ai_i. its undertaking
goodwill and moveab|e properties for the time being both present and future wherever
situate including its uncalled capital stoc|<, raw materials1 works in progress, finished
works, materials stock equipment by whatever name and book debts hereinafter called
{"the assets"} and such charge shaii be a first fixed charge or debenture on the assets
and further charges to the Lender by way of Floating Debenture over ali its future n><ed
and floating assets

The Eiorrower shall not create any further debenture or charges upon and so that no lien
shall in any case or in any manner arise on or affect any part of the said assets without
the prior written consent of the Lender. PROV|DED that any funher debenturesl
mortgages or charges created by the Borrower with the consent of the Lender over the
said assets (otherwise than in favour of the Lenderj shall be expressed to be subject to
this Debenture\

Regarding any present or future uncalled capital and unissued shares of the BOTFOWSF.
the Borrower hereby covenants and agrees with the Lender that'.

{a} 'i'he said uncalled capital and unissued shares of the Borrower shall not during
the continuance of this security be issued or called up or received in advance of
calls without the consent in writing ofthe bender first sought and obtained.

(b) The amount to be paid in respect of the said uncalled Cap|tal shall be paid to the
Lender. which may at any time apply a competent part thereof in or towards
satisfaction of the moneys intended to be'secured.

(c) At all times during the continuance of this Secority the Borrower will permit the
Lender or any persons authorized by the Lender to have access to and inspect
free of all charges the share register and transfer books of the Borrower and all
transfers of the Borrowers shares

{ci) During the continuance of this Security the Elorrower shall immediately after the
presentation of any transfer of unpaid or partly paid shares in the capital of the
Eorrower give to the Lender notice in writing containing full particulars of such
proposed transfer and shall not register any transfer of any such shares in the said
capital until el least fourteen days after such notice as aforesaid shall have been
given to the Lender and shall not register such transfer at ali if within the said period
of fourteen days the Lender shall object to the proposed transferee~, and

 

 

 

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{e) lt the amount due and owing on this Debenture shall not-be paid as and when it -
becomes payable the Borrower will at the request of the Lender call up or procure to
be called up the uncalled capital hereby charged by such installment and payable at
such time (noi being contrary t'o the regulations of the Borrower} as the Lender shall
in writing direct

(f} The Borrower shall have no authority to sell or in any way transfer any of the present
fixed and floating assets charged by this Debenture.

T. All moneys and liabilities intended to be hereby secured or other balance thereof for the
time being remaining unpaid shall immediately become payable notwithstanding
anything to the contrary herein contained:

(a) if the Lender shall demand payment in writing from the Borrowe.r and leave
notice of such demand at the Borrower's registered post and seven days have
- elapsed after such notice Without payment;

(b) lt the Eorrower fails to pay the rent payable in respect of any leasehold premises
for the time being held by the Borrower or fails to Perform and observe the
covenants and conditions contained in or implied by the Grant(s} Assignrnent of
lease{s) under which any immoveable property is held;

(c) lf an order be made or an effective resolution be passed for thel winding-up ot the
Borrovver;
(d) lt a distress or execution be levied or enforced upon or against any of the

property of the Borrovver and be not paid Within seven days;

(e) if the Borrower shall stop payment or shall cease cr threaten to cease to carry on
its business; and

 

(f] lf the Borrower shall commit any breach ot the covenants and conditions herein
containedl or in the Faciiity Agreement and any other undertaking by the
Borrower or on its behalf to be performed and observed

B. At any time after the moneys and liabilities intended to be hereby secured shall have
become payable under the provisions of this Debenture, the Lender may appoint by
writing under the hands of its duly appointed Attorney or under the seal of the Lender
any person Whether an officer ot the Lender or not to be a Receiver and/or Manager of
the assets or any part thereof and may in like manner from time to time remove any
Receiver and/or lVlanager so appointed and appoint another in his staad. The Receiver
andfor i'vtanager so appointed shall in addition to and without prejudice to the powers
conferred upon him by law have power:

(a) To take immediate possession ot the property hereby secured or any part thereof
and for that purpose to take or defend proceedings in the name of the Borrovver
or otherwise

(b] To sell (by public auction or private treaty} lease or let or concur in selling leasing
or letting ali or any ot the property hereby secured and to carry any such sale
leasing or letting into effect in the name and on behalf ot the Borrower or
otherwise

(c) To demand and recover all the income and of the property hereby secured by
action distress or otherwise to the full extent of the estate or interest which the
Borrower could dispose of and to give effectual receipts accordingly for the same
to exercise any powers which may have been delegated to it by the Lender
pursuant to these presents

 

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(d) To make and effect ali repairs and lnsurances and do all other acts which the
Borrower might do in the ordinary conduct of its business as weil for the
improvement and for the protection of the property hereby secured

(ei To make any arrangements or compromises which the Receiver andfor Nlanager
sha|i think expedient in the interest of the Lender,

(f) To appoint managersl officers, agents. accountants edvisers, stewardsl
workmen and others for the aforesaid purposes or any of them upon such terms
es to remuneration or othenlirise as he may think proper.

(g) To give valid receipts for all moneys and execute all conveyances assignments
deeds, assurances and things which may be proper or desirable for realizing
such property and to do all such other acts and things as may be considered to
be conducive to any of the matters or the powers aforesaid and which the
Receiver andfor Manager iawfui|y can do as agent for the Borrower.

(h) To use the name of the Borrower for ali or any of the purposes aforesaid end in
any legal proceedings

(i) To execute and deliver any deed or deeds or instrument and to convey, assign or
otherwise assure the property over which he is appointed

iii Fteceive property or any part thereof or any interest therein in the name or on
behalf ofthe Borrower and by deed in the name and on behalf of the Borrower to
grant assign or demise the legal estate in any such property to the purchaser or
lessee thereof

(k) To do ali such other acts and things as may be considered by the Lender to be
incidental or conducive to any of the matters or powers aforesaid and which he or
they lawfuily may or can do as agent or agents of the Borrower.

A Receiver andlor Nlanager so appointed shaii be the agent of the B`orrower and the
Borrower shall alone be liable for his acts and defaults and remuneration and he shall
have authority and be entitled to exercise the powers hereinafter set forth and to do all
such acts and things which a Receiver and/or Nianager lawfully may or can do which
may be necessary for or considered to be incidental or conducive to the carrying on of
the business of the Borrower including the raising of money with the consent of the
Lender on security of the said assets or without security and generally to tel-ce
possession of, cotiect and get in all or any part of the assets and for that purpose to take
proceedings in the name of the Borrower or otherwise as may seem expedient to sell
any or any part of the assets and to make any compromise

All moneys received by any such Receiver and!or Nianager shail after providing for all
costs and expenses incurred in carrying on the business of the Borrower or the sale or
disposal of the whole or any part of the said assets be appiied:

FlRSTt.Y if the Fteceiver andror Nianager so desires but not otherwise in
payment of rents ratesl taxes and outgoings affecting any immovable property of
the Borrower and of premium on tire and other insurances thereon and on the
said assets and the cost of executing necessary and proper repairs and
replacementsl

SECGNDLY in payment of all costs, charges and expenses of and incidental to
the appointment of the Receiver and/or ivianager and the exercise by him or all or
any of the powers aforesaid including the reasonable remuneration of the
Receiver andfor Nlenager.

 

 

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11.

12.

Tt»ilRDt_Y in or towards payment of all unpaid interest and all charges due under
this Debentures

FOURTHLY in or towards payment of all principal moneys due in respect of this
Debenture_

FiFTi-ll_Y any surplus shall be paid to the Borrower.

in the event of default or breach of this Debenture, no purchaser or other person or
Borrower dealing with the Lender or any Receiver andror Nlanager appointed by it or with
their attorneys or agents shall be concerned to enquire whether the powers exercised or
purported to be exercised have become exercisable or whether any money remains due
on the Security of this debenture or as to the necessity or expediency of the stipulations
and conditions subject to which any sale shall have been made or otherwise as to the
property or regularity of such sale calling in collection nor conversion or to the application
ot any money paid to the Lender or such Fteceiver and/or Nlanager and in absence of
trials-fides on the part of such purchaser, mortgagor, mortgagee or other person or
Borrower such dealing shall be deemed so far as regards the safety and protection of
such purchaser person or Borrower to be within the powers hereby conferred and to be

_valid and effectual accordingly

The Borrower hereby covenants with the Lender:

(a) To keep proper accounts relating to the said business and to allow the Lender or
its authorized representatives to inspect the same at all reasonable times and
from time to time to furnish such information with respect to the assets and all
other assets and liabilities of the Borrower as the l.ender may requirel

(b) When necessary to repairl renew or replace all movabie plant machinery engines
tools implements utensils and other effects of a like nature now used or hereafter
to be used for the purpose of or in connection with the business of the Borrower
when and as the same shall be in disrepair worn out or destroyed

(o] To permit the Lender and such person as the Lender shail`from time to time in
writing for the purpose appoint to enter into and upon the premises of the
Borrower to view the state and condition of the said assets

(d} To insure and l<eep in the name of the Borrower with an insurance office
approved by the Lender such or the said assets (or towards the discharge of the
principal and other moneys hereby secured as the Lender may require AND if
default shall be made in keeping the said assets in good state of repair and in
perfect working order and condition and so insured as aforesaid or |n depositing
any such poiicy or delivering any such receipt aforesaid the Lender may repair
the said assets or such of them as shai| in their opinion require reparation and
may insure and keep insured the said assets cr any part thereof as they may
deem fit AND the Borrower will on demand repay to the Lender every sum of
money expended by the Lender for the above purpose or any of them with
interest at the rate of the Faciiity from the time of same respectively having been
expended and until such repayment the same shall be a first charge upon the
said assets and to have every policy of insurance relating to the said assets
endorsed with a memorandum of the interests of the Lender as debenture holder
and with a provision that ali moneys payable under any such policy shall be paid
to the Lender, to be applied to the benefit of the Lender in the manner
hereinbefore appearing; and Not to assign mortgage sublet or part With the
possession of the property belonging to the Borrower now or in the future without
the prior consent in writing of the Lender first had and obtained.

 

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15.5.

 

 

The Borrower hereby further covenants to indemnify the Lender in the full
Faciiity/amount thereof against all costs. charges and expenses (lncluding the costs of
maintaining or enforcing or endeavouring to enforce this Secun'ty) incurred hereunder by
the Lender and all other moneys property paid by the Lender in respect of the said
costsl charges and expenses or otherwise and the same together with interest thereon
as aforesaid shall be added to the moneys hereby secured PROVEDED that the charge
hereby created shall be in addition and without prejudice to any and every other remedy
lien or security which the Lender may or but for said charge would have for the moneys
hereby secured or any part thereof_

The Lender shall not by reason of its entering into possession of any of the said assets
be liable to account as mortgagee in possession or for anything except actual receipts or
be liable for any loss upon realization or for any default or omission for which a
mortgagee in possession might be liable.

EFFECTIVEN ESS OF SECUR|TY

Continuing Security

_ The Security created by or pursuant to this Debenture shall remain in full force and effect

as a continuing security tor the Secured Obligatioris unless and until discharged by the
Lender in the manner provided for in Clause 164 of this Debenture (Redemption of
Securi'£y).

Cumulatlve Rights

The Security and Collateral Rights created by or pursuant to this Debenture shall be
cumulative, in addition to and independent of every other security, which the Lender may
at any time hold for the Sscured Obligations including any other rights. powers and
remedies provided by iaw. No prior security held by the Lender over the whole or any
part ot the Charged Assets shall merge into the Becurity constituted by this Debenture.

No Prejudiee

The Security and the Collaterat Rights created by or pursuant to this Debenture shall not
be prejudiced by any unenforceability or invalidity ot any other agreement or document
or by any time or indulgence granted to the Borrower or any other person, or the Lender
or by any variation of the terms of the trust upon which the Lender holds the security or
by any other thing which might otherwise prejudice that security or any Collateral nght_

Remedies and Waivers

No failure on the part ot the Lenderto exercise or any delay on its partin exercising, any
Co!iateral Right shall operate as a waiver of that Co|lateral Right, nor shall any single or
partial exercise of any Collateral Right preclude any further or other exercise ot that or
any other Co|lateral Right.

No L.iabiiity

ll\torie of the Lender or its nominee(s) or any Receiver shall be liable by reason of:

15_5.1 taking any action permitted by this De'oenture; or

15.5.2 any neglect or default in connection with the Charged Assets or',

15.5.3 taking possession of or realizing all or any part of the Charged Assets

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the Borrower agrees that it shall not assert or seek to assert against the Lender, its
- nominee{s) or any Receiver any claim it may have against them in respect of any act or

j omission of the Lender, its nominee(s) or any Receiver under this Debenture
15.6. Partia| invalidity
1 lf, at any time, any provision of this Debenture is or becomes illegal_ invalid or

unenforceable in any respect under the law of any_jurisdiction1 neither the |egality,
validity or enforceability of the remaining provisions of this Debenture nor of such
provision under the laws of any other jurisdiction shall in any way be affected or impaired
thereby and, if any part of the security intended to be created by or pursuant to this
Debenture is invalid, unenforceable or ineffective for any reason, that shall not affect or
impair any other part ot the Security.

15.7. imm ediate Recourse

The 'Borrower waives any right it may have of first requiring the Lender to proceed
against or enforce any other rights or security or claim payment from any person before
claiming from the Borrower under this Debenture or enforcing the Securily_

15.8. ' Waiver of defenses
The obligations ot', and the Security created by, the Borrower under this Dabenture will
not be affected by any act, omission. matter or thing which, out for this Clause would
‘ reduce, release or prejudice its Secured Obligatlons under_ orlhe Security created by or
pursuant to this Debenture and whether or not l<nown to the Borrower including but not
limited to the following:

i 15.8.1. any time, waiver or consent granted to` or composition with, any person;

15.8.2. the release of any other third parties or any other person under the terms of any
composition cr arrangement with any creditor;

l 15.8.3 any incapacity or lack ct powers, authority or legal personality of or dissolution or change
in the members or status of. any Obligor or any other person;

15.8.4. any amendment, novation, supplement extension (whether of maturity or otherwise} or
restatement tin each case however fundamental and of whatsoever nature and whether
or not more oneroqu or replacement of a Finance Document or any other document or
security or ct the Secured Obligations;

15.8.5. any urienforceal;)ilityl illegality or invalidity of any obligation of any person under any
‘ Finance Document or any other document or Securiiy or of the $ecured Obligations; or

15.8.6. any insolvency or similar proceedingsl
"iB. REL.EASE OF SECURlTY
16.1, Redemption of Security
_ l At the termination of the Security Periocl, the Lender shali, at the request and cost of the

.' Elorrovver, release and cancel the Security and procure the reassignment to the Borrower
] ' of the property and assets assigned to the Lender pursuant to this Debenture.

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ii ' _ ,

s 16.2. Retention of Security i

The Lender may retain this Debenture, the Security and all documents of tltie,
certihcates and other documents relating to or evidencing ownership of all or any part of
the Charged Assets until the Secured Obligations have been discharged in full and a
deed of release filed with the Corporate Affairs Commission and other relevant
government authority in respect of any Security constituted by virtue of this Debenture,
which the Lender undertakes to file at the termination of the Security Period.

17. iNDENiNiTY
The Eorrower shall from time to iime, on the demand of the Lender'.

17.'|. reimburse the Lender, its nominee(s) and any Receivsr on a full indemnity basis for ali
costs, expensesl losses and liabilities (inciuding iegat fees and the fees, costs and
expenses ot any advisers or consultents) incurred by the Lender in connection with the
enforcement of, or the preservation of any rights under this Debenture;

17.2. pay or reimburse the Lender_ its nominee(s) and any Receiver for any Arnounts or

Ciaims paid or incurred by ii in acting as Lender under or in connection with this

Debenture or the Charged Asseis including iii any AgentjDeiegate i_iabiiities; and (ii)

' Amounts or C|aims incurred in the course of disputing or defending any Amcunts cr

C|airns made against the Lender or any Agentheiegate Liabiiities. save to the extent

that such Amounts or Claims arise from or are caused by the Lender's4 Agenii'De|egate's

“ fraudk gross negligence or wilful misconduct "Amounts or Ciaims" are lossesl ||abl|lties,

costs, claims, actions, demands or expenses and “AgentlDelegaie Lia|oi|ities" are

Ampunts or Ciaims which the Lender is or would be obliged to pay or reimburse to any of
its agents or delegates appointed pursuant to this Debenture; and

17.3. indemnify the Lender, its agents, managersl ofticers, employeesl delegates advisers
and any Receiver for any expense claim, liability, loss, cost, damage or expense
incurred or arising in connection with the exercise or purported exercise of any righis,
powers and discretiorts under this Debenture in the absence of fraud, gross negligence
willful misconduct on their part.

 

18. ASStGNMENT

" 18.1. The Lender may assign and transfer all or any of its rights and obligations under this
Det)enture in accordance with the Faciiity Agreernsnt and for this purpose, the Lender
shall subject to the Faciiity Agreement be entitled to disclose such information

l concerning the Borrower and this Debenture as the Lender considers appropriate to any
actual or proposed successor or to any person to whom information may be required to
be disclosed by any applicable law subject to the agreement of the third-party to be
bound by the existing non-disclosure agreement between Eorrower and Lender
concerning non-public informationl

18.2, The Borrower shall not assign or delegate any of its rights or obligations under this
Debenture without the prior written consent of the Lender.

'iBt NOT|CES
t§i.‘i_ Communications in writing

Any communication to be made under or in connection with the Debenture shall be
made in writing and, unless otherwise stated, may be made by fax or |etter.

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19.2. Addresses

19.2.1. The address and tax number (and the department or officer, if eny, for whose attention
the communication is to be made) for any communication or document to be made or
delivered under or in connect|orl herewith is;

19.2.1.1. The contact details cf the Borrower for this purpose are;

Address: Camac i-louse, Piot 1649. Oiosa Street, Victoria |sland, Lagos
Fex: +234‘|

Email:

Attention:

19.2.1.2. The contact details of the Lender for this purpose are'.

Address'. Zenith Banl< P|c, Plot 84 Aiose Adeogun Street, Victon'a island, Lagos
Fa>c number: +234‘|

Emaii:

Altention.' Company Secretary, N|r. Nlicheal Osilama Otu

_ Phcne No: +234'12781971
19.3_ De|ivery

'19,3.1.Any communication or document made or delivered by one person to another under or
in connection with this Debenture shall only be effective: ‘

19.3.1.1. if by way of fax, , at the time of transmissionl if received before 1700 hours in the l
place of delivery on a Business Day, and otherwise on the next Business Day; or
if by way of letter,5 (tlve) business days after being mailed by either registered or
certified mail, return receipt requested with postage prepaid

19,3.2.Any communication or document to be made or delivered to the Lender shall be effective
only when actuatty received by the Lender and then only if it is expressly marked for the
attention of the officer identified in Clause 19.2.1.2

 

‘l§li¢t. Notitication of address and tax number

Each party shall promptty notify the other party of any change to its address and fa)<
number pursuant to Ciause 192 (Addresses).

1 9.5. Etectronfc communication

19.541.Any communication to be made between the Borrower and the Lender under or in
connection with this Debenture maybe made by etectronic mail or other electronic
meansl if the Borrower and the Lender:

19.5.'1.'|. agree that, unless and until notified to the contrary, this ls to be an accepted form of
communication;

19.5.‘|.2. notify each other in writing of their electronic mail address andior any other
information required to enable the sending and receipt of information by that means;

19.5.1.3. notify each other of any change to their address or any other such information
supplied by them.

19.5.2.Any electronic communication made between the Borrower and the Lender shall be
effective onty when actually received in readable form and in the case of any etectronic
Comrnunication made by the Lender to the Borrower only if it is addressed in such a
manner as the Agent or the Lender shall specify for this purpose

 

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19.6. Engfish language l

my l
Any notice given under or in connection with this Debenture must be in English.
20. F'AYMENT FREE OF DEDUCTION l
1 All payments to be made to the Lender, including its fees and costs under this Debenture shall

be made free and clear of and without deduction for any tax unless the Borrower ls required to
make such payment subject to the deduction or withholding of tax, in which case the sum
payable i:iy the Borrower, in respect of which such deduction or withholding ls required to be
made. shall be increased to the extent necessary to ensure that after the making of such
deduction or wilhholding. the person on account of whose liability to tax such deduction or
withholding has been made receives and retains {free from any liability in respect of such
deduction or withholdian a net sum equal to the sum which it would have received and retained
had such deduction or withholding not been made

21. DISCRETlON AND DELEGAT|ON
21.1 Discretion

Any liberty or power which may be exercised or any determination which may be made under
this Debenture by the Lender or any Receiver mayr sublect to the terms and conditions of the
Faciiity Agreement and this Debenture, be exercised or made in its absolute and unfettered
discretion without any obligation to give reasons.

21.2 Delegation

’: Each of the Lender and Receiver shall have full power to delegate either generally or

l specifically1 the powers, authorities and discretions conferred on it by this Debenture on such

l terms and conditions as it shall see fitwhich delegation shall not preclude either the subsequent
exercisel any subsequent delegation or any revocation of such power, authority or discretion by
the Lender or the Recelver itself

 

22. GOVERN|NG LAW

This Debenture and ali obligations arising out of or in connection with it shall be governed by
and construed in accordance with the laws of the Federai Republic of Nigeria

23. FURTHER ASSURANCE

23.1. The Elorrower shall promptly, at its own cost, do any act. make any filing or registration
or sign, seal, execute and deliver such mortgages charges transfers assignments
securitiesl notices deeds instruments or other documents as in each case the Lender
shall from time to time stipulate and in such form as the Lender may require to:

23.t.t.perfect and protect the Securlty intended to be conferred ori the Lender by this i
Debenture or the first priority ranking thereof or which are required for the exercise of the l
Co|lateral Rights;

23.1.2. maintain the Security lnterests intended to be hereby created or the first priority ranking
thereof;

23.1.3-create. perfect or protect any security interest which it may, or may be required to, create
in connection with this Debenture; z

23.‘1.4. stamp (anci up»starnp at the discretion of the Lender) this Debenture as and when
demanded by the Lender', and `;;

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v __,v ____

23.1.5.to facilitate the enforcement ofthe Security, the exercise of the Co|laterai Rights and the
realization of the Charged Assets_

24. DiSF'UTE RESGLUTION

 

24.1. initial Mediation of Dispute

ln the event of a dispute between the Parties to this Al| Assets Det)enture, the
following procedure shall be followed to resolve the dispute prior to either party
pursuing other remedies:

i. A meeting shall be held within 7 (seven) days at which all parties are
present or represented by individuals with full decision making authority
regarding the matters iri dispute (lnitial |'v‘leeting).

ll. if within 14 (tourteen) days following the initial Meeting, the parties have
not resolved the dispute, the dispute shall be referred to tvlediation
directed by a mediator mutually agreeable to the Parties. Each Par‘ty
shall bear its proportionate share of the costs of the mediator's fees.

The Panies' agree to negotiate in good faith in the initial Meetirig and in
the Nlediation.

iii. if after a period of 30 (thirty) days following the commencement of
Mediation the Parties are unable to resolve the dispute either Farty may
submit the dispute to binding arbitration in accordance with clause 242
hereof upon 10 tten) days prior written notice to the other Party.

24.2. Binding Arbitration y

i. Either party may submit any dispute arising out of this Ali Assets
Debenture that is not resolved following the processes in clauses 24.1 {i),
(ii) and (iii) above to final and binding Arbitration.

 

ii. The referral of the dispute to Arbitration precludes any other cause of
action by the other Party except upon the mutual agreement and consent
of both Parties.

iii. The Arbitration contemplated hereby shall be by 3 tthree) Arbitrators one
of whom shall be appointed by the L.ender and the Borrower respectively
while the third Arbitrator shall be nominated by the two t2) Arbitrators
aforesaid and the venue for the proceedings shall be L.egos.

Where there is disagreement on the appointment of the third Arbitrator.
then the third Arbitrator shall be appointed by the Chief .judge of lagos
State.

iv. Each Party shall be responsible for the cost ofthe Arbitrator appointed by
itl white the cost of the third Arbitrator and ali other costs and expenses of
the arbitration proceedings shall be borne equally by the Lender and the
Borrower respectively

24.2.‘1‘T`ne Arbrtratlon shall be conducted in accordance with the Arbitration and Conci|iation
Act Cap AiB Laws oftl~ie Federation of Nigeria 2004.

S_C_sees_i.s

ALL THE FIXED AND FL.OATENG ASSE'T'S OF THE COMPAN‘{, iNCLUDiN(.-`¢ |TS PRESENT
AND FUTURE ACQU|RED ASSETS WHEREVER SITUATE iNCLUD|NG lTS UNCALLED
CAP[TAL., STOCKS BUT PART|CULARLY THE ASSETS LOCATED AT CAN|AC HOUSE,
PLOT 1649, OLOSA STREET. VlCTORtA iSt_AND, LAGOB STATE.

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iN WITNESS WHEREGF the parties hereto have caused their common seals io be affixed
hereto the day and year first above written.

The Common See| of the wiihin-riamed
OAMAC PETROLEUM L|MiTED
was affixed ln presence of:

 

D l R E C T 0 R D|RECTOR i' SECRETARY

The Commori Sea| of the within*named
i ZENITH BANK PLC was affixed
in presence of:

FHE WiTHFN lNSTRUMENY lS lN THE
OPiN|OH OF THE COMM!SSIONER ~“)F

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mm 0\;$1§.‘§?§°.@@’%.¥
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james accom)cioi§i_@ ///5%
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Ai|ied Energy Plc
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(Fomerly A|lied Energy Resources (Nigeria) Limited)
las Chargnr)

and

 

1 Zenith Barik Plc w
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s-= ~
(as Chargee) -'_ -- '
and 'U 4- _n_\ _ 1
cr " \‘*"\
¢ . . ¢\> .
Camac Petro|eum Limited c:> ry _-
i
(as Company)
DEED DF LEGAL CHARGE OVER |NTEREST IN OML 120 AND 121 b

 

 

 

 

 

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(1) C

/`%;)f Ni*
':_I'd j Company"erthe“Berrower”);and

    

{3) Zenith Bank Plc, a banking Company `

    
 
   
  
  

fws/ederal Republic of Nigeria having its
ictoria lslancl. Lages State (the "Charg

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§`§¢hargor is the awradee of Oil Nlining Lease l\lo4 120 and 121 tateo known as OML 120
2 or the "Charged interest") by virtue of an Aoreage Al|ocation (Discret`renary Award)

    
 
  
  
   
  

` .n%`virtue et the letter dated August 28d 2002 the Ministry of Petroleum Resources r':'en

. _,r.`_ .¢

§l`@pprova| of the F'resident, Commander in Chief of the Federai Repub|ic 0{.‘.._~1¢_

     
   
 

r'npany (a related company to the Char or has a prOBCtt€d lh€ Cha@@e m
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»l UOML 120 and 121 and the chargee has by irs offer letter dated Juiy 21, 2014 `
` e facility to the Company, which offer was duly accepted by the Company, foll -

e hargee

 
  

part security for the repayment of the facility granted to the Company by th

 

 

 

 

 

 

 

 

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1. Definitions

Words and expressions defined in the Term Loan Faciiity Agreement between Zenith Bani<
Pic (Lender) and Camac Petroieum Limited (Borrower) dated ................................. shaftl
unless the context otherwise requiresl have the same meaning when used in this Deed of

Legal Charge.

2. CHARGE

2.1, The Chargor hereby irrevocably charges and agrees to charge in favour of the Chargee its
entire interest in OML 120 and 121 for as long as any liabiiities under the facility remain
outstanding

2.2. The Chargor shall not create any charge over its interest in OMl_ 120 and 121 or any part
thereof so that no lien shall in any case or in any manner arise on or affect the Charged
interest without the prior written consent of the Chargee PROV|DED that any further
charge created by the Chargor with the consent of the Chargee over the Charged interest
(otherwise than in favour of the Chargee) shali be expressed to be subject to this Charge.

2.3. For the purposes ot this Clause, the Chargor covenants and undertakes that an Account
fin line with the Term Loan Faciiity Agrernent) shall be maintained with the Chargee and
that all other payments that shall be due afid payable to it from the sale of crude
proceeds from the Chargor’s |nteresl in ONlL 120 and 121 shaft be domiciled to the

 

Chargee.

3. DOM|C|LAT|ON

The Chargor hereby covenants to irrevocably domicile proceeds of sale of crude oil produced
from OML 120 and OML 121 into its Account No. 5050005786 andfor the Borrower's Account
No.SO$OOOQSSB with the Chargee and has instructed accordingiy. ,

4. Neer`\nve PLEDGE

4.1_ At all times during the continuance ot this security the Chargor shall permit, upon
request, the Chargee or any persons authorised by the Chargee, with three days prior
notice to have access to and inspect tree of att charges ali documents licenses
certificates and permits required by regulation to be maintained by the Chargor in
respect of the Charge-d interestl

4_2. The Chargor shall have no authority to se|i or in any way transfer or create any other
interest or security, in the whole or any part of its interest in ON|L 120 end 121
charged by this presents except with the consent of the Chargee.

 

 

 

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5. CRYSTALLiZATiON OF CHARGE
The Charge constituted under this Deed of L.egal Charge shall become enforceab|e.'

5.1. |f any amounts due under the Faciiity Agreement remain unpaid within 5 days of the
expiring of any applicable grace periods by the Cornpany.

5.2. lf the Chargor shall fail to pay any levy. duty, impost, tax or any form of payment
whatsoever due to any government authority (or any other entity) in respect of the
Charged interest or fails to perform and observe the covenants and conditions
contained in or implied by OML 120 and 1211

5.3. if an order be made or an effective resolution be passed for the winding-up of the

Company;

5.4. if a distress or execution be levied or enforced upon or against the Charged interest
and has not been paid within thirty (30] days;

5.5. if the Company orthe Chargor shall stop payment or shall cease or threaten to cease
to carry on its business; and

5.6. if the Company cr the Chargor shaii commit any breach of the covenants and
conditions herein contained and on its behalf to be performed and observed except
where the breach is rectified within a period of 14 (fourteen) days of formal

notification of the breach on the defaulting party.

 

6. POWER OF RECE|VER

6.1_ At any timeafter Charge constituted under this Deed of Legai Charge shali have
become enforceable under the provisions of Clause 5 hereof the Chargee may
appoint by writing under the hands of its duly appointed Attorney or under the seat of
the Chargee any person whether en officer of the Chargee or not, to be a Receiver

t and/or Nlanager of the Chargcr and may in iil<e manner from time to time remove any
Receiver and/or Manager so appointed and appoint another in his stead. The
Receiver and/or Nianager so appointed shall in addition to and without prejudice to
the powers conferred upon him by tew have power:

6.1.1, To take immediate possession of the interest hereby charged (Charged |nterest) and
for that purpose to take or defend proceedings in the name of the Chargor or

otherwisel

6.1.2. To sell (by public auction or private treaty} lease or iet or concur in setting or leasing
the Charged interest hereby charged and to carry any such sale or ieasing into effect

in the name end on behalf of the Chargor or otherwise

 

 

 

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6.1.3. 'i'o demand and recover all the income of the Charged interest hereby charged by
action, distress or otherwise to the full extent of the Charged interest which the
Chargor could dispose of and to give effectuai receipts accordingly for the same to
exercise any powers which may have been delegated to it by the Chargee pursuant
to these presents

6.1.4_ 'fo make any arrangements or compromises with respect to the Charged interest
which the Receiver and.'or Manager shall think expedient in the interest of the
Chargor.

6.1.5. To appoint managers ofncers, agents, accountantsl advisers siewards, workmen
and others for the aforesaid purposes or any of them upon such terms as to
remuneration or otherwise as he may think proper.

6.1.6. To give valid receipts for all moneys and execute all conveyances assignments
deads, assurances and things which may be proper qr desirable for reatising the
Charger.:i interest and to do all such other reasonable acts and things as may be
considered to be conducive to any of the matters or the powers aforesaid and which
the Receiver and/or Manager lawfully can do as agent for the Chargor.

B.‘l`?. To use the name of the Chargor for ali or any of the purposes aforesaid and in any
legal proceedings

6.1.8. To execute and deliver any deed or deeds or instrument and to convey or assign the
Charged interest over which he is appointed Receiver cr any interest therein in the
name or on behalf of the Chargor and by deed in the name and on behalf of the
Chargor to grant, assign or vest the legal title in the Charged interest to the purchaser

or lessee thereof

6.1.9. To do ali such other acts and things as may be considered by the Chargee to be
incidental or conducive to any of the matters or powers aforesaid and Which he or

' they lawfully may or can do as agent or agents of the Chargor.

6.2. A Receiver andior Nlanager so appointed shall be the agent of the Chargor and the
Chargor shall alone be liable for his acts and defaults and remuneration and he shall
have authority and be entitled to exercise the powers hereinafter set forth and to do all
such acts and things which a Receiver andtor Manager lawfully may or can do which
may be necessary for or considered to be incidental or conducive to the carrying on of

the business of the Chargorr

 

 

 

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T. APPL£CAT|ON DF MONEYS

7,'l. Aii moneys received by any such Receiver and/or Nlanager shall after providing for all
costs and expenses incurred in carrying on the business cf the company or the sale
or disposai of the Charged interest shall be applied:

F|RSTLV in payment of all cost, charges and expenses of and incidental to the
appointment of the Receiver and!or Manager and the exercise by him of all or any of

the powers aforesaid including the reasonable remuneration of the Receiver and/or
Manager.

SECONDLY in or towards payment of atl unpaid interest and all charges due under
the facility

TH|RDL‘/ in or towards payment of all principal moneys due in respect of this Deed of
Legal Charge.

FOURTHLV any surptus shall be paid to the Chargor.

8. COVENANTS

5.1_ The Chargor hereby covenants with the Chargee:

8.1.1.- lt shall deliver to the Chargee the following (on the date hereot) in form and
substance acceptable to the Chargee as security in accordance with the terms of this
Charge:

a) the original O|'vli_ deed document for OML 120 and 121
8.1.2. it shall not, except with the prior written consent of the Chargee:

i. create or permit to_ exist over all or part of its interest therein any
Security interest (other than created or expressly permitted to be
created under this Charge) whether ranking prior to, pari passu with or
behind the security contained in this Charge;or

ii. permit any person other than the Chargor or the Chargee or the
Chargee’s nominee or nominees to be registered as cwners;

8.143. it shall promptly forward to the Chargee__ atl material documents relating to the
Charged interest which it may receive from time to time;

8.1.4. until the Company has performed atl of its obligations under the Faciiity Agreement
and the loan have been paid in fu|tL it shelf not claim payment whether directly or by
set-oft. |ien, counterclaim or otherwise of any amount which may be or has become
due to the Chargor by the Company other than ss contemplated andfor expressly
permitted by the Faciiity Agreement or this Charge

 

 

 

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B.t§. To keep proper documentation relating to the Charged lnterest and to allow the
Chargea or its authorised representatives to inspect the same at ali reasonabie times
and from time to time to furnish such information in respect of the Charged interest
which are interests accruing from the ONIL 120 and 121.

8‘1_6. Not to assign or charge the Charged interest now or in the future without the prior
consent in writing of the Chargor first had and obtained

9. The Chargor hereby further covenants to indemnify the Chargee in the fui| amount
thereof against all costs, charges and expenses (lncluding the costs of maintaining or
enforcing or endeavouring to enforce this security) properly incurred hereunder by the
Chargee and ai| other moneys properly incurred by the Chargee in respect of the said
costsl charges and expenses or othenivise and the same together with interest
thereon as aforesaid shall be for the account of the Chargor, PROViDED that the
Charge hereby created shall be in addition and without prejudice to any and every
other remedy. lien or security which the Chargee but for the said charge would have

for the iiabitities hereby secured or any part thereof.

10. The Chargee shai| not, by reason of its enforcing this security be liable to account as
Chargee in possession in connection with the Charged interest or be liable for any
loss upon realisation or for any default or omission for which a Chargee in possession

might be liable_

11. APPLICABLE LAW

This Agreement shalt be construed and governed in ali respects in accordance with
the Laws of the Federai Repub|ic of Nigeria.

12. NOTiCE TO THE MiNlSTER OF PETROLEUM.

12.1.The Chargor snail do all such acts or things and sign, execute and produce ali such
documents as may now or in the future be required to obtain the consent of the
|Vlinister of Petroleum tend any other relevant authority) respectively to the Charge

1_2.2. The Chargor shall furnish the Chargee with evidence of the application for consentl
such as a letter duly acknowtedged by the office the |Vlinistry of Petroleum

respectivety.
13` Representations and Warranties by the Chargor
The Chargor represents and warrants to the Chargee and undertakes that:
13_1_ the oil mining iease was granted to the Chargor by the President ct the Federa|
Repbulic of Nigeria through the office ot the tvlinister for Petroieum resources with

respect to Oii fields OYO 7, B, AND 9 for a period of twenty years commencing
from February 27, 2001;

 

 

 

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13.2.

13.3.

13.4.

13.5.

13.6.

13.6.

no litigation against the Chargor or the Company is current or, pending or
threatened

this Charge constitutes a iegal, valid binding and enforceable obligation and
is a first priority security interest over the Charged interest effective in

accordance with its terms,l

the execution, delivery. observance and performance by the Chargor of this
Charge will not result in any violation of any iaw_ statute, ordinance, ruie or

regulation applicable to it;

as a registrabie instrument the charge is expected to be registered at the
Corporate Affairs Commission (CAC) within 90 days of creation of same
pursuant to the provisions of Section 197 (2)(€|) of the Companies and Al|ied
Niatters Act Cap C. 20 LFN 2004;

it has obtained all the necessary authorisations and consents to enable it to
enter into this Charge and the necessary authorisations and consents will
remain in full force and effect at all times during the subsistence of the security

constituted by this Charge;

1_ the company irrevocably consents to the transfer of the Charged interest pursuant
to the enforcement by the Chargee of any of its rights under this Charge;

14. Power of Attomey

14.1.

The Chargor hereby irrevocably and by way of security for the payment cf the
S'ecured Obligations and the performance of its obligations under this Charge
appoints the Chargee as its true and iawfui attorney {with full power to appoint
substitute and to sub-deiegate) on behalf of the Chargor and in the Chargor's own
name or otherwise at any time and from time to time, to sign. seai, deliver and
complete ali documents and do ali acts and things which the Chargee may consider
to be necessary or advisable to perfect or improve its security over the Charged
interest The Chargor hereby ratifies and connrms anything that any such attorney
may lawfully execute or do in the interest of securing the facility under the Faciiity

Agreement.

15. Powers of the Chargee

15.1.

Enforcement

The Chargee's rights of enforcement in relation to this Charge shall become
immediately enforceable upon any reach by the Company of the terms of the Faciiity
Agreement or default of any term of this Deed by the Chargor or reasonably
suspesion of default) of any term of this agreement by the Chargor. The Chargee
may in its discretion enforce all or any part of this Charge in any manner it thinks fit
For the avoidance of doubt, the Chargee‘s rights of enforcement shall include

(withoui limitation) the right

 

 

 

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'iE.

15.1.1. to perfect or improve its title to and security over the Charged interest in such

manner as the Chargee may in its absolute discretion determine;

15.1.2_ without notice to, or further consent or concurrence by, the Chargor to assign the
Charged interest or any part thereof by such method, at such place and upon
such terms as the Chargee may in its absolute discretion determine. with power to
postpone any such assignment and in any such case the Chargee may exercise
any and all rights attaching to the Charged interest

15.1.3. to assume ownership cf the Oil mining tease (ON|L 120 and 121] over the oil Fields
OYO 7, 8 and 9 and receive the proceeds of the production of crude oil on the oil
fields,;

15.1.4. to exercise any and alt other rights, powers and discretions of the Chargor in
respect of the Charged interest in such manner as the Chargee may in its

absolute discretion determine;

15.1‘5. to procure that the Chargee is registered at the Ministry of petroleum resources as
the holder of the oil mining lease OML 120 and 121 for the duration of the lease;

15_1.6. otherwise to enforce any of the rights of the Chargee under or in connection with
this Charge in such manner as the Chargee may in its absolute discretion

determine; and

DISPUTE RESOL.UT|QN

16.1. tnitiat ltliediation of Dispute

|n the event of a dispute between the parties to this Deed of Legal Charge, the
following procedure shall be followed to resolve the dispute prior to either party
pursuing other remedies:

i. A meeting shali be held within 7 (seven) days at which all Parties are present
or represented by individuals with full decision making authority regarding the

matters in dispute {lnitial Meeling).

ii. lt within 14 {fcurteen) days following the |nitiai Meeting, the Parties have not
resoived the dispute. the dispute shall be referred to Nlediation directed by a
mediator mutually agreeable to the Perties. Eacl'\ Party shall bear its

proportionate share of the costs of the mediator's fees.

The Parties agree to negotiate in good faith in the lnitlal Meeting and in the

l\/lediation.

 

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iii.

16.2.

iii.

if after a period of 30 (thirty) days following the commencement of Mediation
the Parties arc unable to resoive the dispute either Party may submit the
dispute to binding arbitration in accordance with clause 162 hereof upon 10
(ten) days prior written notice to the other Party.

Etinding Arbitration

Either Party may submit any dispute arising put of this Deed of Legal Charge
that is not resolved following the processes in clauses 16.1 (i), (ii) and (iii)
above to final and binding Arbitration.

The referral of the dispute to Arbitration precludes any other cause of action
by the other Perty except upon the mutual agreement and consent of both
Parties.

The Arbitration contemplated hereby shaft be by 3 (three) Arbitrators one of
whom shaft be appointed by the Chargor and the Chargee respectively while
the third Arbiirator shall be nominated by the two {2) Arbitrators aforesaid and
the venue for the proceedings shail be Lagos.

Where there is disagreement on the appointment cf the third Arbitratcr, then
the third Arbitrator shall be appointed by the Chief Judge of Lagcs State.

Each Party shall be responsible for the cost of the Arbitrator appointed by it,
while the cost of the third Arbitrator and ai| other costs and expenses cf the
arbitration proceedings shell be borne equaily by the Chargor, the Chargee
and the Company respectivelyl

16.2.1. The Arloitration shaft be conducted in accordance with the Arbitrati`on and Conciliation
Act Cap A1Ei Laws of the Federetion ofNigeria 2004.

17. SEVERAB{L|TY

17.1. If due to a change in any applicable law or due to a decision or any other act by

~ any competent authority, one or more terms or provisions of this Deed of Legal
Charge can no ionger be enforced or an amendment of one or more of the
provisions of this Deed of Legal Charge is required the Parties agree that they shall
endeavour to find an alternative solution approaching as near as possible the
contractual situation existing prior to such a change, decision or act.

17.2. if one or more provisions of this Deed of Legal Charge are determined to be invalid
or not enforceable the remaining provisions shall not be affected thereby, and the
Deed of Legal Charge shall be administered as though the inveiid or not enforceable
provisions were not a part of the Deed cf Legal Charge

 

 

 

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..." . 13. wAivERs

No Party shall be deemed to have waived any right under this Deed of Legal Charge unless
that waiver is in writing, refers to this Deed ol Legal Charge and is executed by that Party.
Failure or forbearance to insist on the strict performance or observance by a Party of a
provision of this Deed of Legal Charge shall not be construed as a waiver by that Party of
any right under this Agreement. Waiver of a right by a Party under this Deed of Legal Charge
i shall not preclude that Party in the future from enforcing any other right whether similar or

dissimilar to the right that was waived or relinquished
19. NOTICES

19.1. Communications in writing

Any communication to be made under or in connection with this Deed of Legal Charge shall
l be made in writing and, unless otherwise stated, may be made by lax cr |etter.

19.2. Addresses
The address and tax number (and the department or otheer, if any, for whose attention the
communication is to be made) for any communication or document to be made or delivered

under or in connection herewith is:

t The contact details of the Chargor for this purpose are:
Address: Camac House, Plol'. 1649, Oiosa Street, Victoria island, Lagos
t Fax: +234‘1
Email:
Attention:

The contact details of the Chargee for this purpose are;

Address: Zenith Banl< Plc, Plot 84187, Ajose Adeoguri Street, Victoria lsiand, Lagos
Fax number'. +2341

Email:

Attention: Company Secretary, t\fir. Niichael Osilama Otu;

The contact details cf the Company for this purpose are:

Address: Camac |-louse, Plot 1649, Oiosa Street, Victoria lsiand, Lagos
Fax: +234t
Email:

Altention:

 

 

 

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la ' ' 19.3. De.livery

19.3.1.Any communication or document made or delivered by one person to another
under or in connection with this Deed of Legal Charge shall only be effective;

19.3.1.1. if by way of fax, , at the time of transmission if received before 1700 hours in
the place of delivery on a Business Dayl and otherwise on the next Business Day;
or

19.3.1.2. if by way of letter, 5 (five) business days after being mailed by either
registered or certified maii, return receipt requested with postage prepaid

and, if a particular department or officer is specified as part of its address details provided

under Clsuse 19 (Notices)\ if addressed to that department or officer.

19.3.2.Any communication or document to be made or delivered to the Chargee shall be effective
only when actually received by the Chargee and then only if it is expressly marked for the
attention of the department or officer identified with the Chargee's signature below (or any
substitute department or officer as the Chargee shall specify for this purpose].

19.4. Notif'ication of address and tax number

Each party shall promptly notify the other party of any change to its address and tex number
l pursuant to Clause 192 (Addressesi.

. 19.5. Electrnriic communication

'tQ_S.*i.Any communication to be made between the Chargor, the Chargee and the Company under
or in connection with this Deed of Legal Charge may be made by electronic mail or other
electronic means, if the Chargor, the Chargee, and the Company:

19.5.1.1. agree that, unless and until notified to the contrary, this is to be an accepted

form of communication;

19.5.1.2. notify each other in writing of their electronic mail address andior any other
information required to enable the sending and receipt of information by that

means;

19.5.1.3. notify each other of any change to their address or any other such information

supplied by them.

19.5.2.Any electronic communication made between the Chargor, the Chargee and the Company
' shall be effective only when actually received in readable form and in the case of any
electronic communication made by the Chargor or the Company to the Chargee only if it is

addressed in such a manner as the Chargee shall specify for this purpose

 

 

 

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20.

20.1.

20.2.

21.

21.1.

 

Ntiscetlaneous

The charge hereby created shall not be affected by any failure byrne Chargee to take
any other security

The Chargee may at all times, without discharging or in any way affecting the security
hereby created, determine or vary the Chargor‘s obligations; grant the Chargor any
time or indulgence; deal with. exchange reiease_ modify or abstain frorn perfecting or
enforcing any Shares or rights which it may now or hereafter have from or against the
Chargor.

Law and Jurisdictiori

This Charge is governed by, and shaft be construed in accordance with, the laws of
the Federai republic of Nigeria

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ln WITNESS WHEREOF this Deed of Legai Charge has been entered into the day and year first
above written

\

THE CON|MON SEAL of the within-named BurrowerfCompany
Camac Petroleum Limited

was hereunto affixed in the presence of

%:j& guam §.\B\L~a,i»§§>_ __

D|RECTOR D|REC|'OR/SECRETARY'

THE COMMON SEAL of the Within»named Chargor
Allied Energy Pic

was hereunto affixed in the presen_c__e of

DIRECI`OR DiRECTOR/SECRETARY
Nii‘\i-',

 

5 sEan ARV

DIRECTDR

‘-.

 

 

 

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DEED OF ASS[GNMENT DF R|GHTS

:
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BETWEEN

CAMAC PETROLEUM LlMITED
(ASS\GNOR}

AND

ALLlED ENERGY PLC
(AssieNoR}

AND

CAMAC ENERGY |NC.
(ASSIGNOR)

AND

ZEN|TH BANK PLC
(ASS\GNEE)

 

DEED OF ASS|GNMENT OF RlGHTS ACCRUING FROM ALL COMMERC|AL CONTRACTS
RELAT|NG TO ONiL 120 AND121 |NCLUD|NG SALE AND PURCHASE AGREEMENTS,
OFFTAKE AGRE EMENTS AND CRUDE HANDLENG AGREEMENTS ENTERED |NTO BY

CAMAC PETROLEUN\ Lll‘\liiTED1 ALLIED ENERGY PLC AND CAMAC ENERGY INC. _______,J____w____...

 

 

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BETWEEN
CAMAC PETROLEU - iTED a limited liability company i _-'\_.» . -' r the Laws of the
Federai Repttbiic cf Nigeria. having its offices at Camac Hous, i- 649, Oiosa street, Victoria

island Lagos (hereinaftsr referred to as the "First Assignor” which expression shail where the
context so admits include its successors in titie and assigns) of the first Partt

AND
Ai..l.iED ENERGY PLC a company incorporated under the Laws cf the Federai Repubiic eria,
having its offices at Plot 1649, Oiosa street, Victoria islandl Laigosg ~ s~the»\

and assigns) of the Second Part.
AND

CAMAC ENERGY iNC. a company incorporated under~the Laws ~ '- '= t pr?
Amorica, having its registered address at 1330 Post Oai< Bouievarc[,\mi; ston, ix i'ruoo, USA
(hereinafter referred to as the “Third Assignor" which expression shai re the context so admits
include its successors in title and assigns) of the Third Part_

iN FAVOUR OF.'

ZENi`i'H BANK PLC a banking company incorporated and licensed under the Laws of the Federai
Repubiic of Nigeria whose registered office is at Zenith heights, Piot 84` Ajose Adeogun Sreet, Victoria
isiandl Lagos (hereinafter called the "Assignee" which expression shall where the context so admits
include its successors iri title and assigns)

Camac Petro|eum Limited, Aiiied Energy Plc and Garnac Energy inc. (First, Second and Third
Assignors) shall collectively be referred to as the Assignors.

WHEREASI

i. The Assignors have signed several commercial contracts including sale and purchase
agreementsl ofRai<e agreements, crude handling agreements etc (coiiectiveiy hereinafter
called “commeroiai contracts") with respect to the Oii/it 120 and tZi_

ii. Pursuant to the Term Loan Faciiity Agre_emeni between Zenith Bank Plc and Camac
Petroieum Limited dated ( ), the Assignee has agreed to provide a term loan
facility to the First Assignor subject to the terms and conditions set out in the Term Loan
Faciiity Agreement,

iii. it i`s a condition precedent _to, the Term t,oan Faciiity Agreement that the Assignors enter
into this Deed of Assignment ot ali of their rights and interest iri commerciat contract
including sale and purchase agreements offtai<e agreerrir=in‘tsl crude handling agreements
etc with respect to OML 120 and 121 provided that this security shall also secure any
future facility that may be avaiied by the Assignee to the First Assignor or its Subsidiaries
which faciiities must be within the threshold of the value of this security.

i. ost=inn‘ions /
_ai /

Words and expressions defined in the Term Loan Faciiity Agreeme ts-'
otherwise requiresl have the same meaning when used in this Deed

  
  
   

2. Assicniiiienr i-'dc ‘

The Assignors tjointiy and severaiiy) hereby irrevocably assign absoiute:ti//io the Assignee aii or .-
its interests and rights to payment of any sum under the Commerciai` contracts including sale

and purchase agreementsl otftai<e egreemen_ts, crude handling agreements etc solely as
security and for the purposes of the repayment of the Term Loan Faciiity granted by the
Ass`ignee to the Firsi Assignor by virtue of the Term Loan Faciiity Agreament dated ( ),

2014. Provided aiways that once the cbiigaticns under the Term Loan Faciiity have been fully
repaid the assignment granted hereunder wiii abate and the Assignee’s right of payment of

any sum under the Commerciai Contract shaii immediately revert to the Assignors herein.

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. For the purposes of this Clause, the Assigriors covenant and undertake that an Account shall
t be maintained with the Assignee (in line with the Term Loan Faciiity Agreeinent between
` Zenith Bani< Pic and Camac Pettoicvm Limited dated ( ]} and that ali other
payments that shaii be due and payabie to it under the Commerciai Contracts shall be

domiciled with the Assignee.

The assignors having assigned their rights in the commercial contracts to the assignee shall
not assign those rights to a third party without obtaining the written consent of the assignee

3. DOMICI LATiON

The Assignors hereby covenants to irrevocably domicile ali proceeds ot receivables from aii
commercial contracts with respect to Oii/ii. 120 and 121 into its Accoi.int No.5050005786 and
Account No. 5050009368 with the Assignee and has instructed the parties to the commercial
j contracts to do so.

4. LAW

This Agreerneni shall be construed and governed in ali respects in accordance with the Laws
of the Federai Repubiic of Nigeria -

5. NON RESTRICT|ON AN DIOR LlMiTATiONS

_ The Assignors tjointly and severaiiy} hereby covenant that it does not have any restriction or
. limitation with respect to the assignment of its rights/interest in the commerciai contracts and that
where such restriction or limitation existl it has obtained the requisite consent or waiver of the
iimitation provision from the other party

The Assignors jointly and severally hereby indemnify the Assignee against any loss or injury or
damage it may suffer as a consequence of breach by any of the Assigriors of this provision or
any other provision ofthis Deed.

5. REPRESENTAT[ONS & WARRANTIES

i. The Assignors represent and Warrant that the Person executing this Agreement on its
behalf has been duly authorised to bind it. The Assignors further represent and warrant
that it has the corporate capacity to execute this Agreement and perform its obligations
hereunder, and is duty registered or incorporated validly existing and in good standing

ii. The Assignors represent and warrant that the execution delivery and performance of this
Agreement wiii not conflict with or violate or constitute a breach or detauit under any
agreement governing the orgariisation, managementl business or affairs of the F‘artyl
including its by~iaws, memorandum of association or articles of association or any
agreement or instrument to which it is a partyl orl to its best knowledge any Appiicabie
t_avv. administrative regulation or court order, judgment or decree applicable to it.

iii. The Assignors represent and warrant that it is not subject to an order by a court within the
appiicahie jurisdiction or subject to an effective resolution for the reorganisation under any
Bankruptcy iaw. dissolution tiquidation, or winding up or has become insolvent or _
' bankruptr made an assignment for the benefit of creditors or appointed a receiver for a i
substantial part of its assetsl

iv. Ali covenants Warranties, representations indemnities and other obligations of
whatsoever i<irid given, made or undertaken by the Assignors shaii continue in full force
and effect notwithstanding any change in the composition of the Assignors.

7. ARBITRAT|ON

The parties hereto agree that any dispute arising from this Deed shall be resoived in line with
the Dispute Resoiution and Arbitration provisions of the Term Loan Faciiity Agreement
between Zenith Bani< Plc and Carnac Fetroieum Limited dated ( )-

 

 

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8. SEVERAB|L}TY

i. if due to a change in any applicable law or due to a decision or any other act by any
competent authority, one or more terms or provisions of this Agreement can no longer be
enforced or an amendment of one or more of the provisions of this Agreement is required,
the F'arties agree that they shatl endeavour to find an alternative solution approaching as
near as possible the contractual situation existing prior to such a change, decision or act.

ii. lf one or more provisions of this Agreernent are determined to be invalid or not
enforceablel the remaining provisions shall not be affected thereby. and the Agreernent
shall be administered as though the invalid or riot enforceable provisions were not a part of
the Agreernent.

9. WANERS

No Party shall be deemed to have waived any right under this Agreement unless that waiver is
in writing, refers to this Agraernent and is executed by that Party. Failure or forbearance to
insist on the strict performance or observance by a Party of a provision of this Agreement shall
not be construed as a waiver by that Party of any right under this Agreement. Walver of a right
by a Party under this Agreernent shall not preclude that Party in the future from enforcing any
other right whether similar cr dissimilar to the right that was waived or relinquished

10. NOTICES
All notices and other communications required under this agreement to be in writing shall be
l addressed to the authorized representatives of the parties at the addresses set out above, or
to such other addresses which a party may from time to time notify the other party pursuant
1 hereto. Such notices and communications shall be deemed given upon:(a) actual receipt, (b)

5 (tive) business days after being mailed by either registered or certified mail. return receipt
,- requested with postage prepaid, {c) if by electronic maii, upon transmission (d) when sent by
j facsimile with receipt confirmed by telephone

 

 

 

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-- AUTHOR!ZED OFFICER

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tN WtTNESS WHEREOF the parties hereto have caused their respective Common Seeis to be
hereunto af€ixed the day and year Hr.st above written

The Common Sea| of the within named First Assignor
CAMAC PETROLEUM L|MITED
was hereunto affixed in the presence of:

    

'-:\'v~:~$,_j`-..:/_ );_`.',:_ /
DIRECTOR lRECTOR

The Cpmmon Seei of the within named Second Assigrior

e- ALLIED ENERGY PLC

was hereunto affixed in the presence of:

Oiii&§g<»%~@» vigil irs

D{RECTOR

   
   

lN \`\"~

_ -~. witt-HN ‘NS‘§‘E;;ER;§\SONE

The Common Sea| ofthe within named Thirc| As§}gpmNOF_ HE 5
CA|'H'IAC ENERG‘{ lNC. Smmy D\§
was hereunth affixed in the presence of:

SJ¢/ maj ::‘j

The Common Seei of the within named Ass\gnee
ZEN|TH BANK PLC

 

DJRECTQ_§ : §

 

 

 

 

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RC 180681

   

CORPORATE AFFAIRS COMMISSION
FEDERAL REPUBuC 011 NIGERIA

OZ 9 d S‘ tim` S!UI

Certificate of Re§ish‘atiou of

A DEED OF LEGAL CHARGE

COMPANIES AND ALLIED MATTERS ACT 1990
Pursuam 10 .s"ection 197 198 (2), 203 (])

ALLIED ENERGY PLC

gl. l'.£ hereby cardwell amf A DEED OF LEGAL CHARGE

rDated flee (}M:<£e¢mih. flag of t/Ilag, 2015

and cantrell by tim above warned emnpauy., incorporated in Oiigexia
swearing the amc of glzree Uilliou, O(i)ui gécuulred and (?or£r_¢
dwi/lion U(a¢'xa (913,940,000,000) in furman of £Ze¢dlk Uank (Dle,
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ghi.!, Q'w£uty,-é'£x(h (la.;¢ offia.g,¢, 2015

Rcccipt NO: CAC/GTB 0544923
For =NH?B,SOO,OOG.OO

 

BELLO MAHMUD

 

 

Registrar f General
81 6 8 2 5

 

 

 

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RC 860957

 

CORPORATE AFFAIRS COMMISSION
FEDERAL REPUBLIC 011 NIGERIA

Certii:icate of chistration of

A DEED OF ALL ASSETS DEBENTURE

 

COMPANIES AND ALLIED MATTERS ACT 1990 -
Pursuant to secribn ]97, 198 (2), 203 (l)

CAMAC PETROLEUM LIMITED

3a a hereby seemed m A DEED orr ALL ASSETS DEBENTURE

. ®ated the Twemj)~Fifz‘h day of November, 2014
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maturing the ann of One “Bc'{£c'on, Ji:.r: %uud¢édf(idion G'(ai¢a
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BELLO MA.I-IMUD

 

 

Registrar ~ General
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Stories by Ejiofor duke

 

Folioy\ring the order of a
Federai i~ligh Court sitting
in Lagos, which enforced
and recognised a final award
tendered at the London Court
of Intemational Arbitration
{LCIA) on February 14, 2017
in favour of Nigerian Agip
Exploration Limited (NAE)
in respect ot the Oyo oilfield
in Oii Mi.ning iease. (OML)
120, iba nigerian subsidiary of
the italian firm has moved to
take over the tield, 'IH{SDAY
has iearnt. " `

Jus`tice Haci:iza R. Shsgttri
of the Federai High Court had
ordered the NAOC to take
ove:i'OY_O oilfield after o pro-
tracted legal-dispute between
the subsidiary of thisl ltdlion
oil firm and two Nigerian
Companies - Allied Energy
Fic- and Cama<: lntemational
(Nig) Ltd.

According to the judgment
Of the Court in the suit _nuln~
bersd FHC/ L/_CS/ 6?5/ 2017,
the order was sequel to the
ruling of the L_ondon Court

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' [LCLA`}- width "ai"'oso from a
dispute on a Solo and Purcl‘iase
Agreet'nent (SPA) concluded
in june 2012lj)ehireen Nigerian
Agip Expioration Limited
(NAE) as seller and Ailied
Energy Plc as purchases

in the court order signed by
the Registrar, joseph Olujoye,
the judge ordered that leave
be granted to the claimant/
applicant that London Court
of Intern'a'tiona`l Arbitration
Final Awsrd be recognised
and enforced by the cou.rt.

The judge ruled that its
decision was based on Sec-
lion 31'(1) and (2); Section 51
(l} and Section 57 {1} of the
Arbitt‘ation and Conciliaiion
Act CAP AiB Volume 1, laws
of the Federation of Nigeria

justice Shagari ruled that

' the court made the order

”upofn reading the affidavit
in support of the e)<»parte
originating simons sworn to
by Ogbene Abang, Nigerian, a
senior legal o£iicer and a staff
of NAE and the exh§;)iisot-
incited thereto marked exhibits
NAE lA~ NAEE the written
address in support of the e-)c-

parte originating summons

signed by Chief T'}' Onomigbo
Okpoko (SAN) ...Aitor heating
Gtief.'i'}O Okpol<o (SAN) Wiiii
Charleo A_juyuh (SAN) and
Eguo'r_io Erhum counsel t'or the
dmonil:ipplicnntimovod-in

- tenns--oi'-;ex*apnrtd originating

sununons--ond adopted the
written odd-resortle as the
argument v

An€i tl`io Court having
listened and cmisiderod die
submission of tim learned

counsel and delivered ruling
on May 11, 2017."

Under the Sole and
Purchase Agreernent (SP ),
Nigerian Agip Exploroti'on
Limited had transferred to
Aliied Energy Plc the entirety
of its interests land rights in
the two Oil‘l\/iir'ting houses 120
and 121 in the deep offshore
region of Nigerian

Payment of part of the price
for the transferred interests
and rights Was deferred to
be paid by Alliod Energy Plc
to Nigerian Agip Exploratjon
Limited

Nigerian Agip Explonition
Limited filed the arbitration
st the London Court of
international Arbitration in
accordance With the terms for
submission to arbitration as
provided for in the SPA.

The arbitration _Wss finally
concluded o;o February 14,
2017 when the Fin-al Award
Was issued by the arbin'ators.

'I`he OML 120 contains the
Oyo Pield which is located
approximately 75 kilome'tres
from the coast..in water

depths ranging from 290 to _

500 ototm'si.': ‘

The `Oyol Field. commenced 7

production in Dec:omber 2009 y
and the titst tire `ooiuiei:ioti » ‘
to the _Ais:o__ado-£_Petdono FPSO,' _
a F.if.>atins Frsdu€lim-,Smtoss, -
Oiiloading‘{¥l’§{)) unit`f' `

 

 

 

 

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t-ioiuor;,i~g\_'r Lni:<)_s, moment

§§_;t;§_o; instc:/Li/Cs/ozs/eo_ii ,<*

 

lN THE i\’lr\'l`rl`l§l{ OF 'l`tl_E ARBI"FRATFLON AND C(')NClLlAr.[`lON AC'[`,

CAP, Alt§, LAWS OF` THE FEDERATl()N ()li` NlG_ERl./>s (th`l\l). 2094 AND

lN THE l\'lArl"l`ER Ob` THE `RECOGNET[()N AND liP~lli`OllCEi\/ll§i\l"i` ()F
THE ll`l'NALi A\r\/’AR.D Il"~l LCIA Al{l§l'l`l{s\rl`l()l‘\l NO: 132498.

 
      
      
 

BETWEEN:
,_ NIGERiA AGiP `EXl’l,rOl?.A"l"lON LTD ...... CLAli\/`iAN'i`/
Ai"i"i,.lCAi\i'l"
AND
i. A.LLiEl) Ei\il`£lrl(}\’ PLC 1
2. CAMAC li\i'l`ERi\lATl`ONAL (Nl(]ii`,iUA) ljl`l)j RESPONDIENTH
ORUER
UPON TL-US IRX-i?AR“i`E Oi{}GlNA'l`IN(_}
fisk tyrone dowd die is“‘ day ui‘r_\prn, 2047
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' ` ~ ri:e':'.;r"'~;;.'_ri)'t<`l" `
A';>Ui i-lonoorei)ie Court t`or the 'i`oiiowing Orde,r:

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mode in i_,ondon on tom Fe`t)runry., 20 l 7
in l,,C.i/\ Al`\i`jl'l`RAF|"lOl\l NO'. 1324':)‘8_

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' (” _ k r\i\lij>

 

 

 

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A}ficd Energy I“l.L"

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O‘I"tTL;L-;t‘ and et Stt-t't`f` t)l"Nigerian Agtp Exploraltlott Ltd of
No. 11 Elsie t"`.emi Penr.se Stt'c@t, Victoria lsi€mc|, Lttgos

Stttte and the Exhibits attached thereto marked Exhibits

NA`E §

 
   

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Wit.!t C`,l'tttt'ics A_}Ll_\,/tth (S/`\N} and t§§gttc)itc) trivith Counsel

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February tfl, 2018

The l\tlanagtng Director

Erin Petroleurn Nigeria Limited
Ptdt 1649 Olcsa Street
Victoria lsland

Lagos

Attention: ltllr. Femi Ayoade

Dear Sir,

lN THE MAI_TER OF THE RECOGNIT}ON AND ENFORCEMENT OF THE FlNAL AWARD lN LCIA
ARBITRATION NO.132498 - lN RE SUlT NO. SUlT NO. FHC/UCSI825f2017 BETWEEN NlGERlA
AGlP EXPLORAT|ON LTD V. ALL£ED ENERGY PLC & ANOR

Our attention has been drawn to a Finai Award by the London Court of |nternational Arl)ilrat§on
(LCIA), Whtch was recognized and entered at the Federai l~ligh Court, ll<oyi, Lagos, in Suit No.
FHC!L!CS/BZS/QOl"/', as a final dudgment `sn favour of Nigeria Agip E)<ploraticn |_td (Ctaimant), for the
cumulative sum cf USD$101,638,966.67 (One Hundred and One Mtl|ion, Six Hundred and Thirty
Elght Thousand, Nihe l-lundred and Sixty Six United States Dollars, Sixty Seven Cents) and
interest thereon compounded on a monthly basis against Camac lnternational (Nigeria) l_td (Erin
Petroleurn Nigeria Ltd); the cumulative sum ot USD$175,123,614.85 (Orle Hund red and Seventy
Five lsl'lil|ion, One l~lundred and Twenty Three Thousand, Six l-lundred and Fourteen United
States Dollars‘ Eighty Five Cents) and interest thereon compounded on a monthly basis against
Allied Energy Plc; and the sums cf £7,119,290.99 (Seven Nlillion, One Hundred and Nineteen
Thousand, Two Hundred and Nlnety Pounds, Ninety Nine Pence); €550,796.01 (Five Hundred
and Fifty Thousand, Seven Hundred and Ninety Six Euro, One Cent) and USD$§,SOU (Five
Thousand, Nine Hundred United States Dol|ars) against Carnac lnternationa| (l\lig.) Ltd (Erin
Petroleurn Nigeria Ltd) and Allied Energy Plc jointly and severaltyl A copy ot the .ludgrnent et the
Court is herein attached

Ycu Wil| recall that the proceeds of the contracts Which are now being attached by this judgment
constitutes a major source of repayment of the Credit Faciiities granted by the Banl< to your
goodselves, and this is capable ofjeopardizing the repayment of the taciltty.

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ZEN!TH

tn view of this recent Worrtsome developments and considering the provisions of the Loan Agreement
between your Company and the Eiianl<i We write to lnvite you for an urgent meeting With the
Management ot the Banl< on February 22, 2018 by lOam to enable us evaluate the impact ot the
Judgrnent on your repayment obisgation to the Bank.

l<ind|y confirm your availability tor the meeting by telephone on 01-278t971 cr 01-27BtQBO

WOLE BA A|_OLA Ms/EL/WJ OSlLANlA OTU
HEAD, LOAN REVlEW DEPT HEAD LE AL}COMPANY SECRE RY

Yours taithtully,
ZEN!TH BANK PLC

    

     

At'td

 

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UNITED STATES
SECURITIES AND EXCHANGE COMMISSI()N

Washington. D.C. 20549

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l’ursv.ant to Seetion 13 or lS(d) of the
Seev.rities Exehange _-\et of 1934

I)nte 01` l{eport (Date of earliest event rept)rled); .-\pril 25, 2018

ERIN ENERGY CORPORATION

(Exaet name of registrant as speeil`led in its eharter)

l)elawz\re 001-34525 XX-XXXXXXX
(Stnte or other jurisdiction of ((fommis.~'.ion l~`ile l\'umber) (I.R.S. limployer Identil`lention
ineorpnrntion) No.)

1330 l’ost ()nk Blvd., Suite 2250. llt)uston, Texas 77056
(l-\ddres.~'. of principal executive offices) ('Lip (`.ode)

(713) 797-2940
(Registrant"s telephone nuntber, ineluding nre:l eode)

tillccl\ the appropriate hot below il`tllc l"or'm S-K l"l]in_g is intended to simultaneousl§,-' satisl`_\' the t'tling obligation ot`lllc registrant under anj.ll ol`thc following

prl)\-'t.~stott§ t see (`lcncrul |n.structlun /\.2 bcll)\\-)‘
,,` Written communications pursuant to l{ulc 425 under the Securlitcs Act 117 Cl-`R 230_425)
._ Stilleltin§_§ material pursuant to Rulc 14a-12 under the ljxehungc /\l.'t l l'l‘ (`l"l{ Erltl, 14a-12)
W` tJy-¢_L~tmmmm_~¢¢;-;gm gmnmumg.;tlinns pursuant to I{ulo l»ld-Z(bl under the tlx<;ltangc Aet (l'l' Ct*`R 240,14d-2(b))

11 l’rc-ct)lnnlencelnl:nt colmnuntcations pursuant to Ru]e l3e-4(c) under the l".xl;ltnngc Aet (1'7 Cl-`l{ 240\13¢-4(:;))

 

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item l.¢lJ Banki‘u ptt‘_\'

t)ii _-\pril 25a Qt)lt£ |-Irin Energy Corporation and certain ol`its subsidiaries ttogetlter "Erin linergy” or the "Coinpany")` filed voluntary petitions under Cliapter l l
til`tlie United States C_`ode (the “C`ode") in the l_liiited States ‘il_§tttil<rtipte'\,l Court l`or the Soutlierii District ol"l'exas, llouston Divisioii (the "Court") to pursue ii plan
ol` reorganization ltlic "l{eorganization l‘|an"). Copies ot`those petitions nrc included in this liling.

l-friii l;iicig) and its subsidiaries will continue to operate under thejurisdtetioii ol`tlic Court and in accordance with the applicable provisions ot`the Code and the
orders ot'tlie C.`ourt. `l`o ensure ordinary operations L"rin Energy is seeking approval t`rom the Court l`or a varietyl of niotions‘ including authorityl to maintain bank
accounts and other customary reliet` 'l`lie Company is in the process ut` looking t`or a source ot` debtor in possession financing to provide it with the necessary
\i-orleiii;_I capital to continue its operations and move towards n successful Reorganir.ntion Plan

Subiect to the approval ot`the Court the Company plans to tile a Reorgani'/.at`ion l’]ttii with the Court in the near term with a goal to Worl\' L‘>\'t“-`diti(W-‘ill" “`lih all
partiesl involved to put together a plan t|iut will result iii tirin linergy`s emergence front Cliapter l l as soon as practically possible

ltt-ni ‘).t)t l'lvhibits.
L)“).| lil{l\' Voluntary Petition l`or l\'on-liidi\'idoals lilling Bankruptcy
\)‘) 2 lil~,l\'l, `\l'oluntur)l ]’etttion l`or .\ion-lndi\'iduals Filing Bankruptcy
90 3 l-Il-ll. \-'oluntar_v l’etition for _\lon-lndividuals l~`iling Bankrupte§lr

99 4 l§l’l\il_ Voluntaryl Petitiun l`or .\lon-lndivtduals l"i|ing Bankruptcy

 

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SIGNATURES

l’ursuant to the requirements nl` the lixchange i\et. the registrant has duly caused this report to be signed on its behalf by the undersigned hereunto duly

authorized

ERlN ENE RG\" C()Rl’()RATI Ol\'

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CaSt-Z' 18-32106 Document 1 Fi|€ti itt TXSB Ott 04!25!18 F"€tg€ 1 Of 13

Flll ln thls lntem'lat|on in |dentlly your case:

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Voluntary Petition for Non~|ndividuals Fi|ing for Bankruptcy rim

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Frrr more information a separate documeni, insiruciiuns lor Bankruptcy Forms tm Non.indivtduais, ls ava|lab|e,

t. Deotcr's name Erin Energy Corporation

2. All other names debtor

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1330 Post Oak Boulevard, Suite 2250
Houston, T)t 77056

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5. Det)tor's website iUi-ltfi www.erirtenergy.cum

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FORM 201. VOLUNTARY PETIT|ON

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The figures used in this attachment were culled from an unaudited financial stalemeflt.

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Flll lrl th|s information lo ziden||ty the caso:

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Declaration Under Penalty of Perfury for Non-lndividual Debtors 12..15

 

 

An individual who is author|zed lo act on behalf of a non-individual debtor, such as a corporation or pan nership. must sign and submit this
form for the schedules of assets and lia bilil|es, any other document lhat requires a declaration that ls not included ln the document and any
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Offic:ial Form 204
Chapter 11 or Chapter 9 Cases: hist of Creditnrs Who Havo the 20 Largest Unsecured C|aims and
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A list of creditors holding the 20 largest unsecured claims must be titled in a Chapter tt or Chapler 9 case. include claims which the
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Erin Peta'o|cum Nigeria Limited

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Ca:;e 13»32109 Document 1 Fl|ed in T`XSB on 04125118 Page 5 of 12

UNANIM()L`S C()NSEN'I` Ol‘" THE BOARD OF E}`IRE(_`.'I`{)RS
OF E"R!N ENERGY PETROLEUM NIGERIA LIP¢HTED

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Ca$e 18-32109 Document l Fiied in TXSB On 04¢25!18 Page 6 Of 12

Company up execute any and ali plans al rL-urgarti;wtion under chapter ll of the iianl;ruptcy Ct)d<:.
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Case 13*32109 Document 1 Fi%eeii in TXSB 0r104!25f18 Page ? 0f12

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Declaration Under Penalty of Perjury for Non-lndividual Debtors 1145

An individual who ls authorized lo acton behalf ofa non-indivldua| dabtor, such as a corporation or pannarship, musi sign and submit ihis
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imier name Erin Pelroicum Nigeria Limited

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Case number :il k:lo'.~nl;i; amc ncle Ii|ing;

Oliic:ial Fi:_)__rmw,?r¢l)§i
Chapter 11 or Chapler 9 Cases: List of Crediiors Who Have the 20 Largesf Unsecured Ciaims and
Are Ncit insiders 12.-'15

A list cl creditors holding inc 20 large-cl unsecured claims musl be filed irl a Chapler 11 or Chapter 9 case. include claims which lhc
debtor dispulc~s. Do nol include claims by any person or onll`ly who rs an insiderl as destined in 11 U‘S.C. § 101(31], Also, do not
include claims by secure-cl creditors, unless the unsecured claim resulting lrom inade-ql.cale collateral value places the creditor
among thc- holders 01 the 20 largest unsecured cl:llil'n‘:h

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lN THE UNlTED STATES BANKRUPT Y COURT

 
 
  

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|n re: ERlN ENERG)(,

 

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CORPORAT|ON, é't al §
Debtors. l

 

SWORN AFFIDAV|T OF FACTS OF NlR BOSAH OKONY|A

|l Nlr Bosah Okonyia, Aduit, Niaie, Christlan, Nigerian Citizen of Zenith
i-ieights, Piot 84/87Ajose Adeogun Street, Victoria island1 Lagos, Nigeria do

hereby make oath and state as foilows:

|NTRODUCTION

1. That this Affidavit is being sworn to form records in the matter of re: Erin
Energy Corporation With case No. 18-32106 at the United States

Bankruptcy Court, Southern District of Texas, i-iouston Division.

2. That l am a Legal Otficer in the legal department of Zenith Bank Pic.
Creditor of Erin Petroleum Nigeria l_imited, by virtue of Which position i

am conversant With the facts of this case.

3. That |.have the consent and authority of my employer Zenith Ban|< Plc

(hereinafter referred to as “Zenith Ban|<”) to depose to this Affidavit.

 

 

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4. That except as othenNise stated i depose to facts Within my personal
knowledge, as Weli as from information obtained by me from reading the
documents pertaining to the events leading up to this matter and from
information derived in the course of carrying out my duties in the

employment of Zenith Banl<.

5. That l have perused the Petition, i\/lotion papers amongst other
processes filed in this matter and am We|l acquainted With the facts of

this matter.

FACTS SURROUND|NG ZENITH TERNI LOAN FAClLlTY

6. That Zenith Banl< Plc is a public company incorporated and licensed
under the Laws of the Federai Republic of Nigeria having its registered

office at Plot 84/87, Ajose Adeogun Street, Victoria lsiand, Lagos State.

7. That Erin Petroieum Nigeria Limited Previously known as (‘Camac
international Nigeria Limited) is a private limited company incorporated
under the Laws of the Federai Repub|ic of Nigeria having its registered

office at Plot 1649, Oiosa Street, Victoria lsiand, l_agos, Nigeria.

8. That Erin Energy Corporation With United States Federai Tax
identification Number 9798 Corporation and situate at 1130 Post Oal<
Blvd, Suite 2250, Houston Texas 77056, is a Company Registered in
the United States and alleges to be the parent company for Erin

Petroieum Nigeria Limited

9. That Allied Energy PLC is a public company incorporated under the
Laws of the Federai Republic of Nigeria With its registered office at Piot
1649, Oiosa Street, Victoria |siand, l_agos, Nigeria, and an affiliate of

Erin Petroleum Nigeria Limited

 

 

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10. The Nigerian Agip Exp|oration Limited (NAEl_) is a private limited
company incorporated under the Laws of the Federa| Republic of
Nigeria to carry on business in Nigeria With its offices situate at 1, Elsie

Femi Pearse Street, Victoria ls|and, l_agos, Nigeria.

11. That by virtue of an Acreage Allocation (Discretionary Award) of OPl_
210 issued by the l\/linistry of Petro|eum Resources (Petro|eum
Resources Department), Allied Energy Plc. is the legal holder of Oil
l\/lining i_eases (Ol\/ll_) 120 and 121.

12. That by virtue of a transfer agreement between Erin Petroleum Nigeria
Limited and Aliied Energy Plc., Erin Petroleum Nigeria l_imited acquired
all the economic interest of A||ied Energy P|c. in the oil block covered by
Ol\/ll_ 120 and 121 (although the approval of the l\/linister of Petro|eum

Was yet to be obtained With respect to the transfer).

13. That Erin Petroleum Nigeria l_imited sometime in 2014, approached
Zenith Bank Pic for a Term Loan Faciiity of USD100, 000,000.00 (One
Hundred l\/li||ion United States Dol|ars) to part-finance the expansion

and development of the oil blocks covered by Ol\/ll_120 and 121.

14. That by virtue of a Term l_oan Facility Agreement on about September
30, 2014, Zenith Bank granted a loan facility of USD100, 000,000.00
(One Hundred Million United States Dol|ars) to Erin Petroleum Nigeria
l_imited. A copy of the Term l_oan Faciiity Agreement is hereto annexed
and marked as Exhibit 1.

15. That as security for the repayment of the loan facility granted by Zenith
Bank to Erin Petro|eum Nigeria l_imited, Erin Petroleum Limited

undertook to obtain in favour of Zenith Bank, a legal charge over the

 

 

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16.

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both Erin Petroieum Nigeria Limited and A||ied Energy Plc.'s entire
interest in Oil Biock Ol\/lL 120 and 121.

That further to paragraph 15 above, a Deed of Legal Charge over
interest in Ol\/lL 120 and 121 dated l\/lay 14, 2014 was executed
between Zenith Bank and Erin Petroieum Nigeria Limited as Well as
Al|ied Energy Plc., by which Allied Energy Pic. charged its entire interest
in oiviL 120 and 121 in favour of zenith Bani<.

That an undertaking from Allied Energy Plc committing to domicile the
proceeds from sale of crude oil and processing of all NXPs through its

account With Zenith_

That similarly, an All Asset Debenture dated November 25, 2014 was
executed between Zenith Bank and Erin Petroleum Nigeria Limited, by
which Erin Petroleum Nigeria Limited charged ALL. its assets whether

fixed, or floating, present and future in favour of Zenith Bank.

That some of the agreements executed as security for the repayment of
the Term Loan Faciiity Agreement granted by Zenith Bank to Erin

Petro|eum Nigeria Limited are:

19.1 A|l Assets Debenture dated November 25, 2014',
19.2 Deed of Legal Charge dated l\/lay 141 2015', and
19.3 Deed of Assignment of Rights.

The agreements outlined in the above paragraph are hereto annexed

and marked as Exhibits 2, 3 and 4 respectively

That following the execution of the above referenced Deed of Legal

Charge and Deed of A|| Assets Debenturel in evincing security of credits

 

 

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under Nigerian law, Zenith Bank registered the aforementioned security
documents at the Corporate Affairs Commission which are evidenced
by the Certificate of Registration of Deed of Legal Charge dated lVlay
26, 2015 and the Certificate of Registration of Deed of All Assets
Debenture dated December 12, 2014. Copies of the Certificates of
Registration are hereto annexed and marked as Exhibits 5 and 6

res pectively.

ER|N PETROLEUN| N|GERIA LlNl|TED’S DEFAULT lN LOAN
REPAYN|ENT OBL|GAT|ON

22. That by C|ause 17 (Representation and Warranties) of the Term Loan
Faciiity Agreement between Zenith Bank and Erin Petroleum Nigeria
Limitedl particularly, paragraph 17.8 thereof (proceedings pending or
threatened), Erin Petroleum Nigeria Limited represented and warranted
to Zenith Bank that, no litigation, arbitration or administrative proceeding
of or before any court, arbitral body or agency has (to the best of its
knowledge and belief) been stated or threatened against it (or against
its directors) or any other Obligor (or against any director of an Obligor)

which:

a) lVlay restrain its entry into, the exercise of its rights under, or the
performancel enforcement of or compliance with any of its

obligations under this Agreement; or

b) lf adversely determined, would reasonably be expected to have a

material adverse effect

23. That at the time of entering into the Term Loan Faciiity Agreement and
the Disbursement of the loan sum by Zenith Bank to Erin Petroleum

Nigeria l_imitedl Zenith Bank was not aware or informed of the existence

 

 

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of any litigation, arbitration or administrative proceeding the Erin
Petroleum Nigeria Limited or Allied Energy Plc., or any other parties

thereof.

24. That by a Tnisday Newspaper in Nigeria extract dated February 20,

25.

26.

27.

28.

2018', Zenith Bank became aware of an Arbitral Award given at the
London Court of international Arbitration (LC|A) on February 14, 2017.
A copy of the newspaper extract is hereto annexed and marked as
Exhibit 7.

That by the above referenced newspaper publication, Zenith Bank
became aware that the NAEL had obtained a Final Arbitral Award
against Erin Petroleum Nigeria Limited and Allied Energy P|c. from the
LClA in an Arbitration with Arbitration number: LClA 132498_

That the Arbitral Award which was given by the London Court of
international Arbitration purportedly arose from a dispute on a Sale and
Purchase Agreement (SPA) which was concluded in June 2012

between NAEL as Seller and Allied Energy Plc. as Purchaser.

That by virtue of the above referenced SPA; the NAEL had transferred
to Allied Energy Plc., the entirety of its interest and rights in both Oil
l\/lining Leases 120 and 121_

That the said Arbitral Award was given in respect of the Oil Assets
(Ol\/lL 120 and 121), the interest of which is charged in favour of Zenith
Bank as security for the repayment of the Term Loan Faciiity granted by

Zenith Bank to Erin Petroleum Nigeria Limited

 

 

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29.

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34.

That by virtue of an Order of the Federai High Court of Nigeria made on
l\/lay 11, 2017l leave of Court was granted to NAEL that the l_ClA Final
Award dated February 141 2017 be recognised and enforced A copy of
the Order of the Federai High Court dated lVlay 11, 2017 is hereto

annexed and marked as Exhibit 8.

That the said order of the Federai High Court enforcing and recognising
the Arbitral Award is for the cumulative sum of $101,638,966.67 (One
Hundred and One l\/li|lion, Six Hundred and Thirty Eight Thousand1 Nine
Hundred and Sixty Six United States Dol|ars, Sixty Seven Cents) and
interest thereon compounded on a monthly basis against Erin

Petroleum Nigeria Limited

That NAEL in an attempt to realise the fruits of the Award granted by the
LC|A and recognised by an Order of the Federai High Court dated l\/lay
11, 2017 executed a ‘Notice of Ser`zure/Attachment of Gooo's’ by locking
the export vaive on the FPSO operated by Allied Energy Plc_ (the
interest of which has been charged in favour of Zenith Bank for the
repayment of the loan granted by Zenith Bank to Erin Petroleum Nigeria

Limited).

That C|ause 19 (iii) (lV) and (v) of the loan facility agreement stipulates
what amounts to an event of default as it relates distresses or

encumbrances on the charged assets under the loan.

That there have also been defaults by Erin Petroieum Nigeria Limited on

the repayment of the loan facility.

That there has been non-payment of the Principal of $4,903,272.79 and
interest of $2,065,019 which were due on l\/larch 30, 2018_

 

 

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35. That it was agreed by Erin Petroleum Nigeria Limited and Zenith Bank
Plc., that Debt Service Recovery Account (DSRA) funding would initially
be for one (1) quarter of interest, but will increase to two (2) quarters

once oil price is at or above $55 per barrel

36. That there has been non-funding of the additional quarter of DSRA upon

achievement of Crude Oii price of over $55 dollars

37. That contrary to an agreement between Erin Petro|eum Nigeria Limited
and Zenith Bank Plc.1 notwithstanding several notices issued by Zenith
Bank Plc. to Erin Petro|eum Nigeria l_imited, there has been a continued

failure to institute a hedge protection.

APPL|CABLE LAW AND COURT WITH JUR|SD|CT|ON

38. That | know for a fact that the contract between Zenith Bank Plc and
Erin Petroleum Nigeria Limited and ali the relevant agreements between
them including the Term i_oan Faciiity i°\greementl the A|l Assets
Debenture and all relevant security documents are governed by

Nigerian l_aw by the mutual agreement of the Parties.

39. That the Companies and Allied l\/latters Act Chapter C20, Laws of the
Federation of Nigeria 2004 is the relevant Law governing Nigerian-

registered companies and their activities.

40. That Erin Petroleum Nigerian Limited being a company registered in
Nigeria, is subject to the authority of Nigerian courts the Companies

and Aiiied i\/latters Act and other extant laws of Nigeria.

41. That the aforesaid Companies and A|lied i\/latters Act contains
numerous and copious provisions regulating Arrangement and

Compromise of a Company with its Creditors, which provisions are

 

 

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similar in nature to the provisions sought to be relied up by Erin Energy
Corporation on behalf of Erin Petroleum Nigeria Limited in the Voluntary

Petition for Chapter 11 Bankruptcy in the United States of America.

42. That l know for a fact that reliefs identical to those sought by Erin
Energy Corporation purportedly on behalf of Erin Petroieum Nigeria
Limited for reorganisation, bankruptcy or howsoever referred to, are
provided for in the Companies and A|lied i\/latters Act and other extant

Nigerian Laws on the subject

43. That the 1999 Constitution of the Federai Republic of Nigeria (as
amended) is the grundnorm, the supreme law of Nigeria and has
binding force on all the authorities and persons throughout the Federai

Republic of Nigeria.

44. That the aforesaid 1999 Constitution of Nigeria vests the Nigerian
courts with all judicial power and authority to adjudicate upon all matters
between persons, or between government or authority and to any
persons in Nigeria, and to all actions and proceedings relating thereto,
for the determination of any question as to the civil rights and

obligations of that person.

45. That the Federai High Court (of Nigeria) is the particular court vested
with the authority and exclusive jurisdiction under the 1999 Constitution
of Nigeria to determine all matters arising from the operation of the
Companies and Allied l\/latters Act or any other enactment replacing the
Act or regulating the operation of companies incorporated under the

Companies and Allied l\/latters Act.

 

 

 

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46. That | know for a fact that the proper forum for creditor arrangement or
business reorganisation involving Erin Petroleum Nigeria Limited is the
judicial division of the Federai High Court of Nigeria where the head
office of Erin Petroieum Nigeria Limited is situate1 being the Federai

High Court of Nigeria, i_agos Juciiciai Division_

CONCEALN|ENT OF FACTS BY ERIN PETROLEUM NlGER|A
LlNilTED

47. That one i\/lr. Kase l_ukman Lawal is the Chairman and Chief
Executive of Erin Energy Corporation which is the parent company of
Erin Petroleum Nigeria Limited and the corporate entity which filed the
petition for Chapter 11 Bankruptcyat the United States Bankruptcy

Court1 Southern District of Texas, i-iouston Division..

48. That i\/lr. Kase l_ukman Lawal is also the Chairman and Chief
Executive of other related corporations including CAl\/lAC international
Corporation and Allied Energy Corporation. Annexed hereto is the
search report dated April 13, 2018 by the law firm of Okwubanego &
Okwubanego as Exhibit 9.

49. That a dispute arose sometime in 2012 between Camac Petroleum
Limited (now Erin Nigeria Petroleum Limited) and Nigeria AGIP Energy
Limited (NAEL), a subsidiary of italian oil major EN|. Allied Energy
purportedly bought 40 percent of the oil rights in Oii lVlining i_ease
(OlVlL) 120 and 121 from NAEi_ and transferred same to Camac
Petroieum l_imited, however Aiiied Energy only paid $100 million of a

$270million purchase price, according to court records

 

 

 

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50. That l know for a fact that the Courts in Nigeria and the London Court

51.

of international Arbitration ruled in favour of N/-\EL in the dispute,
instructing Camac international to pay NAEL $200-million, a Cayman
islands court issued a winding up order for Lawa|'s Camac international

who was its chairman1 CEO and controlling shareholder.

That Zenith Bank Plc has filed an application dated Aprii 17, 2018
seeking leave of the Court of Appeai to appeal as an interested party
against the Judgment of the Federai High Court of Nigeria (recognising
and enforcing the Award of the i_ondon Court of international Arbitration
granted in favour of NAEL) as well as an application for Stay of
execution of the said Judgment. The above referenced application of
Zenith Bank pic seeking leave to appeal as an interested party dated
/-\pril 14, 2018 and the application for Stay of Execution dated i\flay 8,

2018 are herein annexed and marked Exhibits 10 and 11.

52. That in 2016, South Africa’s Pension investment Corporation (PlC)

investment committee agreed to secure a 3100-million bank guarantee
so that Erin Energy Corporation could borrow for drilling and other
expenses at the Oyo oil field covered by the aforementioned ONiLs 120
and 121. This secondary loan was finaiised in January 2017, and Erin

piedged its assets as security thereunder_

53. That i know for a fact that neither Erin Energy Corporation nor Erin

Petroieum Nigeria Limited or any of its subsidiaries raised any of the
above facts before this Honourable Court in its Voluntary Petition for

Chapter 11 Bankruptcy

 

 

 

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CONCLUSION

That Erin Petroleum Nigeria Limited being a private limited company
registered under Nigeria laws of the Federai Republic of Nigeria is a

body corporate, separate and distinct from Erin Energy Corporation.

That Erin Petroleum Nigeria Limited and its subscribers together with
the members of the Company constitute a body capable of exercising ali
the powers and functions of an incorporated company including the

power to sue and be sued in its own name

That the credit facility advanced by Zenith Bank Plc to part finance the
expansion and development of the oil biocks covered by OlViL 120 and
121 was granted to Erin Petroieum Nigeria Limited and not its parent

company and/or such other entity affiliated to it.

That Zenith Bank continues to possess a first lien over Ai_L the
economic interest accruing from OiVlL 120 and 121 as security for the
repayment of the credit facility granted to Erin Petroieum Nigeria

l_imited

That further to paragraph abovel Erin Petroieum Nigeria Limited
charged in favour of Zenith Bank Plc, ALL its assets whether fixed or
floating, present and future as security for the credit facility advanced to
it by Zenith Bank Pic.

That in paragraph 3 of the ‘Debtors’ Emergency i\/iotion for the Entry of
an Order pursuant to Section 105 (a) and 362 of the Bankruptcy code
extending the automatic stay’, the Petitioners alluded to the fact that
Erin Petroleum Nigeria Limited accounts for virtually all of Erin Energy

Corporation’s revenues

 

 

 

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That what the Petitioners seek to do by this voluntary petition filed under
chapter 11 of the United States Code is to utilize the assets of Erin
Petroieum Nigeria Limited held by Zenith Bank Plc as a security for the
credit facility granted in 2014 to finance its operations and settle its
outstanding obligations to other creditors despite Zenith Bank Plc being

a first lienor to ALL the Assets of Erin Petroieum Nigeria Limited

That Erin Petroleum Nigeria Limited being a Company incorporated
under the Companies and Ailied l\/latters Act, Cap C?_O, Laws of the
Federation of Nigeria, 2004 is a Nigerian Company, governed and

subject to Nigerian Laws.

That matters relating to arrangement and compromise involving a
Company incorporated under the Laws of Nigerian (as in the instant
case with ‘Erin Petroleum Nigeria Limited') has been sufficiently
provided from Section 537 - 540 of the Companies and Aiiied l\/latters
Act, Cap. 020, Laws of the Federation of Nigeria, 2004.

That the appropriate Court clothed with jurisdiction to hear any matter
relating to arrangement and compromise with creditors involving a
Company incorporated under the Laws of Nigerian is the ‘Federal High

Court of Nigeria’ to the exclusion of any other Court.

That the voluntary filing of the petition under Chapter 11 by Erin
Petroleum Nigeria Limited is a deliberate attempt to usurp the powers of
the Federai High Court of Nigeria as conferred upon it by Section 251
the 1999 Constitution of the Federai Republic of Nigeria (as amended)
and Section 567 of the Companies and Aiiied l\/latters Act, Cap 020,
Laws of the Federation of Nigeria, 2004.

That the above facts are relevant and ought to be brought to the

attention of this Honourable Court.

 

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66. That this action is designed to overreach Zenith Bank's secured interest

in its lending to Erin petroleum Nigeria leited.

67. That this Affidavit is to place on record, material particulars pertaining to
the voluntary petition under chapter 11 of the United States Code filed
by Erin Energy Corporation and its purported ‘subsidiaries’ including
Erin Petroleum Nigeria Limited which may have been suppressed

and/or unrevealed.

68_ That it is in the interest ofjustice to refuse the grant of the applications
filed by the Debtors as same is orchestrated to hoodwink this
Honourable Court into making Order in vainl and further plunge Erin

Petroleum Nigeria Limited into further debt with unsuspecting creditors

69. That l make this Affidavit solemnly and in good faith, conscientiously
believing the same to be true and correct in accordance with the Oaths

Law of Lagos State.

 

l
DEPONENT

SVVORN to at the Lagos State
High Cgu`rt Registryl Lagos, Nigeria
This <L/\\-,, day of lVlay, 2018

 

 

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FOR SERVIC§ON THE DEBTORS

1. Erin Energy Corporation -
lionel.mcbee@erinenergy.com

AND (2) Erin Energy Corporation’s Attorneys
and/ or Proposed Attorneys, David L. Curry Jr.
Texas Bar No. 00784695

Bridget Nloore - bmoore@okinadams.com
Okin Adams Li_P

1113 Vine St. Suite 201, i-iouston, Texas 77002
Tel: 713.228.4100l Fax:888.865.2118

2. Zenith Bank Plc (non-party to US suit)
C/o their Proposed Attorneys

Professor Fabian Ajogwu, SAN

Kenna Partners

Barristers & Solicitors

81 Ogunyemi Road

Palace VVay1 Oniru

Victoria island, i_agos, Nigeria

Tel: +234 815 8390714; +234 706 5197981
Email: cnwabulu@kennapartners.com

 

 

 

 

 

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' Chinonze Nnaji

From: Okechukwu Ekweanya <oe|<weanya@kennapartners.€orn>

Sent: l\/londay, iune 4,201810:15 Ai\/i

To: cnnaji@kennapartners.com

Subject: FW: NOTiCE 8a SERViCE OF AFFlDAVlT OF FACTS lN RE ER|N ENERGY CORPORA?|ON‘S

CHAPTER ‘l‘l PETlT|ON- CASE NUMBER: 18-32106.

From: Linhthu_Do@b<s.uscourts.gov [mailto:Linhthu_Do@b-<s.uscourts.gov]

Sent: 08 May 2018 23:03

To: Okechukwu Ekweanya

Subject: Re: NOTICE & SERVICE OF AFFIDAVIT OF FACTS IN RE ERIN ENERGY CORPORATION'S CHAPTER 11
PETITION- CASE NUMBER: 18-32106.

Good evening,

The attached documents have been received and filed at Docl<et No. 38 in Case No. 18-32106 Erin Energy
Corporation and Erin Energy Ltd.

Please address future emails to Ms. LinhThu Do at lin hthu do@txs.uscourts.qov.
(Ms. Anita Dolezel and Mr. Mario Rios are no longer associated with this Court.)

Thank You

LinhThu Do, Case Manager

The Honorable Marvin P. Isgur

United States Bankruptcy Court for the Southern District of Texas
515 Rusk Street, 4th Fioor

Houston, Texas 77002

(713) 250-5421

----- “Okechukwu El<weanya" <oekweanva@kennapartners.€om> wrote: -----

To: <LinhThu Do@txs.uscourts.ciov>, <Anita Dolezel@txs.uscourts.clov>,

<Mario Rios txs.uscourts. ov>

From: "Okechukwu Ekweanya" <oekweanva@kennapartners.com>

Date: 05/08/2018 02:46PM

Cc: <bmoore@okinadams.com>, <lionel.mcbee@erinerov.com>, <dippo.beilo@erinenerov.com>,
<michael.otu@zenithbank.com>, "Nnamdi Edekobi“ <NNAMDI.EDEKOBI@zenithbank.com>,
<Liche.Anokwuru@zenithbank.com>, "'Fabian Ajogwu"' <faioqwu@kennaoartners.com>, "'Charles
Nwabulu"' <anabulu@kennapartners.com>, "Ebenezer Onyeagwu"
<EBENEZER.ONYEAGWU@zenithbank.com>, <BOSAH.OKONYIA@zenithbank.com>,
<kerhonse|e@kennaoartners.com>, <aovusuf@i<ennapartners.com>, <oadebo@kennapartners.com>,
"Paliechi Nonye-Okoronkwo" <pnonve-okoronkwo@kennapartners.com>, <cnnaii@kennapartners.com>
SubjeCt: NOTICE & SERVICE OF AFFIDAVIT OF FACTS IN RE ERIN ENERGY CORPORATION'S CHAPTER 11
PETITION- CASE NUIV|BER: 18-32106.

LETTER ATTACHED AS PDF AND ALSO PASTED BELOW FOR EASE OF READ¢'NG

 

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IN THE UNlTED STATES BANKRUPTCY COURT
FOR THE S()UTHERN DISTRICT OF TEXAS

 

HOUSTON DIVISION EN'i'i-'.ftu-:o
05,'01 lois
Iu re: §
§
ERI.\' ENERGY CORPORATI_ON, et ul.,' § Case No. 18-32106
§
Debtors. § [Chapter 11)
§
§ (Joint Administration Requested]

ORl)ER PURSUANT 'l`O SECTIONS IUS(a) AND 362 OF THE
BANKRUP'I`CY C()DE ENFORCING AND RESTA'I`ING
AUTOMATIC STAYPR()VISIONS
Upon consideration of` the Debtors’ Entergency Motion F or the Entry ot` an Order
Pursuant to Sections iOS(a) and 362 ofthe Bankruptcy Code Ent`orcing and Restating Automatic
Stay Provisions (the “_l\_/_l"gti_o_n_”),2 filed by the above-captioned debtors and debtors in possession
(the “ilcbtg)r§:), the Court finds that: (i) it has jurisdiction over the matters raised in the Motion
pursuant to 28 U.S.C. § 1334(b); {ii) this is a core proceeding pursuant to 28 U.S.C. § lS?{b);
{iii`) the relief requested in the Motion is in the best interests of the Debtors and their respective
estates, creditors, and other parties-in-interest; {iv) proper and adequate notice of` the Motion and
hearing on the I\/lotion has been given and that no other or further notice is necessary under the
circumstances', (v) the relief granted in this Order is necessary to avoid immediate and
irreparable harm to these estates; and {vi) good and sufficient cause exists f`or the granting of` the

relief requested in the Motion after having given due deliberation upon the Motion and ali of the

proceedings had het`ore the Court in connection With the Motion. Thercf`ore, it is hereby

 

‘ 'l`he last four digits oi` Erin Energy Corporation’s {“ERN”) federal tax identification number are 9798. The other
Debtors in these cases are'. Erin Energy Limited {“EE.L“)‘, Erin Energy Kenya Limited (“EEKU); and Erin
Petroleunt Nigeria l.iinited ("EPNI.”). The Debtors` service address is: 1330 Post Oak Blvd., Suite 2250, i'ioaston,
'l`X 77056.

2 Capitalizcd terms used but not otherwise defined in this Order have the meanings ascribed to such terms in the
.\doiion.

 

 

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ORDI:`RED that, subject to the exceptions to the automatic stay contained in section
362(b) of thc Bankruptcy Code and the right of any party in interest to seek relief from the
automatic stay in accordance With section 362(d) of the Bankruptcy Code, an automatic Stay
applies to all entities 'fhe term “Entities" includes pcrsons, estates, trusts, governmental units
and the United States trusteel “The term governmental unit means United States', State;
Cornmonwealth; District; Territory; municipality; foreign state; department agency or
instrumentality of the United States ..., a Statc, a Commonwcalth, a District, a Territory, a
municipality, or a foreign state; or other foreign or domestic govemment.” ll U.S.C. § 101{27).

l’ursuant to Title l l § 362 ofthc United States Codc, ali entities (including all departments,
agencies and instrumentalities of any foreign government) have been stayed from:

{a) commencing or continuing lincluding the issuance or employment of

process) any judicial, administrative7 or other action or proceeding against
the Debtors that was or could have been commenced before the
commencement of the Debtors‘ chapter ll cases or recovering a claim

against the Debtors that arose before the commencement of the Debtors’
chapter ll cases;

(b) cnforcing, against the Debtors or against property of their cstatcs, a
judgment or order obtained before the commencement of the Debtors’
chapter ll cascs;

(c) taking any action to obtain possession of property of the Debtors’ estates
or to exercise control over property of`the estates;

(d) taking any action to creatc, perfect or enforce any lien against property of
the Debtors’ estates;

{e) taking any action to create, perfect or enforce against property of the
Debtors any lien to the extent that such lien secures a claim that arose
prior to the commencement ofthe Debtors’ chapter l l cases;

(f) taking any action to collect, assess or recover a claim against the Debtors
that arose prior to the commencement of the Debtors’ chapter ll cases;
[andj

(g) offsetting any debt owing to the Debtors that arose before the
commencement of the Debtors’ chapter il cases against any claim against
the Debtors.

 

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and it is further

ORDERED that, in accordance with Title ll § 362(d) ot` the United States Code, this
Court may grant relief from the stay described in this Order; and it is further

()RI)l:IRl:`[) that the Court retains jurisdiction with respect to all matters arising from or

related to the implementation of this Order.

oman my 1, 2013 //?._/:E
UNlTED sTATEs lyncmruprcv JUDGE

 

 

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IN THE UNlTED S'l`ATES BANKRUPTCY COURT
FOR THE SOUTHERN DISTRICT OF TEXAS
HOUSTON DlVISlON

ln re:

F.-Rll\¢r ENERGY CORPORATION, €I
rrl.,l

Case No. 18-32106

Del)tors. Chapter ll

'LMC»UJC»UJCDCUUJWCGOT

(Jointly Administered)
NOTICE ()F` HE-ARING ()N DEBTORS’
EMERG ENCY M()Tl()N TO EXTF.ND THE AL'T()MAT[C STAY
AND EMERGF,NCY MOTI()N F()R lNTERIM AND FINAL ORDERS
AUTHORIZING USF. ()F CASH C()LLATERAL

PLEASE TAKE NOTICE that a hearing Will be held before the llonorable Marvin lsgur,
United States Bankruptcy .ludge` at the United States Bankruptcy Court 515 Ruslc 4"‘ Floor,
(,`0111‘11”110111-`104. 111111stt111"1`cxas 77002 on May 9, 2018 at 10:4‘3 a.m. (C'l`)` or at such other time
as the court may determine on the following motions and supporting documents requesting certain
emergency relief(eoliectivel}-" the "'Motions"") which were filed by the Debtors in connection with

the Chapter ll Cases:

(1) Debti)is`Fiiterg1e11cy .\/lotion for 1 ntrv of Order Pursuant to Sections 105(£1) and
362 ol the Bankruptc\ Code thending the Automatic Stay [Docl\et No. 271; and

tii) Debtois` l me1gency 1\/11111011 ior interim and 1 inal ()1de1s (1) Autholi/ing Use of
C ash C bilateral 1’ursuant to Section 363(c) 01 the Bankruptcy Code (11) GrantingT Adequate
Proteetion 101 the use thereo|;_ and (lll) Scheduling a Final llearing Pursuant to Bankrupte\
Rule 4001 as to Use ofCash Collateral [Doel<et No. 281

Copies of the above referenced hlotions may be (i) inspected in the office of the Clerk of

the Bankruptcy Court during normal business hours; and (ii) don-‘nloaded from the Bankruptcy

 

1hc list 111111 digits ol l-_ lin 1 nc1g\ t orpo111tion s t `il R\` `i) et c11l t1\' identihcnion number aic L)'1'L)él.ll1eothei
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\ige:i 1 1,11nttcd ( 1 1’1\'1` lhe l)ehtols selvieeuddl‘essls:133111’1151()11<1§1\11.Suite 2250 llouston lX 7705(1.

 

 

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Court`s v\-'ebsitc at http:/:'w\\-'vv.txs.uscourts.aov/bankrupth. Pieasc note that prior registration vvith
the P/-‘\(_`ER Service Centcr and payment of a fee may be required to access such documents
chuests for copies of the Motions and further information regarding hearing mayl also be made
to proposed counsel for the Debtors using the contact information below

Rcspectfuli)-' submitted this 41]“ day of 1\/1ay 2018.

Rcspectfullv submitted,_
OKIN ADAMS LLP

By: /s/ 111/11111111311>$_ Okin
Matthew S. Oi<in
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11101<in@okinadams,com
David L. Curr)" Jr.
'1`cxas Bar 1\10.24065107
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llouston_. Texas 77002
r1`cl:'l'13.228.4100
Fax; 388.8(15.2113

PR()POSED A'l`rl`ORNE\/S F()R THE
DEBTORS

CERTIFICATE OF SERVICFI
1 hereb)lr certify that on Ma§-' 4, 2018 the foregoing Notice of i'learin;,‘I Was served upon
filing via the Court’s EM/ECF electronic system on all parties subscribing thereto` as vvell as by

regular mail on the Dc-btors" .\/1aster Serv'ice l.ist.

l/.1‘/ MnH/tew S. Okin
Matthew S. Okin

\()'l lL`i". ()l" lll"..¢\l{l.\`(§ *l’age 2

 

 

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DEED OF APPO|NTMENT OF RECEWER`/MANAGER

WE, ZENiTH BANK PLC whose registered office is at Plot B4f87, Aj,ose Adeogun Street,
Victoria island, Lagos State (hereinafter called “the Bank") being the registered holder
of a Deed of legal Charge Over lnterest in Oil/lt 120 and 121 dated May 14, 2015
registered at the Corporate Affairs Commission_, Abuja (hereinafter called “the Deed
of l_egal Charge”) made between ERlN PETROLEUM NEGERIA LlMiTED PREV\OUSLY
KNOWN AS CAMAC PETROL.EUM L.lMlTED (he'reinafter called “the Borrower”]; ALLlED
ENERGY PLC (hc~reinafter called "the Chargoi"’) and ZENlTl-l BANK PLC (hereinafter
called “the Bank”); pursuant to the powers conferred on the Bank by the Deed of l_egal
Charge and of every power enabling the Bank so to do HEREBY APPOiNT BASHORUN
J.K. RANDLE of J.ll Randle Professional Services, One i<ing Ologonkutere Street, Pari<
‘Jiew, ll<oyi, Lagos State (hereinafter called "the ReceiverfManager”) to be the
ileceiyer/.N’\anager of the Assets charged by the charger in Paragraph 2 of the Deed of

legal Charge upon the terms and with all the powers conferred by the Deed of Legal
Charge or by law.

Suoject to your acceptance of our offer of appointment, you will be required to carry
out inter»alia the following duties:

ial '\‘o take immediate possession and management of the undertakings of the
Cnargor and the assets secured by the Deed of Legal Charge or any part thereof

and for that purpose to take or defend proceedings in the name of the Company
or otherwisev

ib) To tai<e over, either solely or in conjunction with other persons, the interest of
Allied Energy Plc and the economic interest of E.Rli\l Petroleum Nigeria Limited in
OML 120 and 121 now charged in favour of the Bank and to obtain all
authorization, consent, approval, licence, permit or exemptions required to
operate Oil-lt 120 and 121 and to operate howsoever, including power to sell,
alienace, assign or otherwise, all or any such interest,

lc) 'i`o demand and recover all the income from the Assets thereby secured by action,
distress or otherwise to the full extent of the estate or interest which the
Company could dispose of and to give effective receipts accordingly for the
sarr‘.e, to exercise any powers which may have been delegated to him by the Bank
pursuant to these presents

id`i To make any arrangements or compromise which the Receiver shall think
expedient in the interest of the Banl<.

[e) i`o give valid receipts for all moneys and execute all conveyances, assignments,
deetis, assurances and things which may be proper or desirable for realizing such
Assets and things as may be considered to be conducive to any of the matters or
the powers aforesaid and which the Receiver!fvlanager lawfully can do as Agent
for the Company.

iii li need be, and with the prior written consent of the Banl<, to sell (by public
auction or private treaty) lease or let or concur in selling, leasing the Assets
charged by the Deed of Debenture and to carry out any such sale, leasing or
letting into effect in the name of and on behalf of the Company or\otherwise.

ig_l `l'o use the name of the Company for all or any of the purposes aforesaid and in
any legal proceedings

 

 

 

 

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(h} To execute and deliver any deed or deeds or instruments and to convey, assign
or otherwise assure the Assets of which he is appointed Receiver/Manager or any
interest therein in the name of er on behalf of the Company and by deed in the
name of and on behalf of the Company to grant, assign or dispose the legal
interest in such Assets to any Purchaser or lessee thereof.

{i} To do all such other acts and things as may be considered by the Bank to be
incidental or conducive to any of the matters or powers aforesaid and which he
lawfully may or can do as agent of the Company.

(j) This appointment is for an initial period of one year beginning from the date of
execution hereof or until otherwise revoked in writing by the Bank whichever is
later.

(it) The Receiver will be required to submit to the Bank monthly Progress Reports of
the Receivership.

iii his appointment shall take effect from the date on which the last party to
execute this Deed duly executes it until terminated by the Bank.

We hereby agree to indemnity and hold you harmless in respect of all acts carried Out
by you in the execution di the above stated duties.

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parte ni\s ’%o/.ir or ....... mw ..... wis

THE COMMON SE!‘\L OF
ZEN|TH BANK PLC
‘i‘\¢“as hereunto/ iiixed in,the presence of:

     

DlR'EC?

Sth\lED AND SEA`LED

By the within named Receiyer j 1([ w
Basnoaun J.i<. minute ( …' '(/§l LL `

sec ETARY_

 

in the presence of:
\ /"

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\N THE FEDERAL HlGH COURT OF NlGERlA
HOLDEN AT LAGOS

SUlT NO‘. FHC!LINRJ!?»!ZU'\ 8

\N THE NiATTER OF APPL\CAT\ON FOR THE REG\STRAT\ON OF A FORE\GN
JUDGN'\ENT BY ER\N PETROLEUN\ N\GER\A LTD

BETWEEN

ERlN PETROLEUN\ NlGERiA L\M\TED WYPLA\NT\FFIRESPONDENT
_i

AND

‘ALL secuneo AND unsecuaeo cneonoas l
Lisieo in THE seRvice usi ATTACHED te DEFENDANTsi

HeRero LOCATED in THE FeoeRAi_ Rei==ueugl ResPONoENTs
or NieeRiA’

AND

zener BANK PLC ij j iNTERESTED
APPLicANT

PARTYI

iNTERESTED PARTYIAPPL\CANT’S WR\TTEN ADDRESS \N SUPPORT OF
THE NiOTiON ON NOT\CE DATED JUNE 4, 2018

1.0. lNTRODUCT\ON

i.i .This address is filed in support of the interested PartyiApplicant’s i\/iotion on

Notiee dated i\/iay 31 20i8 brought pursuant to Sections 6 and 7 oi the

Foreign Judgment (reciprocai Enforcement) Act', Order 26 Ruie i & 2, Order
5i rules 2 (i) & (2) of the Federai High Court (Ci\/il Procedure) Ruies (2009)
and under the inherent jurisdiction of this Honorable Court

i.Z.By the said i\/iotion on i\iotice, the interested Partyprplieant is praying this
Honourable Court for the following orders'.

K__EN_N'°_` Page i of iQ

 

 

1.2.1l AN ORDER of this Honourable Court setting aside the Order
made by this Honourable Court on N'iay 25, 2018 registering the
Judgment/order of the United States Bankruptcy Court of the
Southern District of Texas, Houston Division, made on i\/iay 1,

2018 in case no 18F32186.

1.2.2. AND for such Order or other Orders as this Honourable Court
may deem fit to make in the circumstances

1.3.ln support of this application, the interested Party/Applicant filed an Affidavit

deposed to by one Bosah Okonyia, a Legal Officer in the l_aw Department of

the interested Partyi'Appiicant. The said Affidavit is also accompanied by 15
Exhibits VVe shall be relying on ali the averments in the affidavit as weil as
the Exhibits annexed thereto

2.0. SUN'\N\ARY OF THE FACTS
2.1. Below is a summary of facts leading to this application1

2.1.1. By virtue of a transfer agreement between the PiaintifffRespondent
(Erin Petroleum Nigeria Limited) and Ailied Energy Plc1 the
PlaintifffRespondent (Erin Petroleum Nigeria Limited) acquired ali the

economic interest in the oil block covered by Oi\/ii_s 120 and 1211 held
by Ailied Energy Plc by virtue of an Acreage Aliocation (Discretionary
Award) of O'Pi_ 210 issued by the i\/iinistry of Petroieum Resources
(aithough the approval of the i\/iinister of Petroieum was yet to be

obtained with respect to the transfer).

2.1.2. Sometime in 2014, the Piaintiff/Respondent (Erin Petroieum Nigeria
Limited) approached the interested PartylAppiicant for a Term Loan
Faciiity of USD100, 000,000.00 (One Hundred i\/iiilion United States

Dol|ars) to part-finance the expansion and development of the oil
blocks covered by Oi\/ii_s 120 and 121.

2.1.3. By virtue a Term i_oan Faciiity Agreement between the interested
Party/Appiicant and the Plaintiff Respondent (Erin Petroleum Nigeria
Limited). the interested Party/Appiicant granted a credit facility of

USDiOO, 000,000.00 (One Hundred Niiilion United States Dollars) to
the PiaintifflRespondent (Erin Petroleum Nigeria Limited).

2.1.4. As security for the repayment of the credit facility, the
PiaintifffRespondent (Erin Petroieum Nigeria Limited) obtained in

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2.1.5.

2.1.6.

2.1.7.

2.1.8.

favour of the interested Party/Applicant, a legal charge over the entire
interest of the P|aintiff/Respondent (Erin Petroleum Nigeria Limited)
and Allied Energy Plc in the oil blocks covered by ONlLs 120 and 121,
amongst other securities

That subsequent to the grant of the credit facility, the
Plaintiff/Respondent (Erin Petro\eum Nigeria Limited) has repeatedly
breached material terms of the Term Loan Faciiity Agreement between
the parties including concealing its involvement in an Arbitration which
resulted in a final Arbitral Avvard obtained by Nigerian Agip Expioration
Limited (NAEL) against the Plaintiff/Respondent (Erin Petroleum
Nigeria Limited) and Allied Energy Plc from the London Court of
international Arbitration (l_ClA) in Arbitration number'. LClA 132498_

The Plaintiff/Respondent (Erin lPetro\eum Nigeria Limited) has also
continued to default in its repayment obligation of the credit facility
granted to it by the interested Party/Applicant. Amongst other flagrant
incidences of default the Plaintiff/Respondent (Erin Petro\eum Nigeria
Limited) have defaulted in repaying a principal sum of $4,903,272.79
and interest of $2,065,019 Which were due on i\flarch 30, 2018

Further to paragraph 2.1.5 above, the NAEL in an attempt to realise
the fruits of the Award granted by the l.ClA and recognised by an
Order of the Federai High Court dated i\/iay 11, 2017 executed a
‘Notice of Seizure/Attachrnent of Goods’ by locking the export valve on
the FPSO operated by Ailied Energy Plc. (the interest of which has
been charged in favour of the interested Party/Applicant for the
repayment of the credit facility granted to the Plaintiff/Respondent)
(Erin Petroleum Nigeria Limited).

That the interested Party/Applicant in a bid to devise a feasible plan to
realise the sum outstanding under the Term Loan Faciiity Agreement
granted to the PlaintifflRespondent (Erin Petroleum Nigeria Limited)
initiated dialogue with the P\aintiff/Respondent (Erin lP‘etroleum Nigeria
Limited) in good faith vide a letter dated February 14, 2018\ an entity
referred to as Erin Energy Corporation (registered in the United
States) which purports to be the ‘,oarenr company of the
Plaintiff/Respondent (Erin Petroleum Nigeria Limited). had on Aprii the
25, 2018 filed a Voluntary Petition for Chapter 11 Bankruptcy under
the United States Bankruptcy code, with its affiliate companies
including the PlaintiffiRespondent (Erin Petroleum Nigeria Limited)
purporting to file similar applications before the United States

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Bankruptcy Court for the Southern District of Texas, i-iouston Division
for the purpose of reorganisation.

2.1.9. Upon being notified of the voluntary petition for Chapter 11 Bankruptcy
filed by the Piaintiff/Respondent (Erin Petroieum Nigeria Limited)
before the United States Bankruptcy Court and several applications
including an application for automatic stay and cash collateral1 the
interested Party Appiicant filed an Affidavit of Facts before the United
States Bankruptcy Court disclosing the nature of its interest in the
Piaintiff/Appiicant (Erin Petroieum Nigeria Limited) as weil as informing
the Bankruptcy Court of the appropriate Court seized with jurisdiction
to entertain such matter involving a Company incorporated under
Nigerian Law.

2,1.10. The interested Party/Appiicant thereafter proceeded to exercise its
right of enforcement of the security provided under the Deed of Legal
Charge between the Piaintiff/Respondent (Erin Petroieum Nigeria
Limited) and the interested Party Appiicant dated i\/iay 14, 2015 by
appointing a Receiver/i\/ianager over the Piaintiff/Respondent (Erin
Petroieum Nigeria Limited) vide an instrument dated i\/iay 18, 2018
(seven days prior to the Order of this i-ionourabie Court dated i\/iay 25,
2018).

2.1_11. in view of the foregoing1 the interested Party/Appiicant has now
brought this application to set aside the Order of this i-ionourabie Court
dated i\/iay 25, 2018 registering the Judgment/order of the United
States Bankruptcy Court for the Southern District of Texas, i-iouston
Division made on i\/iay1,2018.

3.0. lSSUES FOR DETERN||NATION

3.1.The interested Party/Appiicant submit the following issues for determination
by this Honourable Court;

3.1.1. Whether from the circumstances of the case, the United States
Bankruptcy Court for the Southern District of Texas, Houston
Division (being the Foreign Court) had the jurisdiction to make
the judgementforder registered by an order of this Honourable
Court on Niay 25, 2018.

3.1.2.Whether in view of the principle of separate corporate legal
personalities of Erin Energy Corporation of the United States of

KENNA Page 4 of 19

 

 

 

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America and Erin Petroieum Nigeria Limited, and the denial to
the interested PartyiAppiicant, of its right to fair hearing, this
Honourable Court’s order of Niay 25, 2018 ought not to be set
aside.

3.1.3. Whether from the circumstances of the case, the Order made by
this Honourable Court on Niay 25, 2018 ought not to be set aside
pursuant to Sections 6 & 7 of the Foreign Judgment (Reciprocai
Enforcement) Act, Sections 537 - 540 of the Companies and
Aiiied Niatters Act, and relevant provisions of the Ruies of this
Honourable Court.

4.0. LEGAL ARGUN\ENT
|SSUE ONE:

Whether from the circumstances of the case, the United States Bankruptcy
Court for the Southern District of Texas, Houston Division (being the
Foreign Court) had the jurisdiction to make the judgement/order registered
by an order of this Honourable Court on Niay 25, 2018.

4.1. i\/iy i_ordl before attempting to answer the obvious question posed by this
issue, we respectfully refer your i.ordship to the case of Yar’adua V
Yandoma (2015) 4 N.W.L.R. (Pt. 1448) 123 Pp. 156, Paras. B-D where the
Supreme Court pronounced on the importance of jurisdiction and effect of
defect in jurisdiction as follows -

"Jurisdiction of Court is a radical and crucial question of
the court’s competence Where a court lacks jurisdiction
and proceeds to hear and determine a case, the
proceedings no matter how weil conducted and decided,
are a nullity ab initio and remain so...The nerve centre of
adjudication, which is akin to the blood that gives life to a
human being, is jurisdiction of the court, and is therefore of
overriding importance."

4.2. Simiiariy, in the case of Dairo V U.B.N. Plc 16 N.W.L.R (Pt. 1059) 99 (p.
130, paras. C-E) the Court held as follows -

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“Jurisdiction is the life wire of a Court as no court can
entertain a matter where it lacks jurisdiction. issue of
jurisdiction can be raised anytime even on appeal at the
Supreme Court. Because of its decisive nature, jurisdiction
cannot be conferred on or taken away from any court just
because the parties have agreed or consented to do so."

4.3. Jurisdiction is therefore the authority a Court or Tribunal has to decide
matters presented in a formal way for its decision it also means the
authority which a Court has to decide matters contested before it or the
authority to take cognizance of matters presented in a formal way for its
decision The limit of the authority may be prescribed in a statute under
which the Court or tribunal was created Where a Court or Tribunai does not
have jurisdiction it cannot adjudicate on a controversy between litigants
before it. See Saraki V. FRN (2016) 3 N.W.L.R. (Pt. 1500) 531 Pp. 588 ~
589 paras. F-A.

4.4. Having established the importance of jurisdiction as a sine qua non to
invoking the adjudicatory powers of a Courtl it is necessary to identify the
ingredients of jurisdiction so as to ascertain where it exist, or where it is
|acl<ing. Accordingly, we respectfully refer your l_ordships to the case of
Yar’adua v Yandoma (Supra) Pp. 160-161, paras. H-B where the
Supreme Court= reiterating the principle laid down in Niadukoiu v
Nkemdiiim (1962) 2 SCNLR 341 held as follows'.

“When an issue of jurisdiction is raised, the court would
consider whether:

a. it is properly constituted as regards numbers and
qualification of the members of the bench such that no
member is for any reason disqualified;

 

b. The subject matter of the case is within its jurisdiction
and there is no feature of the case which prevents the
court from exercise of its iurisdiction; and

c. The case comes before the court initiated by due
process of law and upon fulfiiment of any condition
precedent to the exercise of jurisdiction [Underlining
ours for emphasisj

4_5. A consideration of the above judicial pronouncement would reveal that,
amongst the factors which must exist for a Court to be cloth with jurisdiction
to entertain a suit is that; every feature Of the subject matter of that case

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must be within the jurisdiction of the Court. i\/ly Lord, we respectfully submit
that the foregoing principle of law shall continue to apply irrespective of a
Court’s pre-conceived notion as to the importance of entertaining and
making pronouncement upon such matter. VVe refer your Lordship to the
case of Akinbinu V. Oseni (1992) 1 N.W.L.R. (Pt 215) 97 Pp.101 para. H

“The fact that a matter appears to be fundamental to the
administration of justice would not by itself entitle a judge to
pronounce on it when the matter in the first place should not
have been before him]l

4.6. i\/ly i_orc|l applying the principle of law encapsuiated in the judicial
pronouncements cited above, it would appear from the circumstances of this
case that the United States Bankruptcy Court for the Southern District of
Texas (‘Foreign Court') lacked jurisdiction to make the judgment/order of
l\flay 1, 2018 (subseguently registered by an order of this Honourable Court
on |\ilay 25l 2018) in view of the fact the proceedings before the United
States Bankruptcy Court contained a feature - being the presence of the
P|aintiff/Respondent (a company registered and governed by Nigerian Law)l
which ought to have prevented the Foreign Court from exercising its
jurisdiction in that matter from which the initial Order arose.

4.7. l\liy LordJ the antecedents of the facts upon which the interested
Party/Applicant’s |\ilotion on i\lotice is predicated as outline in the summary
of facts contained in this address would reveal that amongst the debtors in
favour of whom an automatic order for stay was made by the Foreign Court
(pursuant to a voluntary petition for chapter 11 bankruptcy) includes the
Respondent, a Company incorporated under the Companies and Allied
|\ilatters Act` Cap 020 LFN` 2004 (CAi\/iA) with its offices situate at Plot
1649, Oiosa Street` Victoria island, Lagos.

4.8. VVe respectfully refer your Lordship to the resolutions accompanying the
Voluntary Petitions for Chapter 11 bankruptcy filed under the United States
Bankruptcy code by the Plaintiff/Respondent (Erin Petroleum Nigeria
Limited) and its purported parent company, Erin Energy Corporation
captured as Exhibits 10 and 11 of the interested Party/Appllcant’s Affidavit
in Support of the i\/lotion on i\iotice dated June 1, 2018. By the above
referenced resolutions the aforementioned entities authorised an officer to
execute ‘any and all plans of reorganization under chapter 11 of the
Bankruptcy Code (which is predominantly the nature of relief sought under
the chapter 11 bankruptcy code), including any and all modifications
supplements and amendments thereto, in such form and containing such
term terms as the Board shall thereafter approve and to cause the same to
be filed in the United States Bankruptcy Court for the Southern District of

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4.9.

4.10.

Texas, at such time as the authorized officer shall determine.’ [Underiining
ours for emphasisj.

|Vly l_ord, from the circumstances of this case, one may stand to wonder the
basis upon which the PlaintifflRespondent (Erin Petro|eum Nigeria Limited),
being a company incorporated and governed by Nigerian l_aw filed a
Voluntary Petition for reorganisation under Chapter 11 of the United States
Bankruptcy Code before the Foreign Court when there are a sundry of
statutory provisions specifically regulating the procedure to be adopted in
the event where a Nigerian entity seeks arrangement and compromise with
its creditors, which provisions are similar in nature to the provisions relied
upon by the Piaintiff/Respondent (Erin Petroieum Nigeria Limited) and its
self-proclaimed parent Company in the Voluntary Petition for Chapter 11
Bankruptcy in the United States of America.

From the foregoingl we can reasonably assert that ~

a. The Plaintiff/Respondent (Erin Petro|eum Nigeria Limited) who
obtained a credit facility in the sum of 8100,000,000.00 from the
interested Party/App|icant to part finance The expansion and
development of the oil blocks covered by O|Vii_s 120 and 121 is a
Company registered and governed by Nigerian Law;

b. The interested Party/Appiicant who granted the credit facility under a
Term l_oan Faciiity Agreement to the P!aintiff/Respondent (Erin
Petroieum Nigeria Limited) is equally a Company registered and
governed by Nigerian |_aw;

c. The oil blocks covered by Ol\/ll_s 120 and 121, the development and
expansion for which the credit facility advanced to the
Piaintiff/Respondent (Erin Petro|eum Nigeria Limited) was required
are assets situated in Nigeria and beionging to the Federai
Govern ment of Nigeria;

d. The economic interest which forms a part of the security for the
credit facility granted by the interested Party/Applicant to the
Plaintiff/Respondent (Erin Petroleum Nigeria Limited) accrue from
assets situated in Nigeria and belonging to the Federai Government
of Nigeria;

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4.11_

4.12.

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e. The Ail Assets Debenture and relevant security documents executed
between the interested Party/Applicant and the Piaintiff/Respondent
(Erin Petroleum Nigeria Limited) are governed by Nigerian Law by
the mutual agreement of the parties

lVly l_ord, from the facts outlined in paragraph 4.10 (a) - (e) above, a lay
man with no appreciation of the law would most probably come to a
conclusion that the appropriate forum where the Plaintiff/Respondent (Erin
Petroieum Nigeria Limited) indents to seek reorganization and
compromise with its creditors should be under Nigerian Law, and before a
Nigerian Court seized of Jurisdiction to hear such matter.

Furthermore, as though to justify the inclination of the proverbial ‘lay man’
introduced in paragraph 4.11 above, sections 537 - 540 of the Companies
and Aiiied l\/latters Act contains copious provisions regulating Arrangement
and Compromise of a Company with its creditors To put this matter
beyond contemplation Section 251 (1) (e) of the 1999 Constitution of the
Federai Republic of Nigeria (as amended) ‘CFRN’ which is the grundnorm
of laws in Nigeria confers the Federai High Court of Nigeria with the
exclusive jurisdiction to determine all matters arising from the operation of
the Companies and Aiiied l\/latters Act or any other enactment replacing or
regulating the operation of companies incorporated under the Companies
and Aiiied l\/latters Act (including the Plaintiff/Respondent)_ VVe have
reproduced the provisions of Section 251 (1) (e) of the CFRN as follows -

251 (1) Notwithstanding anything to the contrary contained in this
constitution, and in addition to such other jurisdiction as
may be conferred upon it by an act of the Nationai Assembiy,
the Federai High Court shall have and exercise jurisdiction to
the exclusion of any other Court in civil causes and matters -

(e) Arising from the operation of the Companies and Aiiied
Niatters Act or any other enactment, replacing that act or
regulating the operations of Companies incorporated under
the Companies and Aiiied Niatters Act.

l\/ly Lordl it is in the light of the foregoing that we respectfully submit that
that the proper forum for the Plaintiff/Respondent (Erin Petro|eum Nigeria
Limited) to seek an application for creditor arrangement or business
reorganisation ought to have been before this Honourable Court and not
the United States Bankruptcy Court for the Southern District of Texas as
they had done in the instant case, which Court obviousiy had no

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jurisdiction to entertain the matter or make the judgment/order dated l\/iay
1, 2018 (registered by an order of this Honourable Court made on l\/iay 25,
2018)

414 lilly Lord, this underscores the well-established principle of law that where
a statute (or rules of court) provide for a particular procedure or method of
doing a thing, then the performance of such thing must be done in the
manner prescribed by law. This position has received judicial endorsement
in a plethora of decided cases including; C. C. B. Plc v. A. G. Anambra
State [1992] 8 NWLR (Pt. 261) 528 and Buhari v. Yusufu [2003] 14
NWLR (Pt. 841) 446. ln Nwankwo v. Yar’Adua [2011] 13 NWLR (Pt.
1263) 81 at 133, where the Supreme Court pronounced as follows _

“lt is settled law that where a statute provides a particular
procedure for doing a thinq, there should be no other
method of doing i .” [Underlining ours for emphasisj

4.15_ fn the circumstance we respectfully submit that the Judgment/order of the
Foreign Court dated l\/lay 1, 2018 having been made without jurisdiction
must suffer the fate of a nullity. VVe respectfully refer your Lordship to the
case of Yakubu V. F.illi.B.N Ltd (2015) 11 N.W.L.R. (Pt. 1470) 232 where
the Court pronounced as thus _

“Where a Court is bereft of jurisdiction, any proceeding
conducted without such power is an exercise in futility and
therefore a nuiiity,”

4.18. in addition my Lord, it suffices to state that the interested Party/Applicant
not being a party to the Voluntary Petition for Bankruptcy filed by the
Plaintiff/Respondent (Erin Petroleum Nigeria Limited) in the Foreign Court
cannot be said to be bound by any order therefrom VVe refer your
Lordship to the pronouncement of the Court in Kokoro-Owo V. Lagos
State Govt. (2001) 11 N.W.L.R. (Pt. 723) 237 Pp. 246 paras. D-F where
the Court held thus -

“The Court cannot make an order against a person who is
neither a party nor a privy to a proceeding before it. in order
for a party to be affected by a decision of the Court, he
must not be left out of the action because no Court will
make an Order against any person who has not been heard
or given opportunity to be heard” [underlining ours for
emphasis]

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4.17. V\le therefore humbly urge your Lordship to resolve this issue in favour of
the Applicant and set aside the Order of the this Honourable Court,
registering the Order/dudgment of the United States Bankruptcy Court for
the Southern District of Texas

ISSUE TWO:

Whether in view of the principle of separate corporate legal personalities of
Erin Energy Corporation of the United States of America and Erin Petro|eum
Nigeria Limited, and the denial to the interested PartylAppiicant, of its right
to fair hearing, this Honourable Court’s order of Niay 25, 2018 ought not to
be set aside.

4.18.

4.19,

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lVly i_ord, it is worthy to note that the principle of separate legal entities
is trite in global as well as Nigerian Jurisprudence. Accordingly, our
jurisprudence is replete with apposite authorities expounding the
fundamental principle that a company is a legal person with a
separate existence from the company's members (that is
shareholders where the company has shares) or its directors From
this separate personality flow many consequences The l_ocus
Classicus case Salomon v Saiomon [1877] AC 22 laid down the
foregoing principle The Companies and Aiiied lVlatters Act, Cap C20J
LFN 2004, gives further reverberationl credence and statutory
backing to this principle in Section 37.

The Court of Appeal in the case of ENICO & Partners Ltd & Ors v
Dordeen (Nig) Ltd & Anor (2017) LPELR-43453 (CA) held amongst
other things that the irrefutable position of the law is that upon
incorporation a company becomes a body corporate that is it
acquires a separate legal personality With autonomous identity, can
sue and be sued in its own name, own and dispose of properties and
enter into contracts The same position was affirmed by the Supreme
Court in the case of A_ O. Afolabi & Ors. V Western Steei Works
Limited & Ors. (2012) LPELR-9340 (SC). Therein the court held that:

A body corporate is a juristic person, it has a legal personality
and can be an occupier of premises it can sue and be sued in its
corporate name. it also has the capacity to enter into any

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agreement in its corporate name. in order to prove this corporate
status of a Company, one must produce a Certificate of
incorporation in respect of the Company.

i\lly l_ord, it is essential to bring to the fore in the instant matter that the
submission of the Plaintiff/Respondent (Erin Petro|eum Nigeria
Limited) of its dealings with its creditors (particularly the interested
PartylApplicant, a secured creditor and licenced Nigerian Bank with
whom the Plaintiff/Respondent is bound by Nigerian law) is an
attempt to blur the basic principle of separate legal personalityl VVe
humbly submit that notwithstanding any ties of membership and/or
affiliations between Erin Energy Corporation (a company registered in
the United States of America and subject to American laws) and the
Plaintiff/Respondent, a Nigerian Company (registered under the
Companies and Aiiied l\/iatters Act and subject to Nigerian Law), the
PlaintifflRespondent (Erin Petroleum Nigeria Limited) is a distinct
legal personality and separate from Erin Energy Corporation

Thus, if the Plaintiff/Respondent (Erin Petro|eum Nigeria Limited) as a
Nigerian entity is desirous of altering its business structure or its
relations with creditors (particularly a licenced Nigerian Bank and
secured creditor registered under Nigerian l_aw such as the interested
Party/Applicant) it must do so as a separate corporate entity and
under the ambits of Nigerian Law, not as an extension of a foreign
company of a foreign country and under such foreign country’s law.

As a matter of fact, even in the case of a l-lolding Company and its
Subsidiaries (which Erin Energy Corporation and the
Plaintiff/Respondent are not), where there appears to be a perceived
inextricable relations Nigerian law requires that both (the holding
company and the subsidiary) be treated as separate legal entities and
are to be seen as distinct personalities; a fortiori mere affiliate
companies

This was judicially settled in the case of i\li.O. Kanu Sons & Co Ltd.
V First Bank of Nigeria Pic., (1998) 11 NWLR(Pt.572)116-132.

l\/iy, l_ord` we respectfully wish to avert the mind of your Lordship to
the fact that the interested Party/Applicant was not afforded fair
hearing the hearing of the Bankruptcy petition filed by the
Plaintiff/Respondent (a Nigerian Company) before the United States
Bankruptcy Court for the Southern District of Texas indeed the
interested PartylAppiicant was noia party Erin Energy Corporationl et

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4.24.

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al Debtors, with case No. 18-32185 before the United States
Bankruptcy Court for the Southern District of Texas However, the
interested PartylApplicant filed an affidavit of facts before the United
States Bankruptcy Court, disclosing its interests as a primary and
secured creditor of the P|aintifflRespondent (Erin Petroleum Nigeria
Limited) and deposing to facts which show fact that the
entertainment of such proceedings would amount to usurping the
jurisdiction of the Federai High Court of Nigeria, which by law and by
agreement of the parties (as contained in the Term Loan Faciiity
Agreement between the interested PartylApplicant and the
PlaintifflRespondent, annexed as Exhibit 1 to the affidavit) was
clothed with requisite jurisdiction to entertain any matter pertaining to
the immediate interests of the interested Party/Applicant andl/or the
‘reorganization’ of the Plaintiff/Respondent (Erin Petro|eum Nigeria
Limited) (a company registered under the Companies and Aiiied
l\llatters Act) as it affects the interested Party lApplicant and its
interests

Although the interested PartylApplicant was not a party to case of
Erin Energy Corporation et al Debtors with case No. 18-32188
before the United States Bankruptcy Court for the Southern District of
Texas, the interested PartylApplicant proactiveiy filed an Affidavit of
Facts before the Court for the purpose of informing the Court of its
interest and avert usurpation of the Jurisdiction of the Federai l-ligh
Court of Nigeria by the US Bankruptcy Court, and, more importantly,
the overwhelming interests of the lnterested PartylApplicant.
l-lowever, the United States Bankruptcy Court went on to hear the
matter and the orders made by that Court and this Honourable Court
were made without the interested PartylApplicant being accorded its
right to fair hearing

Furthermore l\/ly Lord, in view of the enormity of the interests of the
lnteresteleartylApplicant and the suppression of same by the
Plaintiff/Respondent (Erin Petro|eum Nigeria Limited) before this
Honourable Courtl the lnterested/Party/App|icant has been denied
essential audience

According to the Supreme court in the case of Atano v AG Bendel
State (18988) 2 NWLR (PT. 75) 132, the principle of fair hearing is
fundamental to all court procedure and proceedings and like
jurisdiction the absence of it vitiates the proceedings no matter how
well conducted Accordlngly. it is indisputable that the principle of fair
hearing as an embodiment of Section 38(1) of the 1999 Constitution
of the Federai Repub|ic of Nigeria is not negotiable and where there is

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4.27_

a denial of fair hearingl the outcome of the entire proceedings are
vitiated and thereby nullified See Sunkanmi Adebesin v State
(2014) 9 NWLR (PT. 1413) 609 at 645.

VVe therefore humbly urge your Lordship to resolve this issue in
favour of the Applicant and set aside the Order of the this Honourable
Court, registering the Order/Judgment of the United States
Bankruptcy Court for the Southern District of Texas

|SSUE THREE:

Whether from the circumstances of the case, the Order made by this
Honourable Court on lillay 25, 2018 ought not to be set aside pursuant to
Sections 6 and 7 of the Foreign Judgment (Reciprocai Enforcement) Act,
Chapter F35. (Chapter 152 LFN, 1990) Sections 537 -» 540 of the Companies
and Aiiied |iliatters Act, and relevant provisions of the Ruies of this
Honourable Court.

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4.28.

4.29.

l\liy l_ord, it is trite that our laws recognise foreign judgment given in
foreign countries which accord reciprocal treatment to judgments
given in l\iigerial it Was specifically for this purpose that the Foreign
Judgment (Reciprocal Enforcement) Act (the Act) was enacted to
facilitate the enforcement in foreign judgments given in foreign
countries in Nigeria

The Act recognises the power of superior Courts of records to register
upon the application of any person Within six years after the date of a
foreign judgmentl such judgments subject to proof of the prescribe
matters and to other provisions of this act upon such conditions as
contained in the act. However, section 8 the Act provides for
instances Where foreign judgments registered by superior Courts in
Nigeria must or may be set aside (we have reproduced the

provisions of Section 8 (1) (a) (ii), (v) for your tordship’s ease of
reference_

6 Cases in which registered judgments must be set aside

(1)On an application in that behalf duly made by any party against
whom a registered judgment may be enforced, the registration of
the Judgment -

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a) Shaii be set aside if the registering Court is satisfied -

ii. that the Courts of the Country of the Originai Court had
no jurisdiction in the circumstances of the case; or

v. that the enforcement of the Judgment would be
contrary to public policy in Nigeria.

4.30.l\lly l_ord, from the above statutory provision it is clear that the law
contemplated instances where a foreign judgment/order registered by a
Superior Court in Nigeria may suffer some defect necessitating same to be
set aside. in the instant case, the Plaintiff/Respondent (Erin Petro|eum
Nigeria Limited) approached this Honourable Court vide an Originating
l\/lotion Ex-Parte sworn to by one Chinedu Ukanwoke filed on l\!lay 15, 2018
praying the Court for the following orders -

“An Order directing the registration in the Federai High
Court, of the Judgment/order (“Judgment”) of the
United States Bankruptcy Court of the Southern
District of Texas, Houston Division, in the case of Erin
Energy Corporation et.ai, (Debtors), case No. 18-
32186 delivered on May1, 2018...”

amongst other orders

4.31.The P|aintlff/Respondent (Erin Petro|eum Nigeria Limited)J enjoying the
privilege and privacy afforded by an Ex-Parte Application which are
otherwise utilized in cases of extreme urgency, surreptitiously veiled the
circumstances under which the Judgment/order of the Foreign Court made
on l\/lay 1, 2018 was granted lt is apparent from the circumstances of this
case that this Honourble Court was unaware of the fact that the
Judgment/order of Foreign Court was made without jurisdiction and as such
a nullity_ There was therefore no basis upon which the Court should have
registered the Foreign Judgment (which was itself null and void)_ indeed the
law is settled that ‘one cannot put something on nothing an expect it to
stand’. See Niacfoy V. U.A.C Ltd (1961) 3 Ali ER, 1169.

4.32.Accordingly, the Order of this Honourable Court made on l\!lay 25, 2018,
purporting to register the Judgment/order of the Foreign Court dated lVlay 1,
2018 must consequently suffer the same fate of the latter ~ a nullity.

4_33. \/\le respectfully refer your Lordship to the case of Anthony Okoro V. the
State (2012) 4 N.W.L.R. (Pt. 1290) 351 at 379 where the Court pronounced
on the appropriate treatment of a null order of Court when it held thus

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“When a Judge makes a null Order or one without
jurisdiction it is advisable but not mandatory to go to Court
to set it aside. The only reason for going to Court is to
have it put on record that it has been set aside..."

4.34. Assuming but not conceding that the Judgment/order of the Foreign Court
made on May 1l 2018 was indeed valid, it is our humble contention that
same will still be caught up by the provision of Section 8 (1) (a) (v) of the
Foreign Judgment (Reciprocal Enforcement) Act as the enforcement of the
said Foreign Judgment/order purports to impose an automatic stay of all
entities (inc|udinq all departments agencies and instrumentalities of any
foreign qovernment) from taking any action to obtain possession of property
of the Plaintiff/Respondent’s estates or to exercise control over property of
the estate which if enforced will curtails the sovereign powers of the Federai
Government of Nigeria to deal With the oil blocks covered under Ol\/lLs 120
and 121 (being assets belonging to the Federai Government of Nigeria but
held by Aiiied Energy Plc. with the economic interest accruing therefrom
assigned to the Plaintiff/Respondent and charged in favour of the interested
Partj//Applicant).

4.35. l\lly l_ordl owing to the continued breach of material terms of the Term Loan
Faciiity Agreement between the Parties by the P|aintifflRespondent (Erin
Petroleum Nigeria l_imited) thereby triggering an event of default the
interested partylApp|icant had by an instrument dated May 18. 2018 (six
days prior to the Order of this l-lonourable Court dated lVlay 25, 2018)
exercised its right of the enforcement of the security provided under the
Deed of Legal Charge dated lViay 14, 2015. between the
Plaintiff/Respondent (Erin Petro|eum Nigeria Limited) and the interested
Party/Applicant dated lVlay 14, 2014 by appointing Bashorun J.K. Randle of
J.i< Randle Professional services as the Receiver/Manager over the
PlaintifflRespondent (Erin Petro|eum Nigeria Limited).

438 l\/ly l_ord, the appointment of the Receiverll\ilanager by the interested
PartylApplicant prior to the registration of the Judgment/order of the Foreign
Court made on l\/lay 1, 2018 has therefore rendered the said order
academic as a principal act which it seeks to restrain has already occurred
The law is settled that one cannot restrain a completed act.

4.37. V\le therefore humbly urge your Lordship to resolve this issue in favour of
the Applicant and set aside the Order of the this Honourable Court,

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registering the Order/Judgment of the United States Bankruptcy Court for
the Southern District of Texas

5.0 CONCLUS|ON

5.1. in

view of the arguments canvassed above, we humbly urge this

l-lonourable Court to hold as follows

5_1.1.

5.1.2.

5.1_3.

5.1.4.

5.1.5.

5_1.6.

That the Judgment/order of the United States Bankruptcy Court of the
Southern District of Texas, l-louston Division made on lViay 1, 2018
was made withoutjurisdiction

That the Judgment/order of the United States Bankruptcy Court of the
Southern District of Texas, l-louston Division made on l\/lay 1, 2018
having been made withoutjurisdiction is null and void

That the Plaintiff/Respondent (Erin Petro|eum Nigeria Limited) is a
Nigerian company registered at the Corporate Affairs Commission
(CAC), and a separate legal entity from Erln Energy Corporation (a
United States of America registered company). Therefore_, an order
made by the United States Bankruptcy Court on the application of
Erin Energy Corporation cannot bind the Plaintiff/Respondent (Erin
Petroleum Nigeria Limited).

That the interested Party/App|icant was not afforded fair hearing in
the grant of the Order by the United States Bankruptcy Court as well
as in the registration of same before this Honourable Court, and as
such, any such Orders which violate the Constitutional rights of the
interested PartylApplicant ought to be set aside.

That the registration of the Judgment/order of the United States
Bankruptcy Court of the Southern District of Texas, l-louston Division
made on lVlay 1, 2018 by an Order of this l-lonourable Court dated
lVlay 25, 2018 is consequently null and void, same being made upon a
null foreign judgment/order

That enforcement of the Judgment/order of the United States
Bankruptcy Court of the Southern District of Texas l-louston Division,
made on lVlay 1, 2018 would be contrary to public policy as same
purports to curtail the sovereign right of the Federai Government of
Nigeria from dealing with assets belonging to it.

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5.1.7. That the Court seized with jurisdiction to hear and entertain matters
relating to business reorganization or arrangement and compromise
with creditors involving a Company registered under Nigerian Law is
the Federai l-ligh Court of Nigeria to the exclusion every other Court.

5.1.8. That the act sought to be restrained by the Judgment/order of the
United States Bankruptcy Court of the Southern District of Texas,
l-louston Division, made on l\/lay 1, 2018 has been performed by the
interested Party/Appiicant prior to the Order of this Honourable Court
made on i\/lay 25, 2018 and constitutes a completed act.

5.2. \/\le humbly urge your Lordship to resolve the issues in favour of the

6.0.

_\

9"$":'>$'°!°._*

interested Party/Applicant.
L|ST OF AUTHORlT|ES CITED

STATUTES

. Companies and Aiiied i\/latters Act, Cap C20 LFN, 2004 (CAl\/lA)

Foreign Judgment (Reciprocal Enforcement) Act, Chapter F35. (Chapter
152 l_Fl\l 1990)

The 1999 Constitution of the Federai Repub|ic of Nigeria (as amended)
‘CFRN’

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Anthony Ol<oro \/. the State (2012) 4 N.\/\l.l_.R. (Pt. 1290) 351 at 379
Buhari v. Yusufu [2003] 14 l\lV\lLR (Pt. 841) 448.

C. C. B. Plc v. A. G. Anambra State [1992] 8 NWLR (Pt. 281) 528
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DATED THIS 4TH DAY OF JUNE, 2018

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